  Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                          Page
                                             01/09/24
                                               720 of 867
                                                       Page 1 of 200 PageID 25213

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 33 of
                                            180




                                                                               Appx. 03978
  Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                          Page
                                             01/09/24
                                               721 of 867
                                                       Page 2 of 200 PageID 25214

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 34 of
                                            180




                                                                               Appx. 03979
  Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                          Page
                                             01/09/24
                                               722 of 867
                                                       Page 3 of 200 PageID 25215

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 35 of
                                            180




                                                                               Appx. 03980
  Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                          Page
                                             01/09/24
                                               723 of 867
                                                       Page 4 of 200 PageID 25216

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 36 of
                                            180




                                                                               Appx. 03981
  Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                          Page
                                             01/09/24
                                               724 of 867
                                                       Page 5 of 200 PageID 25217

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 37 of
                                            180




                                                                               Appx. 03982
  Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                          Page
                                             01/09/24
                                               725 of 867
                                                       Page 6 of 200 PageID 25218

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 38 of
                                            180




                                                                               Appx. 03983
  Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                          Page
                                             01/09/24
                                               726 of 867
                                                       Page 7 of 200 PageID 25219

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 39 of
                                            180




                                                                               Appx. 03984
  Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                          Page
                                             01/09/24
                                               727 of 867
                                                       Page 8 of 200 PageID 25220

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 40 of
                                            180




                                                                               Appx. 03985
  Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                          Page
                                             01/09/24
                                               728 of 867
                                                       Page 9 of 200 PageID 25221

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 41 of
                                            180




                                                                               Appx. 03986
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                729 of 867
                                                        Page 10 of 200 PageID 25222

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 42 of
                                            180




                                                                               Appx. 03987
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                730 of 867
                                                        Page 11 of 200 PageID 25223

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 43 of
                                            180




                                                                               Appx. 03988
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                731 of 867
                                                        Page 12 of 200 PageID 25224

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 44 of
                                            180




                                                                               Appx. 03989
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                732 of 867
                                                        Page 13 of 200 PageID 25225

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 45 of
                                            180




                                                                               Appx. 03990
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                733 of 867
                                                        Page 14 of 200 PageID 25226

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 46 of
                                            180




                                                                               Appx. 03991
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                734 of 867
                                                        Page 15 of 200 PageID 25227

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 47 of
                                            180




                                                                               Appx. 03992
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                735 of 867
                                                        Page 16 of 200 PageID 25228

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 48 of
                                            180




                                                                               Appx. 03993
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                736 of 867
                                                        Page 17 of 200 PageID 25229

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 49 of
                                            180




                                                                               Appx. 03994
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                737 of 867
                                                        Page 18 of 200 PageID 25230

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 50 of
                                            180




                                                                               Appx. 03995
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                738 of 867
                                                        Page 19 of 200 PageID 25231

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 51 of
                                            180




                                                                               Appx. 03996
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                739 of 867
                                                        Page 20 of 200 PageID 25232

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 52 of
                                            180




                                                                               Appx. 03997
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                740 of 867
                                                        Page 21 of 200 PageID 25233

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 53 of
                                            180




                                                                               Appx. 03998
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                741 of 867
                                                        Page 22 of 200 PageID 25234

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 54 of
                                            180




                                                                               Appx. 03999
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                742 of 867
                                                        Page 23 of 200 PageID 25235

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 55 of
                                            180




                                                                               Appx. 04000
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                743 of 867
                                                        Page 24 of 200 PageID 25236

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 56 of
                                            180




                                                                               Appx. 04001
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                744 of 867
                                                        Page 25 of 200 PageID 25237

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 57 of
                                            180




                                                                               Appx. 04002
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                745 of 867
                                                        Page 26 of 200 PageID 25238

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 58 of
                                            180




                                                                               Appx. 04003
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                746 of 867
                                                        Page 27 of 200 PageID 25239

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 59 of
                                            180




                                                                               Appx. 04004
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                747 of 867
                                                        Page 28 of 200 PageID 25240

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 60 of
                                            180




                                                                               Appx. 04005
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                748 of 867
                                                        Page 29 of 200 PageID 25241

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 61 of
                                            180




                                                                               Appx. 04006
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                749 of 867
                                                        Page 30 of 200 PageID 25242

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 62 of
                                            180




                                                                               Appx. 04007
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                750 of 867
                                                        Page 31 of 200 PageID 25243

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 63 of
                                            180




                                                                               Appx. 04008
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                751 of 867
                                                        Page 32 of 200 PageID 25244

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 64 of
                                            180




                                                                               Appx. 04009
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                752 of 867
                                                        Page 33 of 200 PageID 25245

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 65 of
                                            180




                                                                               Appx. 04010
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                753 of 867
                                                        Page 34 of 200 PageID 25246

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 66 of
                                            180




                                                                               Appx. 04011
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                754 of 867
                                                        Page 35 of 200 PageID 25247

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 67 of
                                            180




                                                                               Appx. 04012
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                755 of 867
                                                        Page 36 of 200 PageID 25248

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 68 of
                                            180




                                                                               Appx. 04013
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                756 of 867
                                                        Page 37 of 200 PageID 25249

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 69 of
                                            180




                                                                               Appx. 04014
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                757 of 867
                                                        Page 38 of 200 PageID 25250

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20   Entered 02/24/20 17:25:25   Page 70 of
                                            180




                         AGREEMENT OF LIMITED PARTNERSHIP

                                            OF

                    HIGHLAND RESTORATION CAPITAL PARTNERS, L.P.




     17461908




                                                                               Appx. 04015
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                758 of 867
                                                        Page 39 of 200 PageID 25251

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20                                   Entered 02/24/20 17:25:25                        Page 71 of
                                            180

                                                       TABLE OF CONTENTS

                                                                                                                                           Page


     ARTICLE I                 GENERAL PROVISIONS .............................................................................. 1
                 Section 1.1             Formation ............................................................................................. 1
                 Section 1.2             Name .................................................................................................... 1
                 Section 1.3             Purpose ................................................................................................. 1
                 Section 1.4             Place of Business ................................................................................. 1

     ARTICLE II                DEFINITIONS; DETERMINATIONS; CAPITAL
                               CONTRIBUTIONS; CAPITAL ACCOUNTS ................................................ 2
                 Section 2.1             Definitions; Determinations ................................................................. 2
                 Section 2.2             Capital Contribution Commitment; Key Person Provision ............... 18
                 Section 2.3             Capital Accounts ................................................................................ 21
                 Section 2.4             Distributions in Kind .......................................................................... 22
                 Section 2.5             Determination of Voting Thresholds ................................................. 23

     ARTICLE III               DISTRIBUTIONS ......................................................................................... 24
                 Section 3.1             Distribution Policy ............................................................................. 24
                 Section 3.2             Distribution of Short-Term Investment Income ................................ 24
                 Section 3.3             Distributions of Current Cash Income and Proceeds From
                                         Dispositions of or Partial Realizations with Respect to
                                         Investments and In Kind Distributions .............................................. 24
             Section 3.4                 Foreign Taxes ..................................................................................... 26

     ARTICLE IV                MANAGEMENT FEE AND ORGANIZATIONAL EXPENSES ............... 27
             Section 4.1                Management Fee ................................................................................ 27
             Section 4.2                Organizational and Partnership Expenses .......................................... 29
             Section 4.3                Ordinary Operating Expenses ............................................................ 29

     ARTICLE V             GENERAL PARTNER .................................................................................. 29
             Section 5.1                Investment Opportunities; Devotion of Time; Management
                                        Authority ............................................................................................ 29
             Section 5.2                Use of Affiliates ................................................................................. 30
             Section 5.3                Indebtedness ....................................................................................... 30
             Section 5.4                Limitation on Investments ................................................................. 31
             Section 5.5                UBTI; USRPI ..................................................................................... 32

      17461908                                                          -i-




                                                                                                                                      Appx. 04016
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                759 of 867
                                                        Page 40 of 200 PageID 25252

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20                                   Entered 02/24/20 17:25:25                         Page 72 of
                                            180

                                                      TABLE OF CONTENTS
                                                                  (continued)
                                                                                                                                           Page


                 Section 5.6             ERISA Matters ................................................................................... 32
                 Section 5.7             Conflicts of Interest. ........................................................................... 33
                 Section 5.8             Transfer of General Partnership Interest; No Withdrawal or
                                         Loans .................................................................................................. 35
                 Section 5.9             Removal of the General Partner. ........................................................ 35
                 Section 5.10            No Liability to Limited Partners ........................................................ 36
                 Section 5.11            Indemnification of General Partner, the Manager and Advisory
                                         Committee .......................................................................................... 36
                 Section 5.12            Formation of New Fund or Business Endeavor ................................. 37
                 Section 5.13            Interest as a Limited Partner .............................................................. 38
                 Section 5.14            Parallel Vehicles ................................................................................ 38
                 Section 5.15            Separate Investment Entities .............................................................. 39
                 Section 5.16           Media Company Investments ............................................................ 40
                 Section 5.17           Co-investment Funds ......................................................................... 41
                 Section 5.18           Bridge Leveraging ............................................................................. 42

     ARTICLE VI                LIMITED PARTNERS .................................................................................. 44
                 Section 6.1            Limited Liability ................................................................................ 44
                 Section 6.2            Transfer of Limited Partnership Interests .......................................... 44
                 Section 6.3            No Withdrawal ................................................................................... 46
             Section 6.4                No Termination .................................................................................. 46
             Section 6.5                Subsequent Limited Partners ............................................................. 46
             Section 6.6                Regulatory Matters ............................................................................. 48
             Section 6.7                Indemnification and Reimbursement for Payments on Behalf of
                                        a Partner/Partner Clawback ................................................................ 49
             Section 6.8                Section 754 Election .......................................................................... 51
             Section 6.9                BHCA Partners .................................................................................. 51
             Section 6.10               Excused Investments .......................................................................... 52
             Section 6.11               Limited Partner's Default on Commitment ....................................... 52
             Section 6.12               Investment Company Act Limitations ............................................... 54

     ARTICLE VII           ADVISORY COMMITTEE .......................................................................... 55
             Section 7.1               Advisory Committee .......................................................................... 55
      17461908                                                         -11-




                                                                                                                                      Appx. 04017
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                760 of 867
                                                        Page 41 of 200 PageID 25253

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20                                 Entered 02/24/20 17:25:25                        Page 73 of
                                            180
                                                     TABLE OF CONTENTS
                                                          (continued)
                                                                                                                                         Page


     ARTICLE VIII              DURATION AND TERMINATION ............................................................ 56
                 Section 8.1           Duration ............................................................................................. 56
                 Section 8.2           Early Termination .............................................................................. 56
                 Section 8.3           Termination and Liquidation of Partnership Interests; Annual
                                       Determination of General Partner Give Back .................................... 57

     ARTICLE IX                VALUATION OF PARTNERSHIP ASSETS ............................................... 58
                 Section 9.1           Normal Valuation ............................................................................... 58
                 Section 9.2           Restrictions on Transfer or Blockage ................................................ 59
                 Section 9.3           Objection to Valuation ....................................................................... 59
                 Section 9.4           Write-down to Value .......................................................................... 59

     ARTICLE X                 BOOKS OF ACCOUNTS; MEETINGS ....................................................... 59
             Section 10.1              Books ................................................................................................. 59
             Section 10.2              Fiscal Year ......................................................................................... 59
             Section 10.3              Reports ............................................................................................... 59
             Section 10.4              Tax Allocation ................................................................................... 60
             Section 10.5              Tax Controversies .............................................................................. 61
             Section 10.6              Certain Tax Elections ......................................................................... 61
             Section 10.7              Code Section 83 Safe Harbor Election.............................................. 61
             Section 10.8             Tax Basis Elections ............................................................................ 62
             Section 10.9             Annual Meeting ................................................................................. 63

     ARTICLE XI            CERTIFICATE OF LIMITED PARTNERSHIP; POWER OF
                           ATTORNEY .................................................................................................. 63
             Section 11.1             Certificate of Partnership ................................................................... 63
             Section 11.2             Power of Attorney .............................................................................. 63

     ARTICLE XII           MISCELLANEOUS ...................................................................................... 64
             Section 12.1             Amendments ...................................................................................... 64
             Section 12.2             Successors .......................................................................................... 65
             Section 12.3             Governing Law; Severability ............................................................. 65
             Section 12.4             Notices ............................................................................................... 65
             Section 12.5             Legal Counsel .................................................................................... 65
      17461908                                                       -lll-




                                                                                                                                   Appx. 04018
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                761 of 867
                                                        Page 42 of 200 PageID 25254

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20                       Entered 02/24/20 17:25:25                      Page 74 of
                                            180
                                             TABLE OF CONTENTS
                                                        (continued)
                                                                                                                             Page


                 Section 12.6   Miscellaneous .................................................................................... 66




      17461908                                              -IV-




                                                                                                                        Appx. 04019
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                762 of 867
                                                        Page 43 of 200 PageID 25255

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20      Entered 02/24/20 17:25:25   Page 75 of
                                            180


      Schedule 1   Limited Partners/Commitments/Notice Information
      Exhibit A    Form of Guaranty Agreement




     17461908




                                                                                  Appx. 04020
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                                176-24
                                    Part 6Filed
                                              Page
                                                01/09/24
                                                   763 of 867
                                                           Page 44 of 200 PageID 25256
Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25 Page 76 of
                                         180


                     AGREEMENT OF LIMITED PARTNERSHIP
                                    OF
                 HIGHLAND RESTORATION CAPITAL PARTNERS, L.P.


         THIS AGREEMENT OF LIMITED PARTNERSHIP (this “Agreement”) is dated
 effective as of April 18, 2008 between Highland Restoration Capital Partners GP, LLC, a
 Delaware limited liability company (in its capacity as general partner of the Partnership, the
 “General Partner”), and the limited partners listed in Schedule 1 attached hereto (in their
 capacities as limited partners of the Partnership, the “Limited Partners”) (the General Partner and
 the Limited Partners being herein collectively called the “Partners”). Capitalized terms not
 otherwise defined shall have the meanings ascribed to such terms in Section 2.1(a).



                                            ARTICLE I

                                    GENERAL PROVISIONS

        Section 1.1 Formation. The Partners hereby agree to form a limited partnership (the
 “Partnership”) pursuant to and in accordance with the Delaware Revised Uniform Limited
 Partnership Act (the “Delaware Partnership Act”).

         Section 1.2 Name. The name of the Partnership will be “Highland Restoration Capital
 Partners, L.P.” or such other name or names as the General Partner may from time to time
 designate. The General Partner will notify Limited Partners in writing of any change to the name
 of the Partnership.

         Section 1.3 Purpose. Subject to the express limitations set forth herein, the Partnership
 is organized for the object and purpose of (i) investing in senior secured bank loans, debt
 obligations, trade claims and equity securities of middle market Distressed Companies primarily
 based in the United States generally consistent with the investment strategy described in the
 Partnership’s Confidential Private Placement Memorandum, including, without limitation,
 privately placed or publicly traded debt securities and other debt obligations, senior and
 subordinated debt obligations, secured and unsecured debt obligations, privately placed or
 publicly traded equity securities including common stock, preferred stock and warrants, and (ii)
 managing and monitoring such investments and engaging in such activities incidental or
 ancillary thereto and otherwise permitted by the Delaware Partnership Act as the General Partner
 deems necessary or advisable.

         Section 1.4 Place of Business. The Partnership will maintain offices and places of
 business at Two Galleria Tower, 13455 Noel Road, Dallas, TX 75240, or at such other place or
 places in the United States as the General Partner may from time to time designate; provided,
 however, that if the General Partner designates different places of business, it shall promptly
 notify the Limited Partners in writing.




 17461908
                                                                                        Appx. 04021
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                764 of 867
                                                        Page 45 of 200 PageID 25257

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20               Entered 02/24/20 17:25:25       Page 77 of
                                            180


                                                   ARTICLE II

                                 DEFINITIONS; DETERMINATIONS;
                           CAPITAL CONTRIBUTIONS; CAPITAL ACCOUNTS

                Section 2.1 Definitions: Determinations.

           (a)     For purposes of this Agreement the following capitalized terms shall have the
     meanings set forth below:

                "Additional Limited Partners" has the meaning set forth in Section 6.5(a).

                "Advisory Committee" has the meaning set forth in Section 7 .l(a).

                "Affiliate" has the meaning set forth in Rule 405 promulgated under the Securities Act.

                "Agent" has the meaning set forth in Section 2.4Cb ).

                "Agreement" has the meaning set forth in the introduction.

            "Allocated Expenses" means, for any Partner as of any date with respect to any Portfolio
     Investment, such Partner's Capital Contributions applied to pay Management Fees,
     Organizational Expenses and Uncapitalized Partnership Expenses that have been allocated
     pursuant to Section 3.3(c) to such Portfolio Investment as of such date.

              "Available Profits" means, with respect to a Waived Fee Amount, the cumulative amount
     of items of Partnership income and gain (such items being "Partnership Profits") realized after
     the Waived Fee Notice giving rise to such Waived Fee Amount. The amount of Partnership
     Profits realized after a Waived Fee Notice for the purpose of this Available Profits definition
      shall equal the amount of Partnership income and gain realized after the Waived Fee Notice for
     purposes of maintaining Capital Accounts; provided, however, the amount of Partnership gain
     realized after a Waived Fee Notice that is attributable to any Portfolio Investment held by the
     Partnership at the time of such Waived Fee Notice that is taken into account in calculating
     Partnership Profits shall equal the excess, if any, of (1) the amount the Partnership realizes on the
     sale, transfer, or other disposition of such Portfolio Investment or its assets over (2) the fair
     market value (as determined by the General Partner) of such Portfolio Investment or its assets, as
     applicable, on the date of such Waived Fee Notice. Notwithstanding the two preceding
     sentences, the aggregate amount of all items of Partnership Profits for any taxable year included
     in Available Profits shall not exceed the total amount of the Partnership's net income and gain
     for such taxable year as determined for federal income tax purposes, except that gain attributable
     to a Portfolio Investment shall be determined as described in the proviso to the preceding
     sentence. Notwithstanding the three preceding sentences, to the extent of the amount by which
     the Special Profit Interest with respect to a Portfolio Investment exceeds the Deemed
     Contribution with respect to such Portfolio Investment, Available Profits includes an allocable
     share of all items of income or gain realized by the Partnership with respect to such Portfolio
     Investment.



     17461908                                           -2-




                                                                                                Appx. 04022
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                765 of 867
                                                        Page 46 of 200 PageID 25258

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20               Entered 02/24/20 17:25:25         Page 78 of
                                            180


             "Basis" of any security means the basis of such security as determined in accordance with
     the Code less the amount of any write-down pursuant to Section 9.4 and as further adjusted by
     the General Partner in its reasonable discretion to reverse the effects of any exchange of
     securities that would result in an increase in tax basis pursuant to the Code.

            "Benefit Plan Investor" means any Partner that is a "benefit plan investor" as defined in
     Section 3( 42) of ERISA and any regulations promulgated thereunder.

                "BHC Act" means the Bank Holding Company Act of 1956, as amended.

             "BHCA Partner" means a Limited Partner that is a bank holding company, as defined in
     Section 2(a) of the BHC Act, or a non-bank subsidiary of such bank holding company, provided,
     that such Limited Partner shall not be a BHC Partner if (i) it is a financial holding company, as
     defined in Section 2(p) of the BHC Act, or a non-bank subsidiary thereof and is acting pursuant
     to Section 4(k)(4 )(h) or Section 4(k)( 4 )(i) of the BHC Act as set forth in a notice to such effect to
     the General Partner; or (ii) it is a small business investment company licensed as such under the
     Small Business Investment Act of 1958, as amended.

             "Bridge Financing" means, with respect to the Partnership's investment in a Portfolio
     Company, that portion of the investment that the Partnership provides as interim financing
     (including guarantees of debt financing) in anticipation of, or to support, a permanent investment
     by the Partnership in such Portfolio Company and that the Partnership intends to cause the
     Portfolio Company to repay or refinance within 18 months after the date of such investment in
     the Portfolio Company and which the General Partner designates in the Capital Call Notice
     therefor. During the first 18 months following a Bridge Financing, such Bridge Financing shall
     be treated as a Short-Term Investment. A Bridge Financing that is outstanding 18 months
     following the making of such Bridge Financing, shall be treated by the Partnership as a
     permanent investment in a Portfolio Company.

             "Bridge Leveraging" means indebtedness incurred by the Partnership to fund the
     acquisition of a Portfolio Investment pending receipt of Capital Contributions (including as a
     result of any default by any Limited Partner or limited partner of a Parallel Vehicle in the making
     of Capital Contributions) pursuant to a Capital Call Notice that the Partnership anticipates
     issuing pursuant to Section 2.2(a), provided that the Capital Contributions made with respect to
     such Capital Call Notice are applied by the Partnership upon receipt thereof to repay such
     indebtedness.

             "Built-In Tax Amount" means, with respect to any distribution of securities in-kind
     received by the General Partner, an amount equal to the taxes that would be payable by the
     General Partner (and its direct and indirect members), assuming (i) such securities were sold in a
     taxable transaction immediately after their receipt by the General Partner for an amount equal to
     their value and (ii) any gains were taxed at the highest marginal rates applicable to any of the
     General Partner's members or former members, applying the assumptions set forth in Section
     3.3(b) in the same manner as if such securities had been sold by the Partnership immediately
     before such distribution.




     17461908                                         -3-




                                                                                                   Appx. 04023
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                766 of 867
                                                        Page 47 of 200 PageID 25259

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20               Entered 02/24/20 17:25:25      Page 79 of
                                            180


            "Business Day" means any day other than (i) Saturday or Sunday or (ii) any other day on
     which banks located in New York City generally are closed for business.

               "Capital Account"" has the meaning set forth in Section 2.3.

               "Capital Call" has the meaning set forth in Section 2.2(a).

               "Capital Call Notice"" has the meaning set forth in Section 2.2(a).

            "Capital Contribution" of any Partner means the amount received by the Partnership from
     such Partner as an actual contribution.

            "Capitalized Partnership Expenses"' means Partnership Expenses that are reflected in the
     Basis of Portfolio Investments.

             "Carried Interest" means the General Partner's 20% interest in the Partnership's
     distributions specified in Section 3.3(a)(ii)(A) and Section 3.3(a)(iii)(B).

               "Certificate" has the meaning set forth in Section 11.1.

               "Code" means the U.S. Internal Revenue Code of 1986, as amended.

               "Co-Investment Opportunity" has the meaning set forth in Section 5.17(a).

              "Co-Investment Fund" means any partnership, limited liability company or other entity
     that is an Affiliate of the General Partner or the Manager, is not a Parallel Vehicle or a Separate
     Investment Entity, and is organized to invest in Portfolio Investments pursuant to a Co-
     Investment Opportunity.

               "Co-Investor" has the meaning set forth in Section 5.17(a).

             "Commitment" with respect to each Partner means the aggregate amount of cash agreed
     to be contributed as capital to the Partnership by such Partner (as determined with respect to the
     General Partner without regard to Section 2.2(a)(ii)) as specified in Schedule 1 attached hereto as
     the same may be modified from time to time under the terms of this Agreement.

               "Commitment Period" has the meaning set forth in Section 2.2(b).

               "Continuity Period" has the meaning set forth in Section 2.2(d).

               "Credit Support" has the meaning set forth in Section 5.3.

               "Crusader" means Highland Crusader Fund, L.P., and its successors.

               "Current Cash Income" means all Current Income paid in cash or cash equivalents.

           "Current Income" means all interest and dividend income (including from original issue
    discount, purchases or investments at a market discount, and payment of in-kind income and
    other non-cash current income) from a Portfolio Company.
    17461908                                           -4-




                                                                                                Appx. 04024
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                767 of 867
                                                        Page 48 of 200 PageID 25260

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20               Entered 02/24/20 17:25:25      Page 80 of
                                            180


             "Deemed Contribution" means, as of any date, for any Portfolio Investment or the
     payment of expenses incurred directly in connection with the making, maintaining or disposing
     of such Portfolio Investment, the Gross-up Percentage multiplied by the product of (i) the
     amount by which the Capital Contributions required from the General Partner are reduced
     pursuant to Section 2.2(a)(ii) with respect to such Portfolio Investment or the payment of related
     expenses, multiplied by (ii) (1) with respect to the General Partner, the quotient determined by
     dividing (x) the aggregate Commitments of all Partners (including the General Partner) other
     than Limited Partners as to whom no Management Fee is payable pursuant to Section 4. l(b) by
     (y) the aggregate Commitments of all Partners, and (2) with respect to each Limited Partner as to
     whom no Management Fee is payable pursuant to Section 4.l(b), the quotient determined by
     dividing (x) the Commitment of such Limited Partner by (y) the aggregate Commitments of all
     Partners.

                "Defaulting Partner" has the meaning set forth in Section 6.ll(a).

                "Delaware Partnership Act" has the meaning set forth in Section 1.1.

                "Determination Date" has the meaning set forth in Section 8.3(c).

              "Director Fees" means directors, consulting, monitoring or similar fees in respect of a
     Portfolio Company, including options, warrants or other non-cash compensation received by a
     director or officer of a Portfolio Company which shall be valued at the earlier of (v) the time of
     exercise of such instrument, (w) three years after the underlying security of such instrument
     becomes a Marketable Security, (x) the dissolution of the Partnership, (y) the date the
     Partnership disposes of the Portfolio Investment that gave rise to such fee or (z) the date such
     option, warrant or other non-cash compensation was disposed of by the General Partner, the
     Manager, the Principals or their Affiliates and thereafter credited against Management Fees
     pursuant to Section 4.1Cc), in each such case to the extent actually paid by a Portfolio Company
     and received by the General Partner, the Manager, the Principals, employees of the Manager or
     their Affiliates in respect of Portfolio Investments; provided, however, that (A) such fees shall
     not include, in each case, any such amounts that are applied to cover amounts paid by the
     General Partner, the Manager, the Principals or their Affiliates that constitute umeimbursed
     (i) out-of-pocket expenses of such persons incurred in generating such fees, and (ii) Partnership
     Expenses incurred in generating such fees, and (B) to the extent that the General Partner, the
     Manager, the Principals, employees of the Manager or their Affiliates were actually reimbursed
     by the Partnership for any Partnership Expenses incurred in generating such fees, such fees will
     first be applied to repay the Partnership for such Partnership Expenses.

              "Disposition" or "Disposed of' means, with respect to all or a portion of a Portfolio
     Investment, (i) except as provided in the next sentence, the sale, exchange or other disposition by
     the Partnership of all or a portion of the securities or other interests constituting that Portfolio
     Investment for cash, securities or other property, (ii) the receipt by the Partnership of a
     distribution of the proceeds of the sale of all or substantially all of the assets of the Portfolio
     Company in complete liquidation of the Partnership's entire interest in the Portfolio Investment
     and (iii) an in-kind distribution of all or part of a Portfolio Investment that has not previously
     been deemed to have been Disposed of, as of the date of and to the extent of such distribution.
     A "Disposition" does not include (i) a recapitalization that consists of an exchange of a Portfolio

     17461908                                          -5-




                                                                                               Appx. 04025
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                768 of 867
                                                        Page 49 of 200 PageID 25261

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20                Entered 02/24/20 17:25:25       Page 81 of
                                            180


     Investment for other securities of or claims against the issuing Portfolio Company, (ii) a business
     combination that consists of an exchange of substantially all of the Partnership's remaining
     interest in a Portfolio Investment for securities issued by an acquiring entity, (iii) a business
     combination that consists of the exchange of all or substantially all of the assets of a Portfolio
     Company or one or more divisions or operating units of a Portfolio Company for securities
     issued by an acquiring entity or (iv) a sale, exchange or other disposition that does not constitute
     a pro rata disposition of a portion of each class of securities or other interests constituting such
     Portfolio Investment.

             "Distressed Companies" shall mean persons that, in the opinion of the General Partner,
     (a) are or have been in financial or other stress; (b) are restructuring, are considered likely to be
     restructured, or have been restructured in an out -of-court process or in a proceeding under the
     Federal bankruptcy laws or state insolvency laws or similar laws in or outside of the
     United States; (c) are being, are considered likely to be or have been reorganized within or
     outside of a proceeding under federal bankruptcy laws or state insolvency laws or similar
     laws in or outside of the United States; or (d) are engaged, are considered likely to
     engage or have been engaged in other extraordinary transactions, such as debt restructurings,
     reorganizations and liquidations outside of bankruptcy.

             "ECI" means income that is effectively connected with a United States trade or business
     within the meaning of Section 864( c) of the Code and the Treasury Regulations promulgated
     thereunder, but not including any income or gain attributable to the disposition of a "United
     States real property interest" as defined for purposes of Section 897( c) of the Code.

                "Electing Limited Partner" has the meaning set forth in Section 2.4(b ).

           "ERISA" means the U.S. Employee Retirement Income Security Act of 1974, as
     amended.

             "Excess Partial Realization Proceeds" means, for any Partner and as of any date, the sum
     of the positive amounts determined with respect to each Portfolio Investment (or portion thereof)
     that has not been Disposed of as of such date and as to which there have been proceeds from a
     Partial Realization as of such date, equal to the excess of (a) such Partner's Partner Share of
     aggregate proceeds that have been distributed as of such date of all Partial Realizations with
     respect to such Portfolio Investment or portion thereof over (b) the sum of (i) such Partner's
     Capital Contributions applied to make such Portfolio Investment or portion thereof, including
     Capitalized Partnership Expenses attributed to such Portfolio Investment or portion thereof and
     any Allocated Expenses with respect to such Portfolio Investment as of such date, plus (ii) an
     amount that would be equal to such Partner's Preferred Amount if such Partner's Preference
     Base were only the amounts described in clause (i).

                "Existing Partners" has the meaning set forth in Section 6.5(c).

                "FCC" shall mean the U.S. Federal Communications Commission.

             "FCC Attribution Rules" shall mean the ownership attribution rules of the FCC,
     including, but not limited to, 47 C.F.R. §§ 21.912, Note 1; 24-709; 24.720; 26.101(b), (c);

     17461908                                           -6-




                                                                                                 Appx. 04026
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                769 of 867
                                                        Page 50 of 200 PageID 25262

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20            Entered 02/24/20 17:25:25         Page 82 of
                                            180


     73.3555, Note 2; 76.501, Note 2; 76.503, Note 2; 76-504, Note 1; Attribution Reconsideration
     Order, 58 Radio Regulation 2nct 604 (1985); Further Attribution Reconsideration Order, 1 FCC
     Red 802 (1986); Report and Order, 14 FCC Red 12559 (1999); Report and Order, 14 FCC Red
     19014 (1999); Memorandum Opinion and Second Order in Reconsideration, FCC 00-431
     (released Jan. 19, 2001); and Memorandum and Opinion and Order on Reconsideration, FCC-00-
     438 (released Jan. 19, 2001), all as the same may be amended or supplemented from time to
     time.

            "Final Closing" means the final closing of subscriptions by Limited Partners pursuant to
     Subscription Agreements, which, in any event, shall take place no later than the fourteen month
     anniversary of the First Closing.

            "First Closing" means the first closing of subscriptions by Limited Partners pursuant to
     Subscription Agreements.

            "Follow-on Investment" means investments made after the termination of the
     Commitment Period in securities of an existing Portfolio Company that are appropriate or
     necessary in the opinion of the General Partner to preserve, protect or enhance the investment in
     such Portfolio Company that was made by the Partnership during the Commitment Period.

             "Fund Group" means the Partnership, Parallel Vehicles, Separate Investment Entities and
     their respective Portfolio Investments.

             "Funded Commitment" means as to any Partner as of any date, that portion of a Partner's
     Commitment that has been contributed (or "deemed contributed") to the Partnership to meet a
     Capital Call (including any amounts contributed pursuant to Section 6.5(b)), reduced by (a) any
     amounts which are distributed (or "deemed distributed") to such Partner in respect of a proposed
     Portfolio Investment (or portion thereof) that was not consummated, (b) any amounts which are
     distributed (or "deemed distributed") to such Partner in respect of a Bridge Financing (or portion
     thereof) that was sold, refinanced, redeemed or otherwise disposed of within 18 months from the
     Investment Date of such Portfolio Investment in an amount not to exceed the Partner's portion of
     Funded Commitments used to acquire such Bridge Financing, (c) any amounts paid by such
     Partner pursuant to subclauses (A), fiD. and (g of the third sentence of Section 6.5(b), (d) any
     amounts distributed (or "deemed distributed") to such Partner pursuant to Section 6.5 (other than
     amounts attributable to payments by an Additional Limited Partner pursuant to subclauses (A),
     fiD. and (g of the third sentence of Section 6.5(b)), and (e) in the sole discretion of the General
     Partner, any amounts distributed (or "deemed distributed") to such Partner with respect to a
     Portfolio Investment that was sold, refinanced, redeemed or otherwise disposed of within 48
     months after the Investment Date for such Portfolio Investment in an amount not to exceed the
     portion of such Partner's Funded Commitments used to acquire such Portfolio Investment, all as
     determined in good faith by the General Partner. For the purposes of this definition, those
     proceeds otherwise distributable to a Partner that are retained for reinvestment or application to a
     Capital Call in accordance with the proviso to Section 3.1 (b) or the proviso to the second to last
     sentence in Section 6.5(b ), shall be "deemed distributed" to such Partner by the Partnership and
     "deemed contributed" by such Partner to the Partnership. The General Partner, in its discretion,
     may reduce the 48 month period referenced above at any time during the Commitment Period.


     17461908                                        -7-




                                                                                               Appx. 04027
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                770 of 867
                                                        Page 51 of 200 PageID 25263

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20               Entered 02/24/20 17:25:25     Page 83 of
                                            180


               "GAAP" means U.S. generally accepted accounting principles as in effect from time to
     time.

            "General Partner" has the meaning set forth in the introduction to this Agreement and
     includes any successor general partner of the Partnership appointed in accordance with this
     Agreement.

               "GP's Counsel" has the meaning set forth in Section 12.5.

           "Gross-up Percentage" means the percentage determined by dividing (i) the aggregate
     Commitments of all Partners by (ii) the aggregate Commitments of all Partners with respect to
     whom the Management Fee is payable pursuant to Section 4.1(b).

             "Guaranty Agreement" shall mean the Guaranty Agreement, dated as of the date hereof,
     by and among the Partnership, the General Partner and the guarantors party thereto, substantially
     in the form of the agreement set forth in Exhibit A hereto, as amended from time to time in
     accordance with its terms.

             "Highland" shall mean Highland Capital Management, L.P., a Delaware limited
     partnership.

            "Highland Accounts" means collectively funds, accounts and vehicles managed by
     Highland from time to time.

             "Highland Investment Allocation Policy" shall mean the investment allocation policy of
     Highland described in the Partnership's Confidential Private Placement Memorandum and as in
     effect or modified from time to time.

            "Highland Portfolio Company" means each portfolio company (and each of their
    subsidiaries) as to which Highland and/or the Principals and/or their respective Affiliates have
    completed, or are in the process of completing, an investment or acquisition or receipt of a debt
    or equity ownership position therein, including, without limitation through Crusader and other
    Highland Accounts, at the time of the First Closing, together with follow-on or other additional
    investments and acquisitions from time to time after the First Closing in or by such companies so
    long as such investments and acquisitions are reasonably determined by the Principals to be
    primarily within the general lines or areas of business of such companies as of the First Closing
    or incidental or related thereto.

               "Indemnifying Partner" has the meaning set forth in Section 6.7(a).

            "Initial Fee Period" means the period starting on the First Closing and ending on the
    earlier of (i) the termination of the Commitment Period, and (ii) the date on which the Manager,
    the General Partner or an Affiliate thereof closes subscriptions of capital commitments by
    investors of a Successor Fund.

               "Insulated Partner" has the meaning set forth in Section 5.16(a).

               "Insulated Partner Affiliate" has the meaning set forth in Section 5.16(a).

    17461908                                           -8-




                                                                                             Appx. 04028
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                771 of 867
                                                        Page 52 of 200 PageID 25264

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20             Entered 02/24/20 17:25:25        Page 84 of
                                            180


                "Investment Company Act" means the Investment Company Act of 1940, as amended.

             "Investment Date" means, with respect to any Portfolio Investment, the date such
     Portfolio Investment was acquired by the Partnership.

             "Investment Income and Gain" means, with respect to a Portfolio Investment, (i) the
     excess, if any, of the proceeds from the Disposition of such Portfolio Investment or portion
     thereof or Partial Realization with respect to such Portfolio Investment or portion thereof that
     does not give rise to Current Income over the Basis of such Portfolio Investment or portion
     thereof, (ii) to the extent all or any portion of such Portfolio Investment is distributed to the
     Partners in kind as contemplated by Section 2.3, the excess, if any, of the value (as determined
     pursuant to Article IX) of the portion of such Portfolio Investment distributed to the Partners
     over the Basis of such portion of such Portfolio Investment, and (iii) Current Income attributable
     to such Portfolio Investment.

              "Investment Loss" means, with respect to a Portfolio Investment, (i) the deficiency. if
     any, of the proceeds from the Disposition of such Portfolio Investment or portion thereof or
     Partial Realization with respect to such Portfolio Investment or portion thereof that does not give
     rise to Current Income as compared to the Basis of such Portfolio Investment or portion thereof,
     (ii) to the extent all or any portion of such Portfolio Investment is distributed to the Partners in
     kind as contemplated by Section 2.4, the deficiency. if any, of the value (as determined pursuant
     to Article IX) of the portion of such Portfolio Investment distributed to the Partners as compared
     to the Basis of such portion of such Portfolio Investment, and (iii) the amount, as reasonably
     determined by the General Partner in accordance with Section 9.4, by which such Portfolio
     Investment has permanently declined in value below the Basis of such Portfolio Investment
     immediately prior to such determination.

             "Keyman Group" means James Dondero, Pat Daugherty and John Honis; provided, that
     the Keyman Group will include replacements chosen pursuant to Section 2.2(d) if a Triggering
     Event occurs pursuant to clauses Cii) or (iii) therein; provided, further, that, if any one of the
     members of the Keyman Group ceases to be actively involved, including in a supervisory role,
     on an ongoing basis with respect to the business, operations or investment decisions of Highland,
     the Manager and General Partner, the Keyman Group will include such replacement person that
     is proposed by the General Partner to the Advisory Committee and who is approved to serve as a
     member of the Keyman Group by the consent of a majority of the members of the Advisory
     Committee.

             "Limited Partners" means the persons listed in Schedule 1 hereto in their capacity as
     limited partners of the Partnership (including each person admitted to the Partnership in
     accordance with Section 6.5) and each person who is admitted to the Partnership as a substitute
     limited partner pursuant to Section 6.2 or 6.5, so long as each such person continues to be a
     limited partner of the Partnership hereunder.

            "Majority in Interest of the Limited Partners" means Limited Partners with Commitments
     and limited partners in Parallel Vehicles with capital commitments to Parallel Vehicles totaling
     more than 50% of the aggregate Commitments of all Limited Partners and capital commitments
     of limited partners in Parallel Vehicles.

     17461908                                        -9-




                                                                                               Appx. 04029
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                772 of 867
                                                        Page 53 of 200 PageID 25265

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20             Entered 02/24/20 17:25:25         Page 85 of
                                            180


                "Management Fee" has the meaning set forth in Section 4.1(a).

                "Management Fee Period"" has the meaning set forth in Section 4.1(a).

             "Manager" means Highland Capital Management, L.P., a Delaware limited partnership,
     or other entity controlled by James Dondero and Mark Okada, and appointed as Manager by the
     General Partner on behalf of the Partnership from time to time.

              "Marketable Securities" means securities that (A) (i) are (x) listed on a national securities
     exchange in the United States, (y) quoted on the NMS or (z) listed on a securities exchange or
     quoted on an established quotation system within or without the United States that in the opinion
     of the General Partner after consultation with the Advisory Committee supports sufficient trading
     activity and volume to allow for the orderly disposition of such securities by the Partners
     following a distribution thereof in accordance with Sections 2.4 and 3.3, and (ii) are not subject
     to restrictions on transfer as a result of applicable contract provisions, the provisions of the
     Securities Act or regulations thereunder (other than the volume, manner-of-sale and notice
     restrictions of Rule 144 promulgated thereunder or any successor rule thereto; provided, that if
     such securities are subject to volume limitations under Rule 144 and distributed in kind to
     Limited Partners, each Limited Partner would be able to sell such securities promptly after the
     distribution thereof in accordance with Sections 2.4 and 3.3 (notwithstanding volume
     limitations)), or other applicable law, or (B) are immediately convertible, exchangeable or
     exercisable by the holder thereof into securities that meet the requirements of the foregoing
     clause CAl.

              "Media Company" shall mean any entity in which the Partnership has or acquires an
     investment and that directly or indirectly owns, controls or operates any: (i) broadcast radio or
     television station licensed by the FCC; (ii) U.S. cable television system; (iii) daily newspaper (as
     such term is defined in Section 73.3555 of the Ownership Rules); (iv) multipoint multichannel
     distribution system licensed by the FCC; (v) other communications facility the ownership or
     operation of which is subject to regulation by the FCC under (x) the Communications Act of
     1934, as amended, (y) the FCC Attribution Rules, or (z) the FCC Ownership Rules; and (vi)
     other business or activity that is subject to ownership restrictions imposed by the FCC from time
     to time.

              "Net Funded Commitment" means, in respect of any Partner and as of the first day of any
     Management Fee Period, such Partner's Funded Commitment as of such date less (i) such
     Partner's Capital Contributions (or portion thereof, in the case of a partial Disposition) applied
     by the Partnership to make all Portfolio Investments that have been Disposed of on or prior to
     such date and applied to pay Capitalized Partnership Expenses relating to such Portfolio
     Investments and Allocated Expenses with respect to such Portfolio Investment as of such date,
     (ii) all write downs pursuant to Section 9.4 in respect of Portfolio Investments that have not been
     Disposed of by the Partnership on or prior to such date multiplied by such Partner's Partner
     Interest in each such Portfolio Investment, and (iii) such Partner's Capital Contributions in
     respect of Management Fees and Partnership Expenses allocable to Portfolio Investments that
     have not been Disposed of on or prior to such date.



     17461908                                        -10-




                                                                                                Appx. 04030
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                773 of 867
                                                        Page 54 of 200 PageID 25266

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20               Entered 02/24/20 17:25:25          Page 86 of
                                            180


            "NMS" means the National Market System of the National Association of Securities
     Dealers, Inc.

                "Non-Marketable Securities" means all securities which are not Marketable Securities.

             "Non-U.S. Partner" means with respect to any determination hereunder, (i) any Limited
     Partner that is not a "United States person" within the meaning of Section 7701(a)(30) of the
     Code, or (ii) any Limited Partner that has a direct or indirect beneficial owner that (x) is not a
     "United States person" within the meaning of Section 7701(a)(30) of the Code and (y) is
     required to report on a United States federal income tax return or report any taxable income
     allocated to such Limited Partner pursuant to Section I 0.4, to the extent of such beneficial
     owner's pro rata share of such income, but in each case, on! y if such Limited Partner has notified
     the General Partner of such status at any time prior to such determination, by providing the
     General Partner an IRS Form W-8BEN or by some other method satisfactory to the General
     Partner.

             "Non-Voting Interest" means any interest of a Limited Partner in the Partnership, and if
     applicable, any interest of a limited partner in a Parallel Vehicle (or portion thereof) with respect
     to which a Limited Partner or limited partner in a Parallel Vehicle has, or elects to have, no or
     limited voting rights pursuant to Section 6.9 or a similar provision in the agreement of limited
     partnership of the Parallel Vehicles, as the case may be.

                "Non-Voting Partnership Interests" has the meaning set forth in Section 6.9(b).

            "Operating Company" means an "operating company" within the meaning of the Plan
     Asset Regulation, including a "venture capital operating company."

             "Opinion of the Partnership's Counsel" means an opinion of Mayer Brown LLP or other
     counsel selected by the General Partner and reasonably acceptable (by reason of experience in
     the area of law involved) to the Limited Partner affected by such opinion or, if more than one
     Limited Partner is affected by such opinion, a Majority in Interest of the Limited Partners so
     affected.

             "Organizational Expenses" means the reasonable out-of-pocket expenses (including,
     without limitation, travel, printing, legal and accounting fees and other expenses) of the General
     Partner, the Manager, the Principals and their respective Affiliates (but not including any
     Placement Fees) incurred in the formation of the Partnership, any Parallel Vehicle or any
     Separate Investment Entity or incurred in connection with the organization and funding of the
     Partnership, any Parallel Vehicle, Separate Investment Entity and the General Partner.

              "Other Permitted Investment Activities" means the continuing involvement of the
     Principals, subject to compliance with the devotion of time covenant in Section S.l(a), (i) in the
     full range of their activities in connection with their duties and responsibilities as members,
     owners, partners, directors, officers, employees, shareholders, or consultants of the Manager and
     Highland Accounts, including Crusader, (ii) in acquisitions and follow-on investments by
     Highland Portfolio Companies reasonably determined by the Principals to be primarily within
     the general area of business of a Highland Portfolio Company or incidental or related thereto,
     (iii) as passive owners, stockholders, debtholders and investors in professionally managed hedge
     17461908                                         -11-




                                                                                                  Appx. 04031
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                774 of 867
                                                        Page 55 of 200 PageID 25267

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20               Entered 02/24/20 17:25:25        Page 87 of
                                            180


     funds, fund of funds and other private investment entities and vehicles, (iv) in investments which
     do not otherwise meet the investment objectives of the Partnership, and (v) in a Successor Fund
     organized in accordance with Section 5.12; provided, that none of the activities described in
     clauses (i) through (v) above shall unreasonably affect the ability of the Principals to fulfill their
     duties to the Limited Partners and to be actively involved in the business of the Fund Group.

             "Ownership Rules" means the multiple and cross-ownership rules of the FCC including,
     but not limited to, 47 C.F.R. §§ 21.912; 24-709; 24.720; 26.10l(a); 73.3555; 74.93l(h); 76.501;
     76.503; 76.504, and other regulations or written policies of the FCC which limit or restrict
     ownership in Media Companies, all as the same may be amended or supplemented from time to
     time.

            "Parallel Vehicle" means any entity that is organized pursuant to Section 5.14 and
     designated a Parallel Vehicle by the General Partner, including Highland Restoration Capital
     Partners Offshore, L.P., a Cayman exempted limited partnership, but solely for purposes of this
     Agreement, the Partnership is not a Parallel Vehicle.

             "Partial Realization" means, with respect to any Portfolio Investment, the realization by
     the Partnership of Current Income or of proceeds from a recapitalization, extraordinary dividend,
     sale, redemption or other disposition of less than all of such Portfolio Investment (other than a
     pro rata disposition of a portion of each class of securities or other interests constituting such
     Portfolio Investment) or any other similar event that does not constitute a Disposition of such
     Portfolio Investment.

            "Participating Partner" means, with respect to any Portfolio Investment, any Limited
     Partner who made a Capital Contribution (other than solely a Waiver Contribution) that was
     applied to such Portfolio Investment.

             "Partner Interest" means for any Partner that is a Participating Partner with respect to any
     Portfolio Investment (i) for each Partner as to which there is a Deemed Contribution, the
     proportion that the sum of such Partner's Capital Contributions and allocable share of Deemed
     Contributions that were applied to such Portfolio Investment bears to the aggregate Capital
     Contributions and Deemed Contributions of all Partners that were applied to such Portfolio
     Investment, and (ii) for any Partner other than Partners described in clause (i), the proportion that
     such Partner's Capital Contributions that were applied to such Portfolio Investment bears to the
     aggregate Capital Contributions and Deemed Contributions of all Partners that were applied to
     such Portfolio Investment.

             "Partner Share" means, for any Partner, and for any period, the amount of Investment
     Income and Gain, Investment Loss, Current Cash Income, proceeds from the Disposition of or
     Partial Realization with respect to a Portfolio Investment for such period or Portfolio
     Investments distributed in kind, as the case may be, or items of Partnership income or expense
     (other than Management Fees or Placement Fees, if any), in each case for such period multiplied
     by such Partner's Partner Interest in the Portfolio Investments giving rise to such items or to
     which such items are allocable pursuant to Section 3.3(c).

                "Partners" means the General Partner and the Limited Partners, collectively.

     17461908                                         -12-




                                                                                                 Appx. 04032
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                775 of 867
                                                        Page 56 of 200 PageID 25268

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20               Entered 02/24/20 17:25:25      Page 88 of
                                            180


                "Partnership" has the meaning set forth in Section 1.1.

              "Partnership Expenses" means all reasonable costs and expenses relating to the
     Partnership's activities, investments and business (to the extent not borne or reimbursed by a
     Portfolio Company or proposed Portfolio Company), including, but not limited to, (i) all costs
     and out-of-pocket fees and expenses attributable to acquiring, investing, holding, monitoring and
     disposing of the Partnership's investments, (ii) all other out-of-pocket costs and out-of-pocket
     fees and expenses attributable to unconsummated transactions or investment strategies (but
     excluding marketing strategies) that do not lead to consummated acquisitions, (iii) legal,
     accounting, auditing, administrative, consulting and other fees and expenses (including, but not
     limited to, fees of the administrator of the Partnership and insurance and other out-of-pocket
     expenses associated with negotiating, consummating, monitoring and disposing of the
     Partnership's investments and the preparation of Partnership financial statements, tax returns and
     forms K -1 ), (iv) expenses of the Advisory Committee incurred in accordance with Article VII,
     (v) extraordinary expenses, liabilities, indemnities and other obligations of the Partnership
     (including, but not limited to, litigation and indemnification costs and expenses, judgments and
     settlements (including, but not limited to, costs and expenses payable under Section 5.11)), and
     (vi) all debt service obligations, including interest, premium, if any, fees, expenses and other
     amounts payable in respect of indebtedness of the Partnership incurred in accordance with
     Section 5.3, but in each case, not including Organizational Expenses in excess of $1,250,000,
     Management Fees, Placement Fees and those expenses borne by the Manager pursuant to Section
     4.3.

                "Partnership Legal Matters" has the meaning set forth in Section 12.5.

             "Permitted GP Transferee" means, as to any membership or other ownership interest in
     the General Partner, of or held by any Principal or other member or investor in the General
     Partner (a) any family member of such person provided the transferor retains all voting control
     with respect to the interest, (b) any other partner or investor in the General Partner who was a
     partner or investor in the General Partner as of the Final Closing, and (c) any trust, partnership,
     foundation corporation or other entity that is either controlled by such person or is primarily for
     the benefit of such person and/or their family members.

            "Person" means an individual, a partnership, a limited liability company, a corporation,
     an association, a joint stock company, a trust, a joint venture, an unincorporated organization, or
     a governmental entity (or any department, agency or political subdivision thereof).

             "Placement Fees" means the fees and expenses and any interest on any deferred fees and
     expenses charged by or paid to any placement agency designated by the Partnership or the
     General Partner for the marketing and sale of interests in the Partnership and the Parallel
     Vehicles. The Partnership's pro rata share of any Placement Fees shall be the amount of such
     fees multiplied by a fraction, the numerator of which is the aggregate Commitments of the
     Limited Partners giving rise to such fees, and the denominator of which is the sum of the
     aggregate Commitments of the Limited Partners and the aggregate capital commitments of all
     limited partners in all Parallel Vehicles giving rise to such fees.

                "Plan Assets" means "plan assets" as defined in the Plan Asset Regulation.

     17461908                                         -13-




                                                                                               Appx. 04033
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                776 of 867
                                                        Page 57 of 200 PageID 25269

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20               Entered 02/24/20 17:25:25     Page 89 of
                                            180


                "Plan Asset Event" has the meaning set forth in Section 5.6Cel.

            "Plan Asset Regulation" means the U.S. Department of Labor regulation located at 29
     C.F.R. Section 2510.3-101, or any successor regulation thereto, as in effect at the time of
     reference, as modified by Section 3( 42) of ERISA.

            "Portfolio Company" means any corporation, partnership, limited liability, company or
     other entity in which the Partnership has made an investment, other than Short-Term
     Investments.

             "Portfolio Investments" means any investments held by the Partnership, other than Short-
     Term Investments. If the Partnership holds multiple classes of securities or other interests that
     were issued by a Portfolio Company in a single closing or series of related closings, all of such
     securities or interests in the aggregate shall constitute one Portfolio Investment.

             "Preference Base" means for any Partner and as of any date (a) with respect to any
     distribution of the proceeds of a Disposition, the sum of (i) such Partner's Capital Contributions
     applied to make Portfolio Investments that have been Disposed of on or prior to such date or
     applied to pay Capitalized Partnership Expenses with respect to such Portfolio Investments, (ii)
     such Partner's Partner Share of all writedowns (including write-offs) pursuant to Section 9.4 in
     respect of Portfolio Investments that have not been Disposed of by the Partnership on or prior to
     such date and (iii) such Partner's Capital Contributions applied to pay Allocated Expenses with
     respect to Portfolio Investments that have been Disposed of, written down or written off on or
     prior to such date, and (b) with respect to any distribution of proceeds of a Partial Realization,
     the amounts determined pursuant to clause (a), plus such Partner's Capital Contributions applied
     to make the Portfolio Investment to which such proceeds are attributable, including Capitalized
     Partnership Expenses attributable to such Portfolio Investment and Allocated Expenses with
     respect to such Portfolio Investment as of such date. For purposes of determining a Partner's
     Preferred Amount, a Partner's Preference Base shall not include any Capital Contributions
     returned to such Partner pursuant to Section 2.2(c).

             "Preferred Amount" means, for any Partner and as of any date, the amount, if any, that
     would be required to be distributed on such date so that the aggregate distributions pursuant to
     Section 3.3 (including distributions pursuant to Sections 8.3Cbl and(£}), to such Partner in excess
     of such Partner's Preference Base provide a return of 8% per annum (compounded annually) on
     such Partner's Preference Base. For purposes of determining a Partner's Preferred Amount with
     respect to a Disposition of a Portfolio Investment, no proceeds of Partial Realizations with
     respect to Portfolio Investments or portions thereof that have not been Disposed of as of such
     date shall be taken into account, other than Excess Partial Realization Proceeds realized as of
     such date. A Partner's Preferred Amount shall be calculated on the basis of the actual number of
     days elapsed from and including the date on which each Capital Contribution is invested in a
     Portfolio Company or is contributed to the Partnership for the purpose of paying Management
     Fees, Organizational Expenses and Partnership Expenses, as applicable, to, but not including, the
     date that distributions constituting a return of such Capital Contributions were made by the
     Partnership to the Partners pursuant to Section 3.3(a)(i).



     17461908                                         -14-




                                                                                              Appx. 04034
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                777 of 867
                                                        Page 58 of 200 PageID 25270

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20                Entered 02/24/20 17:25:25     Page 90 of
                                            180


            "Principals" means the following senior investment professionals who are partners or
     members of the General Partner or are employed by the Manager, for so long as such persons
     have not voluntarily resigned from, or been terminated by, the General Partner or Manager, and
     any other senior investment professionals from time to time who are designated as such by the
     General Partner: James Dondero, Mark Okada, Patrick Daugherty and John Honis.

          "Qualified Purchaser" has the meaning set forth in Section 2(a)(51) of the Investment
     Company Act and the regulations promulgated thereunder.

                "Redeemed Limited Partner" has the meaning set forth in Section 6.6(c).

                "Redemption Effective Date" has the meaning set forth in Section 6.6(c).

              "Redemption Value" means, with respect to any interest in the Partnership, or such
      portion thereof in the case of a partial withdrawal, being redeemed because of a Plan Asset Event
      or Regulatory Issue, the fair market value of such interest as of the applicable Redemption
     Effective Date, as determined in good faith by the General Partner; provided that, if the Plan
     Asset Event or the Regulatory Issue is a result of a breach of a representation, warranty or
     covenant made by the Redeemed Limited Partner, the Redemption Value shall be (in each case
     as determined in good faith by the General Partner) the lesser of (i) the fair market value of such
     Redeemed Limited Partner's interest in the Partnership on the applicable Redemption Effective
     Date and (ii) the fair market value of the applicable portion of the Redeemed Limited Partner's
     interest in the Partnership being redeemed on the date on which cash is allocated to make
     redemption payments. In making such determination of fair market value, the General Partner
     shall assume that all of the assets of the Partnership will be sold on the applicable date in a
     commercially reasonable manner and the proceeds of such sale, net of estimated closing costs, as
     reasonably determined by the General Partner, and all obligations of the Partnership (other than
     the redemption of the interest or interests in the Partnership being redeemed as of such date), will
     be distributed to the Partners pursuant to this Agreement. With respect to a Plan Asset Event or
     Regulatory Issue that is not a result of a breach of a representation or warranty made by the
     Redeemed Limited Partner, if the majority of such Redeemed Limited Partners disagree with the
     General Partner's determination of the Redemption Value of the applicable interests in the
     Partnership, such Redeemed Limited Partners shall negotiate in good faith to resolve such
     disagreement, and if such Redeemed Limited Partners continue to disagree after negotiations are
     held, either side may request that an independent evaluator (who must be reasonably acceptable
     to the other party) be retained, whose valuation shall be final and binding on the Partnership and
     all of the Partners. The Partnership will bear the cost of the independent evaluator.

                "Regulated Investor" has the meaning set forth in Section 6.6(b ).

                "Regulatory Issue" has the meaning set forth in Section 6.6(b ).

                "Securities Act" means the Securities Act of 1933, as amended.

                "Separate Investment Entity" has the meaning set forth in Section 5.15.

          "Seventy-Five Percent in Interest of the Limited Partners" means Limited Partners with
     Commitments and limited partners in Parallel Vehicles with capital commitments to Parallel
     17461908                                          -15-




                                                                                               Appx. 04035
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                778 of 867
                                                        Page 59 of 200 PageID 25271

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20              Entered 02/24/20 17:25:25        Page 91 of
                                            180


     Vehicles totaling 75% of the aggregate Commitments of all Limited Partners and capital
     commitments of limited partners in Parallel Vehicles.

            "Short-Term Investment Income" means the income earned on Short-Term Investments
     including in any event any gains and net of any losses from dispositions of Short-Term
     Investments and also net of any costs and expenses directly attributable thereto.

             "Short-Term Investments" means investments in (a) cash, (b) obligations of, or fully
     guaranteed as to timely payment of principal and interest by, the United States of America and
     with a maturity date not in excess of 12 months from the date of purchase by the Partnership,
     (c) interest-bearing accounts and/or certificates of deposit of any U.S. bank with capital and
     surplus in excess of $500 million and whose short-term debt securities are rated not lower than
     P-1 by Moody's Investor Services, Inc. and A-1+ by Standard & Poor's Corporation and whose
     long term unsecured debt securities, or the long term unsecured debt securities of its affiliated
     holding company, are rated no lower than AI by Moody's Investor Services, Inc. and A+ by
     Standard & Poor's Corporation, (d) reverse repurchase agreements using U.S. Treasury securities
     and entered into with any U.S. bank with capital and surplus in excess of $500 million and
     whose short-term debt securities are rated not lower than P-I by Moody's Investor Services, Inc.
     and A-I+ by Standard & Poor's Corporation and whose long term unsecured debt securities, or
     the long term unsecured debt securities of its affiliated holding company, are rated no lower than
     AI by Moody's Investor Services, Inc. and A+ by Standard & Poor's Corporation, and
     (e) money market mutual funds with assets of not less than $500 million, substantial! y all of
     which assets are reasonably believed by the General Partner to consist of items described in one
     or more of the foregoing clauses (b), .(£} and @.

             "Special Profit Interest" means (i) the General Partner's right to receive distributions
     pursuant to the first two sentences of Section 3.3(a), but only to the extent such distributions
     exceed the distributions that would have been made to the General Partner pursuant to the first
     two sentences of Section 3.3(a) if such distributions had been made pro rata according to each
     Partner's Capital Contributions to the Partnership, and (ii) the General Partner's right to receive
     distributions pursuant to Section 3.3(e).

             "Subscription Agreement" means the Subscription Agreements (including a Subscriber
     Information Form) executed and delivered by Partners investing in the Partnership substantially
     in the form of the Subscription Agreement, dated as of the date hereof.

                "Successor Fund" has the meaning set forth in Section 5.I2.

            "Tax Distributions" means the aggregate amount of distributions that would be made to
     the General Partner if the General Partner received no distributions other than those required
     pursuant to Section 3 .3(b ).

             "Tax Exempt Partner" means (i) a Limited Partner that is exempt from tax under Section
     501 of the Code or (ii) a Limited Partner that has a direct or indirect beneficial owner that (x) is
     exempt from tax under Section 50 I of the Code and (y) is required to report on a United States
     federal income tax return or report any taxable income allocated to such Limited Partner
     pursuant to Section 10.4, to the extent of such beneficial owner's pro rata share of such income,

     17461908                                         -I6-




                                                                                                Appx. 04036
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                779 of 867
                                                        Page 60 of 200 PageID 25272

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20               Entered 02/24/20 17:25:25      Page 92 of
                                            180


     but only in each case if such Limited Partner has notified the General Partner in writing
     regarding the status of such direct or indirect beneficial owner.

             "Topping and Break-up Fees" means topping, break-up or similar fees in connection with
     prospective Portfolio Investments that are not completed, in each case to the extent actually paid
     by a prospective Portfolio Company and received by the General Partner, the Manager, the
     Principals, employees of the Manager or their Affiliates; provided, however, that (A) such fees
     shall not include, in each case, any such amounts that are applied to cover amounts paid by the
     General Partner, the Manager, the Principals, employees of the Manager or their Affiliates that
     constitute unreimbursed (i) out-of-pocket expenses of such persons incurred in generating such
     fees, and (ii) Partnership Expenses incurred in generating such fees, and (B) to the extent that the
     General Partner, the Manager, the Principals or their Affiliates were actually reimbursed by the
     Partnership for any Partnership Expenses incurred in generating such fees, such fees will first be
     applied to repay the Partnership for such Partnership Expenses.

             "Transaction and Monitoring Fees" means commitment, transaction, closing, merger and
     acquisition, divestiture, financing, monitoring and similar advisory fees in respect of a Portfolio
     Company, in each case to the extent actually paid by a Portfolio Company and received by the
     General Partner, the Manager, the Principals, employees of the Manager or their Affiliates;
     provided, however, that (A) such fees shall not include, in each case, any such amounts that are
     applied to cover amounts paid by the General Partner, the Manager, the Principals, employees of
     the Manager or their Affiliates that constitute unreimbursed (i) out-of-pocket expenses of such
     persons incurred in generating such fees, and (ii) Partnership Expenses incurred in generating
     such fees, and (B) to the extent that the General Partner, the Manager, the Principals or their
     Affiliates were actually reimbursed by the Partnership for any Partnership Expenses incurred in
     generating such fees, such fees will first be applied to repay the Partnership for such Partnership
     Expenses.

                "Triggering Event" has the meaning set forth in Section 2.2(d).

             "Two-Thirds in Interest of the Limited Partners" means Limited Partners with
     Commitments and limited partners in Parallel Vehicles with capital commitments to Parallel
     Vehicles totaling more than 66 213 % of the aggregate Commitments of all Limited Partners and
     capital commitments of limited partners in Parallel Vehicles.

           "UBTI" means unrelated business taxable income and unrelated debt financed taxable
     income, as defined in Sections 512 and 514 of the Code, respectively.

             "Unapplied Waived Fee Amounts" means, as of the date of determination, the excess, if
     any, of (i) the sum of (A) the aggregate Waived Fee Amount for all Management Fee Periods,
     beginning on or before the date of determination (B) the aggregate amount described in clause (i)
     of the definition of "Deemed Contribution" relating to the aggregate Capital Contributions
     previously returned to the Partners pursuant to Section 2.2(c) (including, without limitation, in
     respect of Bridge Financings) and (C) amounts added to the Unapplied Waived Fee Amounts
     pursuant to Section 6.5(b) over (ii) the aggregate amount described in clause (i) of the definition
     of "Deemed Contribution" as of such date.


     17461908                                         -17-




                                                                                                 Appx. 04037
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                780 of 867
                                                        Page 61 of 200 PageID 25273

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20               Entered 02/24/20 17:25:25     Page 93 of
                                            180


             "Uncapitalized Partnership Expenses" means Partnership Expenses that are not
      Capitalized Partnership Expenses.

            "Unfunded Commitment" means that portion of a Partner's Commitment that is not a
      Funded Commitment.

                "Waived Fee Amount" has the meaning set forth in Section 4.l(d).

                "Waived Fee Notice" has the meaning set forth in Section 4.1(d).

                "Waiver Contribution" has the meaning set forth in Section 2.2(a)(ii).

            Section 2.2 Capital Contribution Commitment: Key Person Provision. Subject to
     Section 5.6(b ):

              (a)     (i) Each Partner agrees to make contributions in cash to the capital of the
     Partnership pro rata based upon such Partner's respective Unfunded Commitment in an
      aggregate amount up to its Unfunded Commitment when and as called by the General Partner
     ("Capital Call") upon at least ten Business Days written notice (the "Capital Call Notice");
     provided, however, that the General Partner shall not be obligated to make Capital Contributions
     to be used to pay the Management Fee or Placement Fees, and Capital Contributions to pay the
     Management Fee will be made by each Limited Partner based on the amount of each payment of
     the Management Fee that is borne by such Limited Partner pursuant to Section 4.l(b). Any
     Capital Contributions made by the Limited Partners to pay the Partnership's pro rata share of any
     Placement Fees shall be made by the Limited Partners whose Commitments gave rise to such
     fees, pro rata in accordance with their respective Commitments. The aggregate Commitments
     and capital commitments to all Parallel Vehicles of the General Partner, the Principals, Highland
     and their Affiliates, shall be pro rata and shall equal the lesser of 5.0% of aggregate
     Commitments and capital commitments to all Parallel Vehicles and $50 million. In the event of
     the election described in Section 2.2(a)(ii), each Limited Partner required to make a Waiver
     Contribution pursuant to Section 2.2(a)(ii) shall make the Waiver Contribution specified in the
     Capital Call Notice. Each Capital Contribution shall be made by Partners in cash either by
     delivery to the Partnership of a certified check or wire transfer of immediately available funds to
     an account designated by the General Partner, provided, however, that the Capital Contributions
     of the General Partner may be made by cash contributions or by Deemed Contributions as set
     forth in Section 2.2(a)(ii).

            A Capital Call Notice shall: (i) specify the purpose for which the Capital Contributions
    are required to be made (including a breakdown of the amounts called in respect of Portfolio
    Investments, Partnership Expenses, Organizational Expenses, Management Fees or Placement
    Fees); (ii) in the case of a Capital Call Notice with respect to the anticipated making of a
    Portfolio Investment, include: (A) a brief description of the identity, nature and business of such
    Portfolio Investment; (B) a statement as to whether the Portfolio Investment might be structured
    through a Separate Investment Entity; (C) a designation as such of any Bridge Financing to be
    made as part of such Portfolio Investment, and (D) a statement as to whether the Portfolio
    Investment is an investment in a Media Company or could, in the reasonable judgment of the
    General Partner, cause a Limited Partner to recognize UBTI; and (iii) specify a Limited Partner's

     17461908                                         -18-




                                                                                              Appx. 04038
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                781 of 867
                                                        Page 62 of 200 PageID 25274

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20            Entered 02/24/20 17:25:25        Page 94 of
                                            180


     pro rata share of the Capital Contributions required to be made by such Limited Partner, the
     portion of the Capital Contribution to be applied towards the payment of Management Fees, and
     the amount of a Limited Partner's Unfunded Commitment remaining following the funding of
     such Capital Contribution.

                      (ii)    Notwithstanding Section 2.2(a)(i) above, at such time as the General
     Partner delivers any Capital Call Notice, the General Partner's required Capital Contributions in
     respect of anticipated or actual Portfolio Investment and/or expenses incurred directly in
     connection with the making, maintaining or disposing of such Portfolio Investment, at the
     General Partner's election, shall be reduced by an amount up to the lesser of (A) the amount of
     Capital Contributions otherwise required to be made by the General Partner pursuant to Section
     2.2(a)(i). or (B) the amount of any existing Unapplied Waived Fee Amounts, and such amount
     shall instead be funded by the Participating Partners with respect to whom the Management Fee
     is payable pursuant to Section 4.1(b ), pro rata according to their respective Commitments (for
     any Partner, a "Waiver Contribution"). If, as of any date, the aggregate amounts described in
     clause (i) of the definition of "Deemed Contribution" exceed the sum of the amounts described
     in clause (i) of the definition of "Unapplied Waived Fee Amounts," the General Partner shall,
     within ten Business Days after such date, make a Capital Contribution equal to the amount of
     such excess. Such amount shall be distributed to the Partners as a return of their Capital
     Contributions, in proportion to their respective Waiver Contributions. Corresponding
     adjustments shall be made to the Special Profits Interest.

              (b)     Each Partner's Commitment will commence on the date of the First Closing and
     will expire on the earlier of (i) five years from the Final Closing, (ii) the date after the second
     anniversary of the Final Closing on which the Commitment Period is terminated with the consent
     of Seventy-Five Percent in Interest of the Limited Partners, (iii) the date on which the General
     Partner determines that 90% of the aggregate Commitments of the Partners have been funded or
     are needed for purposes described in clauses (i) through (iii) of the next sentence below, or (iv)
     the date that the Commitment Period is terminated pursuant to Section 2.2(dl, (such period being
     referred to as the "Commitment Period"). Notwithstanding the expiration or the termination of
     the Commitment Period, the Partners will remain obligated to make cash contributions
     throughout the duration of the Partnership pursuant to their respective Unfunded Commitments
     to the extent needed (i) to make Follow-on Investments; provided, however, that the aggregate of
     all Follow-on Investments made after the termination of the Commitment Period shall not exceed
     15% of the aggregate Commitments, (ii) to make investments that were the subject of written
     agreements in process or under active consideration prior to or on the date of termination of the
     Commitment Period and which are consummated within 120 days of the date of termination of
     the Commitment Period, subject to extension, if necessary, in order to obtain requisite regulatory
     approvals, and (iii) to pay Partnership Expenses and the Management Fee. The General Partner
     shall notify the Limited Partners within 30 days of the termination of the Commitment Period as
     to all in process investments that were the subject of written agreements in process and
     investments under active consideration to the extent the General Partner is not bound by
     confidentiality obligations related thereto.

            (c)    The General Partner shall cause the Partnership to return to the Partners all or any
    portion of any Capital Contribution to the Partnership which is not invested in a Portfolio
    Investment or used to pay Partnership Expenses, Management Fees, Placement Fees or

     17461908                                       -19-




                                                                                              Appx. 04039
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                782 of 867
                                                        Page 63 of 200 PageID 25275

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20              Entered 02/24/20 17:25:25         Page 95 of
                                            180


      Organizational Expenses or which has been contributed in order to fund a Bridge Financing
      which is refinanced. Each such return of Capital Contributions shall be made pro rata among all
      Partners in the same proportion as the Partners made such Capital Contributions and shall be
      made on or before the sixtieth (60th) day following the date such Capital Contributions were due
      (as set forth in the Capital Call Notice pursuant to which such Capital Contributions were made
      by the Partners to the Partnership), provided, however, that such Capital Contributions may be
      retained and applied with respect to another outstanding Capital Call Notice and may also be
      retained if the General Partner determines in good faith that there will be a Capital Call within
      thirty (30) days after the date that such Capital Contributions would otherwise be required to be
      returned, and if not so applied and retained, may be called again by the General Partner
      according to the provisions of this Section 2.2 as if such returned Capital Contributions had not
      been previously called.

                (d)   If:

                      (i)    James Dondero and Mark Okada both cease to be actively involved,
      including in a supervisory role, on an ongoing basis with respect to the business, operations or
      investment decisions of Highland, the Manager and General Partner,

                    (ii)     the Keyman Group, together with the Principals as of the Final Closing
     and Permitted GP Transferees thereof, are no longer entitled to receive, directly or indirectly, in
     the aggregate at least 50% of the Carried Interest (as defined in the Master Partnership
     Agreement) payable to the General Partner, or

                    (iii)   any two or more of the members of the Keyman Group cease to be
     actively involved, including in a supervisory role, on an ongoing basis with respect to the
     business, operations or investment decisions of Highland, the Manager and General Partner,

     (the circumstances specified in each of clauses (i), (ii), and (iii), above being referred to herein as
     a "Triggering Event"), then the Partnership shall automatically enter into a 120 day period
     (subject to extension for an additional120 day period as described below) in which the
     Commitment Period will be suspended (a "Continuity Period").

             The Partnership shall not make any new investments during the Continuity Period, except
     to the extent such investments (a) were the subject of written agreements, (b) were in process or
     (c) under active consideration prior to the commencement of the Continuity Period, and in each
     such case, are consummated within 120 days of the commencement of the Continuity Period,
     subject to extension, if necessary, in order to obtain requisite regulatory approvals for such
     investments. The pursuit of Other Permitted Investment Activities by the Principals and the
     members of the Keyman Group will not give rise to a Triggering Event. The General Partner
     will promptly notify the Limited Partners of the occurrence of a Triggering Event.

              During a Continuity Period, if a Triggering Event described in clause (i) above has
     occurred, the General Partner, after consultation with the Advisory Committee, will prepare for
     and provide to the Limited Partners within 60 days of the Triggering Event a program
     recommended by the General Partner for resumption by the Partnership of its full range of
     activities at the end of such Continuity Period. Prior to the end of the Continuity Period, but

     17461908                                        -20-




                                                                                                  Appx. 04040
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                783 of 867
                                                        Page 64 of 200 PageID 25276

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20             Entered 02/24/20 17:25:25        Page 96 of
                                            180


     within a reasonable time period following the delivery of a program recommended by the
     General Partner, the General Partner will arrange for a vote of all Limited Partners. By consent
     of Two-Thirds in Interest of the Limited Partners, the Limited Partners may cause an early
     termination of the Commitment Period, such termination to commence on the date such
     Continuity Period expires. If a Continuity Period expires without the occurrence of an effective
     consent of the requisite Limited Partners to terminate the Commitment Period, the Partnership,
     and the General Partner on its behalf, shall be authorized and entitled to resume the Partnership's
     full range of activities.

              During a Continuity Period, if a Triggering Event described in clauses (ii) or (iii) above
     has occurred, within 90 days of the Triggering Event the General Partner may propose to the
     Advisory Committee one or more replacements to serve as members of the Keyman Group for
     purposes of this Section 2.2(d); if a majority of the members of the Advisory Committee approve
     of such replacement or replacements, such replacement person or persons shall thereafter be
     members of the Keyman Group and the Partnership, and the General Partner on its behalf, shall
     be authorized and entitled to resume the Partnership's full range of activities. If the Advisory
     Committee does not approve of such replacement person or persons within 30 days following the
     delivery of the General Partner proposal to the Advisory Committee, the Continuity Period shall
     be extended for an additional 120 day period. The General Partner may propose to the Advisory
     Committee, within 90 days after the rejection by the Advisory Committee of the initial
     replacement person or persons, a different replacement or replacements than originally proposed
     to serve as members of the Keyman Group for purposes of this Section 2.2(d); if a majority of
     the members of the Advisory Committee approve of such replacement or replacements within 30
     days following delivery of the new General Partner proposal, such replacement person or persons
     shall thereafter be members of the Keyman Group and the Partnership, and the General Partner
     on its behalf, shall be authorized and entitled to resume the Partnership's full range of activities.
     If the Advisory Committee does not approve of such replacement person or persons within such
     thirty day period, the General Partner will arrange for a vote of all Limited Partners. By consent
     of Two-Thirds in Interest of the Limited Partners, the Limited Partners may cause an early
     termination of the Commitment Period, such termination to commence on the date the Continuity
     Period expires.

             Section 2.3 Capital Accounts. A capital account ("Capital Account") will be established
     for each Partner on the books of the Partnership and will be adjusted as follows:

             (a)      Capital Contributions and Allocations. A Partner's Capital Contribution will be
     credited to its Capital Account when received by the Partnership.

             (b)     Short-Term Investment Income. Short-Term Investment Income earned in each
     quarterly period with respect to Capital Contributions that have not yet been invested in Portfolio
     Investments or used to pay fees and expenses of the Partnership will be credited to the Capital
     Accounts of the Partners pro rata according to their respective Partner Capital Contributions to
     which such Short-Term Investment Income is attributable. Short-Term Investment Income on
     undistributed proceeds from Portfolio Investments shall be credited to the Capital Accounts of
     the Partners ratably in proportion to their respective shares of such undistributed amounts.



     17461908                                       -21-




                                                                                               Appx. 04041
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                784 of 867
                                                        Page 65 of 200 PageID 25277

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20             Entered 02/24/20 17:25:25        Page 97 of
                                            180


              (c)     Investment Income and Gain and Investment Loss. Taking into account Section
     6.6(d) and except as otherwise provided in this Section 2.3(c). Investment Income and Gain or
     Investment Loss shall be allocated among the Partners for each taxable period in such a manner
     that, as of the end of such taxable period, and to the extent possible, the Capital Account of each
     Partner shall be equal to the net amount, positive or negative, which would be distributed to each
     Partner or for which such Partner would be liable to the Partnership under this Agreement
     (including Sections 8.3(c) and (tl), determined as if the Partnership were to liquidate the assets
     of the Partnership for an amount equal to their Bas is, reduced, but not below zero, by the amount
     of nonrecourse debt, if any, to which such Partnership assets are subject, and distribute the
     proceeds in liquidation after the payment of all liabilities (other than nonrecourse liabilities) in
     accordance with Sections 3.2 and 3.3. For purposes of the foregoing determination, no amount
     shall be treated as distributable pursuant to subclause (z) of clause (A) of Section 3.3(a)(i) by
     virtue of clause (a)(ii) of the definition of Preference Base or clause (B) of Section 3.3(a)(i) with
     respect to any Portfolio Investment or portion thereof solely because of the deemed liquidation of
     such Portfolio Investment; provided, however, that any increase in the Basis of a Portfolio
     Investment shall be taken into account for this purpose in the same manner as proceeds of a
     Partial Realization. Investment Income and Gain or Investment Loss attributable to Portfolio
     Investments retained by the Partnership pursuant to Section 3.3(e)(ii) shall be allocated 100% to
     the General Partner.

             (d)     Organizational Expenses, Management Fee. Organizational Expenses that are
     borne by the Partnership will be apportioned to the Partners pro rata according to their respective
     Capital Contributions to pay Organizational Expenses. Organizational Expenses that are
     described in Section 705(a)(2)(B) of the Code will be debited against the Capital Accounts of the
     Partners in the fiscal period in which they are incurred, and Organizational Expenses that are
     described in Section 709(b) of the Code will be debited against the Capital Accounts of the
     Partners over a 180-month period. The Management Fee for any Management Fee Period shall
     be debited against the Capital Account of each Limited Partner in the amount that is borne by
     such Limited Partner pursuant to Section 4.Hbl for such Management Fee Period.

             (e)    Distributions. Any amounts distributed to the Partners will be debited against
     their Capital Accounts.

             (f)    Partnership Expenses. Uncapitalized Partnership Expenses shall be debited
     against the Capital Accounts of the Partners in proportion to their respective Commitments.

            (g)    Placement Fees. Placement Fees, shall be debited against the Capital Accounts of
     the Limited Partners whose Commitments gave rise to such fees, in proportion to their respective
     Commitments.

                Section 2.4 Distributions in Kind.

             (a)     If any securities are to be distributed in kind to the Partners as provided in
     Article III, such securities will first be written up or down to their value (as determined pursuant
     to Article IX as of the date of such distribution), thus creating Investment Income or Gain or
     Investment Loss, which shall be allocated in accordance with Section 2.3 to the Capital Accounts
     of the Partners, and upon the distribution (or deemed distribution pursuant to Section 2.4(b )) of

     17461908                                        -22-




                                                                                               Appx. 04042
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                785 of 867
                                                        Page 66 of 200 PageID 25278

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20              Entered 02/24/20 17:25:25        Page 98 of
                                            180


      such securities to the Partners, the value of such securities shall be debited, in accordance with
      Section 2.3(e), against the Capital Accounts of the Partners.

              (b)      The General Partner shall give at least ten Business Days prior notice to the
      Limited Partners of any proposed distribution of securities pursuant to this Section 2.4 and the
      date of such proposed distribution. In connection with any distribution of securities in kind, the
      General Partner shall offer each Limited Partner the right to elect to receive a distribution of
      securities or to have the Partnership dispose of all or any portion of such securities for the
      account of such Limited Partner. At the election of a Limited Partner (an "Electing Limited
     Partner"), all distributions of securities that otherwise would be made to the Electing Limited
     Partner by the Partnership shall be made, as determined by the General Partner, to the General
     Partner or an independent escrow agent or custodian as agent for the Limited Partner (the
     "Agent") and, unless otherwise specified in writing, an Electing Limited Partner shall be deemed
     to have chosen to have the Partnership sell its share of securities in full. An Electing Limited
     Partner shall bear all expenses (including, without limitation, underwriting costs and brokerage
     commissions) relating to the sale by the Partnership of such securities. The General Partner may
     require the Electing Limited Partner to make any representations, warranties and covenants as
     the General Partner shall reasonably determine are necessary or desirable in order to dispose of
     the securities. For all purposes of this Agreement, the Limited Partner shall be deemed to have
     received such distribution of securities on the date that such securities are delivered to the Agent.
     Immediately following a distribution to the Agent pursuant to this Section 2.4(b). the General
     Partner shall notify the Limited Partner of the type and quantity of securities distributed. The
     Agent shall thereafter hold such securities for a period of 10 Business Days following which the
     Agent shall use its reasonable efforts to promptly sell such securities and deliver the net proceeds
     therefrom to the Limited Partner; provided, however, that the Agent shall not sell such securities
     and shall instead promptly deliver such securities to the Limited Partner following the conclusion
     of such 10 Business Day period if, prior to the conclusion of such period, the Limited Partner
     notifies the Agent that the receipt of such securities would not violate any law, regulation or
     governmental order applicable to the Limited Partner. The Agent shall use good faith efforts in
     selling such securities at the highest available price, but shall not be liable to an Electing Limited
     Partner in any manner in connection with such sale in the absence of gross negligence or willful
     misconduct, including for any claim that the Agent was unable to effect any such sale (for any
     reason) or failed to obtain the highest possible sale price for such securities.

             (c)    An Electing Limited Partner's election pursuant to Section 2.4Cb) may be revoked
     by the Electing Limited Partner at any time upon notice to the General Partner; provided,
     however, that an election may not be revoked with respect to securities if the Agent has entered
     into a binding commitment to sell securities on behalf of the Electing Limited Partner.

             Section 2.5 Determination of Voting Thresholds. Any vote, approval or consent that is
     to be based upon a specified proportion of the interests in the Partnership held by the limited
     partners shall be based upon the Limited Partners' Commitments and the capital commitments of
     limited partners in Parallel Vehicles, excluding (i) except as specifically provided in Section 6.9,
     that portion of each Limited Partner's Commitment and the capital commitment of each limited
     partner in a Parallel Vehicle that represents a Non-Voting Interest, (ii) except as otherwise set
     forth in Section 12.1(b ). limited partner interests in the Partnership or in any Parallel Vehicle
     held by a Defaulting Partner or a defaulting partner of a Parallel Vehicle, (iii) limited partner

     17461908                                        -23-




                                                                                                Appx. 04043
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                786 of 867
                                                        Page 67 of 200 PageID 25279

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20              Entered 02/24/20 17:25:25         Page 99 of
                                            180


     interests in the Partnership or in any Parallel Vehicle held, directly or indirectly, by the General
     Partner, Highland, the Principals or any of their respective Affiliates prior to any removal of the
     General Partner pursuant to Section 5.9, and (iv) in the case of any particular matter that affects
     or pertains only to the Partners and not to any partner of a Parallel Vehicle, limited partner
     interests in such Parallel Vehicle held, directly or indirectly, by the General Partner or by any
     limited partner of such Parallel Vehicle.



                                                   ARTICLE III

                                               DISTRIBUTIONS

                Section 3.1 Distribution Policy.

             (a)     The General Partner may in its sole discretion make distributions of cash or
     Marketable Securities at any time and from time to time subject to the remaining provisions of
     this Section 3.1; provided, however, that no securities will be distributed in kind to the Partners
     that are not Marketable Securities until the final distribution of the assets of the Partnership to the
     Partners pursuant to Section 8.3(b).

              (b)    The General Partner will cause the Partnership to distribute (i) Current Cash
     Income at least semi-annually unless reinvested as described in this Section 3.1(b ), (ii) Short-
     Term Investment Income at least quarterly, and (iii) the net cash proceeds received from
     Dispositions of or Partial Realizations with respect to Portfolio Investments within 60 days of the
     receipt thereof unless reinvested as described in this Section 3.1(b), after, in each case, the
     setting aside by the General Partner, in its discretion, of reasonable reserves for anticipated
     obligations and commitments of the Partnership as well as any required tax withholdings;
     provided, however, that if the General Partner determines in good faith that there will be a
     Capital Call within 30 days after the date that an amount that would otherwise be distributed that
     would be described in clauses (a), (hl and@ of the definition of Funded Commitment, or if
     there is an outstanding Capital Call Notice the General Partner may, in its discretion, retain such
     amount and reduce the amount required to be contributed with respect to such Capital Call.

           Section 3.2 Distribution of Short-Term Investment Income. Short-Term Investment
     Income will be distributed among the Partners in the same proportions as Short-Term Investment
     Income was credited to the Partners' Capital Accounts.

             Section 3.3 Distributions of Current Cash Income and Proceeds From Dispositions of or
     Partial Realizations with Respect to Investments and In Kind Distributions.

             (a)     Distributions not attributable to a Portfolio Investment shall be distributed to the
     Partners in proportion to their Funded Commitments as of the date of such distribution. All
     distributions of Current Cash Income and all distributions out of net proceeds from Dispositions
     of or Partial Realizations with respect to Portfolio Investments (in each case, net of Partnership
     Expenses) and all distributions of Portfolio Investments shall be apportioned in proportion to
     their respective Partner Interests among the General Partner and the Participating Partners with
     respect to the Portfolio Investment that gave rise to such Current Cash Income or net proceeds or
     17461908                                         -24-




                                                                                                 Appx. 04044
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                787 of 867
                                                        Page 68 of 200 PageID 25280

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                   Page 100 of
                                             180


     that is being distributed in kind. The General Partner's Partner Share of such distributions shall
     be distributed 100% to the General Partner. Each Participating Partner's Partner Share shall be
     distributed to such Participating Partner and the General Partner as follows:

                     (i)     First, 100% to such Participating Partner until (A) the aggregate amount
     distributed to such Participating Partner in accordance with this Section 3.3(a) equals such
     Participating Partner's Preference Base as of the date of such distribution and (B) the aggregate
     amount distributed to such Participating Partner in accordance with this Section 3.3(a) (other
     than clause (A) of this paragraph) equals such Participating Partner's Preferred Amount as of
     such date. Solely for purposes of determining how proceeds of a Disposition of a Portfolio
     Investment are to be distributed pursuant to this Section 3.3(a) no proceeds of Partial
     Realizations with respect to Portfolio Investments or portions thereof that have not been
     Disposed of as of such date shall be taken into account, other than Excess Partial Realization
     Proceeds realized as of such date.

                      (ii)   Second, (A) 50% to the General Partner and (B) 50% to such Participating
     Partner until the aggregate distributions to the General Partner with respect to such Participating
     Partner pursuant to this paragraph (ii) and paragraph (iii), reduced by any amounts contributed to
     the Partnership by the General Partner with respect to such Participating Partner pursuant to
     Section 8.3( c), equal 20% of the aggregate distributions of such Participating Partner's Partner
     Share of such amounts to the General Partner, reduced by any amounts contributed to the
     Partnership by the General Partner with respect to such Participating Partner pursuant to Section
     8.3(c). and to such Participating Partner pursuant to this paragraph (ii) and paragraph (iii), and
     clause (B) of the immediately preceding paragraph.

                    (iii)   Third, (A) 80% to such Participating Partner and (B) 20% to the General
     Partner.

     For purposes of this Section 3.3(a), amounts distributed to a Participating Partner pursuant to
     Section 8.3(c) shall be treated as having been distributed pursuant to this Section 3.3(a).

              (b)     Anything contained herein to the contrary notwithstanding, the General Partner
     shall be entitled to receive cash distributions from the Partnership (after taking into account any
     other distributions received by the General Partner in such fiscal year pursuant to Sections
     3.3(a)(ii)(A) and 3.3(a)Ciii)(B)) in amounts sufficient to enable the General Partner and the
     individual members of the General Partner to discharge any federal, state and local tax liability
     (excluding penalties) arising as a result of the allocation of Investment Income and Gain pursuant
     to Section 2.3(c) attributable to the General Partner's Carried Interest in the Partnership,
     determined by assuming the applicability of the highest combined effective marginal federal,
     state and local income tax rates applicable to an individual resident in New York, New York.
     The amount of such tax liability shall be calculated taking into account (i) the deductibility (to
     the extent allowed) of state and local income taxes for United States Federal income tax
     purposes, (ii) the amount of net cumulative tax loss previously allocated to the General Partner in
     prior fiscal years with respect to the Carried Interest and not used in prior fiscal years to reduce
     taxable income for the purpose of making distributions under this subsection (b) and (iii) the
     character of any income or gain and the income tax rates applicable thereto. The calculation
     shall be made on the assumption that taxable income or tax loss from the Partnership with

     17461908                                       -25-




                                                                                               Appx. 04045
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                788 of 867
                                                        Page 69 of 200 PageID 25281

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                     Page 101 of
                                             180


     respect to the Carried Interest is the General Partner's only taxable income or tax loss. Such
     distributions shall be debited to the General Partner's Capital Account, as provided in
     Section 2.3(e). Any amounts distributed pursuant to this subsection (b) shall be considered an
     advance against the next distribution of Carried Interest distributable to the General Partner, and
     shall offset such distributions.

             (c)       A Partner's Capital Contributions used to pay Organizational Expenses,
     Management Fees, Placement Fees and Uncapitalized Partnership Expenses that are to be
     allocated to a Portfolio Investment shall be determined on the date such Portfolio Investment is
     Disposed of, and shall equal the product of (i) such Capital Contributions not theretofore
     allocated to Portfolio Investments that have been Disposed of multiplied by (ii) a fraction, the
     numerator of which shall equal such Partner's Capital Contributions in respect of such Portfolio
     Investment and the denominator of which shall equal such Partner's Capital Contributions in
     respect of such Portfolio Investment and all Portfolio Investments that have not been Disposed of
     on or prior to the date such allocation is effected. For purposes of the determinations described
     in clause (b )(i) of the definition of Excess Partial Realization Proceeds, such Capital
     Contributions shall be tentatively allocated to the Portfolio Investment giving rise to such Partial
     Realization proceeds as though such Portfolio Investment had been Disposed of on the date such
     proceeds were realized.

             (d)     In the event of a partial Disposition of a Portfolio Investment, the unreturned
     Capital Contributions and remaining Preferred Amount with respect to such Portfolio Investment
     shall be allocated between the Disposed portion and retained portion of such Portfolio
     Investment, pro rata, based on the relative amounts that are Disposed of and retained,
     respectively, of that portion of such Portfolio Investment held by the Partnership immediately
     prior to such Disposition.

            (e)     (i)    Notwithstanding anything in this Agreement to the contrary, the General
     Partner may at any time elect not to receive all or any portion of any distribution that otherwise
     would be made to it with respect to its Carried Interest.

                    (ii)     Any amount of cash which is not distributed to the General Partner
     pursuant to Section 3.3(e)(i) shall, in the General Partner's sole discretion, either be retained by
     the Partnership or distributed to the Partners (other than to the General Partner) in accordance
     with Section 3.3(a). Any amount of securities not distributed in-kind to the General Partner
     pursuant to Section 3.3(e)(i) shall be retained by the Partnership.

                     (iii)   If the General Partner elects to distribute cash to the other Partners
     pursuant to Section 3.3(e)(ii), 100% of any or all subsequent cash distributions by the Partnership
     shall be distributed to the General Partner until the General Partner has received the same
     aggregate amount of cash distributions it would have received had it not waived receipt of
     certain distributions pursuant to Section 3.3(e)(i) (without regard to the distribution of any Short-
     Term Investment Income earned on such retained amounts).

                    (iv)    All Current Cash Income attributable to, and distributions out of net
     proceeds from the Disposition or Partial Realization of, Portfolio Investments retained by the
     Partnership pursuant to Section 3.3(e)(ii) and all cash retained by the Partnership pursuant to

     17461908                                        -26-




                                                                                                 Appx. 04046
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                789 of 867
                                                        Page 70 of 200 PageID 25282

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                    Page 102 of
                                             180


     Section 3.3(e)(ii) shall be distributed to the General Partner as of the date determined by the
     General Partner in its sole discretion. The General Partner shall not be entitled to any additional
     distributions in respect of such retained amounts, other than Short-Term Investment Income
     earned on such retained amounts.

              (f)     Notwithstanding anything to the contrary in this Agreement, if at the expiration of
     the Commitment Period, there are Unapplied Waived Fee Amounts, the General Partner shall, in
     its sole discretion, prior to any other distribution pursuant to this Article III, be entitled to a
     distribution of cash equal to the Unapplied Waived Fee Amount.

              Section 3.4 Foreign Taxes. The amount of any foreign taxes paid by the Partnership (or
     by an entity in which the Partnership holds an interest, either directly or indirectly through one or
     more such entities, that is treated as a partnership or is disregarded for federal income tax
     purposes) or withheld from receipts of the Partnership or such entity from a Portfolio Investment
     shall be allocated among the Partners as reasonably determined by the General Partner (taking
     into account any allocation of taxes under Section 6.7) and, for purposes of Sections 3.3(a)(i)-
     (iii), shall be deemed to have been distributed to each Partner as Current Cash Income or
     proceeds from the Disposition of a Portfolio Investment to the extent that the payment or
     withholding of such foreign taxes reduced Current Cash Income or the proceeds from the
     Disposition of a Portfolio Investment, as the case may be, otherwise distributable to such Partner
     as provided herein (for this purpose taking into account with respect to each Partner any
     reduction in such foreign taxes that occurs by reason of such Partner's status); provided that the
     General Partner may deem foreign taxes paid by or withheld from receipts of the Partnership and
     allocable to a Tax Exempt Partner to have been distributed to such Tax Exempt Partner as
     described above only to the extent that such Tax Exempt Partner incurs and is subject to tax on
     UBTI relating to such Tax Exempt Partner's Interest in the Partnership, as determined by the
     General Partner.



                                               ARTICLE IV

                      MANAGEMENT FEE AND ORGANIZATIONAL EXPENSES

                Section 4.1 Management Fee.

             (a)     During each quarterly period beginning on each January 1, April1, July 1 and
     October 1 from and after the First Closing (each such quarterly period, a "Management Fee
     Period") until the termination of the Partnership, the Partnership will pay the Manager a
     quarterly fee as calculated below (the "Management Fee"), in advance on each January 1, April
     1, July 1 and October 1, as compensation for managing the affairs of the Partnership, provided,
     however, that the initial payment of the Management Fee shall be for the period from the First
     Closing to December 31, 2007.

             (b)    The Management Fee payable by the Partnership shall be the sum of the amounts
    determined for each Limited Partner pursuant to this Section 4.1. No Management Fee shall be
    payable with respect to the General Partner and their Affiliates. Subject to Sections 4.1(c) and
    4.1(d), the quarterly Management Fee payable with respect to a Limited Partner during the Initial
     17461908                                        -27-




                                                                                                Appx. 04047
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                790 of 867
                                                        Page 71 of 200 PageID 25283

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                  Page 103 of
                                             180


      Fee Period shall be 0.4375% of the Commitments of such Limited Partner resulting in an
      aggregate annual Management Fee of 1.75%. Following the expiration of the Initial Fee Period.
      the quarterly Management Fee payable with respect to a Limited Partner shall be 0.4375% of the
      aggregate Net Funded Commitment of such Limited Partner as reduced by any writedowns or
      writeoffs pursuant to Section 9.4 in respect of Portfolio Investments that have not been Disposed
      of on or prior to such date (resulting in an aggregate annual Management Fee of 1.75% ). The
      Management Fee in any partial quarterly period will be pro rated on a daily basis according to
      the actual number of days in such period.

              (c)     The Management Fee payable with respect to any Management Fee Period and
      with respect to a Limited Partner will be reduced (but not below zero) by such Limited Partner's
      Partner Share of eighty-five percent (85%) of the Partnership's pro rata share of all Topping and
      Break-up Fees, Transaction and Monitoring Fees, and Director Fees. The Management Fee shall
     also be reduced, but not below zero, by such Limited Partner's Capital Contributions used
     pursuant to Section 2.2(a)(i) to pay (x) any Placement Fees and (y) any Organizational Expenses
     in excess of $1,250,000, paid or payable by the Partnership. To the extent that such Limited
     Partner's share of the Management Fee in any Management Fee Period is reduced to zero as a
     result of the reduction for Placement Fees, Organizational Expenses in excess of $1,250,000,
     Director Fees, Topping and Break-up Fees and Transaction and Monitoring Fees, the excess
     shall be carried forward to the next Management Fee Period (and, if necessary, to one or more
     subsequent Management Fee Periods) and applied as a reduction of the Management Fee, but not
     below zero, for such succeeding Management Fee Period (or a subsequent Management Fee
     Period). To the extent that Director Fees, Topping and Break Up Fees and Transaction and
     Monitoring Fees exceed or cannot be applied as a reduction of Management Fees for succeeding
     Management Fee Periods, then such excess will first be applied to reimburse the Partnership for
     any previously unreimbursed Management Fees paid by the Partnership for prior Management
     Fee Periods (with such amounts being treated for purposes of Section 3.3(a) as distributions in
     return of the Capital Contributions made to pay such Management Fees), and the remainder of
     such excess will be paid or contributed to the Partnership and will be distributed pursuant to
     Section 3.3(a) as if net proceeds from the Disposition of a Portfolio Investment; provided,
     however, that in the event that any Partner desires not to receive any such excess fee offsets upon
     the termination of the Partnership, such Partner may elect in writing at any time prior to the
     termination of the Partnership to waive receipt of any such fee offsets, in which case the amount
     of fee offsets that would otherwise have been allocated and distributed to such Partner shall
     instead be allocated and distributed to the other non-waiving Partners on a pro rata basis in
     accordance with their respective Commitments. The Partnership's pro rata share of all Topping
     and Break-up Fees, Transaction and Monitoring Fees and Director Fees shall be the amount of
     such fees multiplied by a fraction, the numerator of which is the Partnership's investment in the
     Portfolio Investment (or proposed investment in the proposed Portfolio Investment) giving rise to
     such fee and the denominator of which is the aggregate investment or proposed investment in
     such Portfolio Investment or proposed Portfolio Investment by the Partnership, all Parallel
     Vehicles, all Separate Investment Entities, all Co-investment Funds and all other co-investment
     arrangements arranged by the Manager with respect to such Portfolio Investment or proposed
     Portfolio Investment (provided, that for the avoidance of doubt, any such Co-Investment Funds
     or other co-investment arrangements will not receive any amount of fee offsets).



     17461908                                       -28-




                                                                                              Appx. 04048
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                791 of 867
                                                        Page 72 of 200 PageID 25284

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                 Page 104 of
                                             180


              (d)    After taking into account any reduction in the Management Fee payable for any
     Management Fee Period with respect to a Limited Partner pursuant to Section 4.1(c), the
     Management Fee payable for any Management Fee Period with respect to such Limited Partner
     shall be further reduced by an amount (the "Waived Fee Amount") equal to the lesser of (i) the
     amount of the Management Fee to which the Manager would otherwise be entitled pursuant to
     this Section 4.1 that the Manager has irrevocably elected to waive in a written notice (a "Waived
     Fee Notice") delivered to the Partnership with respect to each Management Fee Period, at least
     15 days prior to the end of the calendar year immediately preceding the calendar year in which
     such Management Fee Period begins, and with respect to each Management Fee Period in the
     first calendar year of the term of the Partnership, such Waived Fee Notice delivered on or prior
     to the delivery of the first Capital Call Notice in respect of Management Fees and (ii) the amount
     that would be payable to the Manager on such Management Fee Period pursuant to this Section
     4.1 in the absence of this Section 4.1(d). A Limited Partner's share of the Waived Fee Amount
     for any Management Fee Period is equal to the Waived Fee Amount for such Management Fee
     Period multiplied by the quotient determined by dividing (i) the Management Fee that would be
     payable for such Management Fee Period with respect to such Limited Partner in the absence of
     this Section 4.1(d) by (ii) the total Management Fee that would be payable for such Management
     Fee Period in the absence of this Section 4.1(d). If the Manager delivers a Waived Fee Notice
     with respect to any Management Fee Period that begins before the date of the Final Closing, (i) if
     such Waived Fee Notice specifies that a percentage of the Management Fee otherwise payable
     for such Management Fee Period be waived, the Manager shall be deemed to have waived a
     proportionate amount of the Management Fee otherwise payable for such Management Fee
     Period by all Additional Limited Partners whose subscriptions are accepted after the date of such
     Waived Fee Notice and (ii) if such Waived Fee Notice specifies that a fixed dollar amount of
     such Management Fee otherwise payable for such Management Fee Period be waived, the
     reduction in the Management Fee for such Management Fee Period shall be allocated to all
     Limited Partners in the same proportion as the Management Fee is borne by the Limited Partners
     for such Management Fee Period.

              (e)     For purposes of Section 4.1(c), a Limited Partner's share of Director Fees and
     Transaction and Monitoring Fees is equal to the amount of the Partnership's pro rata share of
     such fees multiplied by the Limited Partner's Partner Interest in the Portfolio Investment to
     which such Director Fees and Transaction and Monitoring Fees are attributable, and a Limited
     Partner's share of Topping and Break-up Fees is equal to the amount of such fees multiplied by
     the proportion of such Limited Partner's Commitment to the Commitments of all Partners on the
     first day of the Management Fee Period in which such Topping and Break-up Fees are paid.

             Section 4.2 Organizational and Partnership Expenses. The Partnership will reimburse
     the General Partner or the Manager for all Organizational Expenses incurred by the General
     Partner or the Manager on behalf of the Partnership. The Partnership will pay all Partnership
     Expenses.

             Section 4.3 Ordinary Operating Expenses. The Manager shall pay all ordinary overhead
     expenses of the Partnership, the General Partner, the Manager, the Separate Investment Entities
     and the Parallel Vehicles (including salaries, rent, overhead, travel expenses and similar
     expenses), other than Partnership Expenses, Organizational Expenses and Placement Fees.


     17461908                                      -29-




                                                                                             Appx. 04049
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                792 of 867
                                                        Page 73 of 200 PageID 25285

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                    Page 105 of
                                             180


                                                ARTICLEV
                                           GENERAL PARTNER
                Section 5.1 Investment Opportunities: Devotion of Time: Management Authority.

             (a)     The Principals shall each be actively involved in the business of the Fund Group
     and shall devote such amount of their business time and attention in order to fulfill their fiduciary
     duties to the Limited Partners in accordance with the Delaware Partnership Act; provided,
     however, that the Principals may engage and be involved in Other Permitted Investment
     Activities. Subject to the foregoing and to Section 5.12(a) and the Highland Investment
     Allocation Policy, during the Commitment Period, the General Partner, the Manager and the
     Principals will present all investment opportunities to the Partnership which they believe in good
     faith are suitable for the Partnership and fit the investment objective of the Partnership.
     However, the Principals and the Manager will not be restricted from pursuing, engaging in and
     completing acquisitions and investments in, through or by Highland Portfolio Companies in
     connection with Other Permitted Investment Activities and other investments through other
     Highland Accounts, in each such case, in accordance with the Highland Investment Allocation
     Policy.

              (b)     Subject to the retention of the Manager, the General Partner will have full control
     over the business and affairs of the Partnership consistent with its fiduciary duties arising under
     the Delaware Partnership Act. The General Partner will have the power on behalf and in the
     name of the Partnership to carry out any and all of the objects and purposes of the Partnership
     and to perform all acts and enter into and perform all contracts and other undertakings which, in
     its sole discretion, are necessary or advisable or incidental thereto, including the power to acquire
     or dispose of any security (including Marketable Securities). Notwithstanding the foregoing, the
     management of the Partnership will vest in the Manager which will provide the Partnership with
     portfolio management and administrative services, including investigating, analyzing, structuring
     and negotiating potential investments, monitoring the performance of Portfolio Companies and
     advising as to disposition opportunities. In no event shall the Manager, which has been engaged
     by the Partnership, be treated as an agent or partner of the General Partner.

              (c)     Except to the extent otherwise provided in this Agreement, all matters concerning
     (i) the allocation of Short-Term Investment Income, Current Income, Investment Income and
     Gain, Investment Loss, Partnership Expenses, Organizational Expenses, Carried Interest, and the
     distribution of net proceeds and the return of capital among the Partners, including the taxes
     thereon, (ii) accounting procedures and determinations (including the determination of the
     Preferred Amount), estimates of the amount of Management Fees or Placement Fees payable by
     any Defaulting Partner, (iii) the calculation of the Management Fee (including Director Fees,
     Topping and Break-up Fees and Transaction and Monitoring Fees), and (iv) the reinvestment of
     any amounts distributed in respect of a Bridge Financing (or portion thereof) that was sold,
     refinanced or otherwise disposed of within eighteen (18) months from the Investment Date of
     such Bridge Financing, shall be determined by the General Partner in accordance with its
     reasonable interpretation of the provisions of this Agreement made in good faith.



     17461908                                       -30-




                                                                                                Appx. 04050
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                793 of 867
                                                        Page 74 of 200 PageID 25286

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                   Page 106 of
                                             180


            Section 5.2 Use of Affiliates. The General Partner shall retain the services of the
     Manager and any officers, directors or Affiliates thereof in connection with the operation of the
     Partnership, and the compensation of the Manager and such persons shall be as provided in
     Section 4.1 hereof; provided, however, that nothing contained in this Section 5.2 shall be
     construed to relieve the General Partner of its responsibilities under this Agreement or the duties
     and limitations set forth in this Article V.

              Section 5.3 Indebtedness. Subject to Section 5.5 and Section 5.4, the Partnership may
     incur indebtedness consisting of Bridge Leveraging or the issuance of credit support of the
     obligations of Portfolio Companies or their subsidiaries, which may be in the form of guarantees,
     letters of credit or pledges of a portion of the Commitments ("Credit Support"). Any such
     indebtedness will not be considered as Capital Contributions by the Partners unless, until and to
     the extent the General Partner calls for Capital Contributions in connection therewith pursuant to
     a Capital Call Notice pursuant to this Agreement.

                Section 5.4 Limitation on Investments.

             (a)     The Partnership will not invest (including through Credit Support) more than
     twenty five percent (25%) of the aggregate Commitments in any single Portfolio Company
     together with any of its Affiliates (valued at original cost). A Bridge Financing, when added to
     the amount of permanent investment by the Partnership in the Portfolio Investment that is the
     subject of the Bridge Financing, may not exceed twenty five percent (25%) of the aggregate
     Commitments.

            (b)     The aggregate amount of Bridge Financings outstanding at any one time shall not
     exceed fifteen percent ( 15%) of the aggregate Commitments.

             (c)    Subject to Section 5.5, the Partnership may issue Credit Support, which does not
     at any one time exceed Unfunded Commitments.

                (d)    The Partnership shall invest cash in Short-Term Investments.

             (e)    The aggregate investments (valued at cost) by the Partnership in Portfolio
     Companies organized and with principal executive offices outside the United States shall not
     exceed thirty percent (30%) of the aggregate Commitments. The Partnership will not invest in
     Portfolio Companies that are organized or with principal executive offices in countries that are
     not within the Organization for Economic Cooperation and Development as of the date of the
     First Closing.

             (f)     The Partnership will not invest as a partner or member in any pooled investment
     fund or "fund of funds" in which an investment adviser or manager of such fund (other than the
     Partnership) receives management fees or the right to carried interest distributions on the
     Partnership's investment or interest therein unless the amount of any such management fee is
     considered part of the Capital Contribution relating to such Portfolio Investment and the amounts
     distributable to the General Partner under Sections 3.3(a)(ii) and 3.3(a)(iii) are reduced by the
     amount of any carried interest payable to such sponsor or investment manager.



     17461908                                        -31-




                                                                                               Appx. 04051
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                794 of 867
                                                        Page 75 of 200 PageID 25287

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                    Page 107 of
                                             180


              (g)    In connection with a Portfolio Investment in any non-U.S. jurisdiction. the
     General Partner shall obtain an opinion of counsel with respect to such jurisdiction to the effect
     that (i) no Limited Partner, solely as a result of the Partnership making such investments, will be
     required either (x) to file an income tax return in such jurisdiction (other than in connection with
     an application for a refund of withholding or similar taxes) or (y) to pay income tax in such
     jurisdiction with respect to income not derived from the Partnership, and (ii) no Limited Partner
     shall be personally liable for any debts or losses of the Partnership in such jurisdiction in excess
     of such Limited Partner's Unfunded Commitment. The General Partner shall use commercially
     reasonable efforts to ensure that any opinion obtained pursuant to this Section 5.4{i) will permit
     the Limited Partners to rely thereon. The General Partner shall ask local counsel to confirm
     and/or update periodically as it deems necessary any opinion it obtains pursuant to this Section
     5.4(i). The Partnership will use commercially reasonable efforts to prepare all tax rebate,
     reduction or reclaim forms or other filings or elections that are required to obtain any available
     exemption from, reduction in, or refund of, any withholding or other taxes required in any taxing
     jurisdiction on behalf of each Limited Partner, for signature by such Limited Partner, and to
     assist each Limited Partner, at such Limited Partner's expense, to obtain refunds for taxes
     withheld or paid with respect to such Limited Partner as to which a refund is obtainable. Each
     Partner agrees that it will cooperate with the General Partner in making any such filings or
     elections to the extent the General Partner determines that such cooperation is necessary or
     desirable.

            (h)     The Partnership will not invest (including through Credit Support) more than
     twenty percent (20%) of the aggregate Commitments in Persons that are not Distressed
     Companies; provided that the General Partner in its good faith discretion believes that an
     investment in such Persons is consistent with the Partnership's investment objective.

             Section 5.5 UBTI; USRPI. The General Partner shall use commercially reasonable
     efforts not to (i) structure the Fund's Portfolio Investments in a manner that would result in the
     realization by a Tax Exempt Partner of a substantial amount of UBTI or (ii) cause the Partnership
     to acquire a Portfolio Investment that the General Partner reasonably believes at the time of such
     acquisition is or is likely to become a "United States real property interest" ("USRPI") within the
     meaning of Section 897(c) of the Code. In addition, if the Partnership makes an investment in a
     pass-through entity that could give rise to UBTI or income effectively connected with a U.S.
     trade or business, the Partnership may make available a "blocker" structure through which Tax-
     Exempt and non-U.S. Partners can invest. However, the use of Bridge Leveraging and the use of
     Director Fees, Topping and Break-up Fees, Transaction and Monitoring Fees and Placement
     Fees to offset the Management Fee, as described in Section 4.1(c). will not be deemed a violation
     of this Section 5.5.

                Section 5.6 ERISA Matters.

             (a)    The General Partner will use reasonable efforts to conduct the affairs and
     operations of the Partnership in such a manner that the Partnership will qualify as an Operating
     Company or for another exception from being deemed to hold Plan Assets of any Benefit Plan
     Investor. As of the initial Capital Contribution date, the General Partner shall deliver to each
     Benefit Plan Investor either (i) an opinion from the General Partner's counsel to the effect that
     the Partnership should qualify as an Operating Company as of the initial Capital Contribution

     17461908                                       -32-




                                                                                               Appx. 04052
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                795 of 867
                                                        Page 76 of 200 PageID 25288

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                    Page 108 of
                                             180


     date or (ii) a certificate, based on consultation with the General Partner's counsel, to the effect
     that the Partnership should qualify for another exemption from being deemed to hold Plan Assets
     of any Benefit Plan Investor as of the initial Capital Contribution date. Annually thereafter, the
     General Partner will provide a certificate to Benefit Plan Investors confirming that the
     Partnership continues to qualify for an exception from being deemed to hold Plan Assets of any
     Benefit Plan Investor and specifying which exception from Plan Assets is available to the
     Partnership as of the date of the certificate.

            (b)     Notwithstanding Section 2.2, until such time as the General Partner delivers to
     each Benefit Plan Investor (and the escrow agent, if any) either the opinion or the certificate
     described above in Section 5.6(a), the initial Capital Contribution required to be made to the
     Partnership by a Benefit Plan Investor shall, at the request of the General Partner, instead be
     deposited directly by such Benefit Plan Investor into an escrow account that is intended to
     comply with Department of Labor Advisory Opinion 95-04A.

             (c)     Each Partner that is or will be a Benefit Plan Investor on the Closing Date when it
     is admitted to the Partnership shall so notify the General Partner in writing prior to such Closing
     Date. Any Limited Partner which has not indicated in its Subscription Agreement that it is a
     Benefit Plan Investor hereby represents, warrants and covenants that it is not, it is not acting on
     behalf of and, so long as it holds an interest in the Partnership, it will not be and will not be
     acting on behalf of a Benefit Plan Investor.

             (d)     It is intended that none of the Partnership, the General Partner, the Manager or
     any of their Affiliates will act as or be deemed to be a fiduciary under ERISA with respect to any
     Benefit Plan Investor or the assets of the Partnership; provided, however, that this provision is
     not intended to negate the fiduciary duties imposed upon a general partner under the Delaware
     Partnership Act. Notwithstanding any other provision of this Agreement, the General Partner is
     authorized to take any action or refrain from taking any action which in its judgment is necessary
     or desirable in order to prevent any Partnership assets from being deemed to constitute Plan
     Assets of any Benefit Plan Investor.

              (e)     Should the General Partner reasonably determine that the continued participation
     of a Benefit Plan Investor would result in the assets of the Partnership being deemed Plan Assets
     of such Benefit Plan Investor (a "Plan Asset Event"), the General Partner shall so notify, each of
     the Benefit Plan Investors in writing within 30 days of such determination. Thereafter, the
     General Partner shall take reasonable steps to correct or cure the Plan Asset Event and, if the
     General Partner determines that it is not reasonably likely that the Partnership's Plan Asset Event
     can be reasonably corrected or cured, taking into account the overall interest of the Partnership,
     the General Partner shall terminate the Partnership and wind up its affairs in accordance with
     Sections 8.2 and 8.3. In connection with the foregoing obligation, in addition to any other
     powers the General Partner may have, the General Partner shall have the authority to take any of
     the following actions, in its sole discretion: (i) any action necessary or desirable, in the General
     Partner's reasonable judgment, to cure the Partnership's failure to qualify as an Operating
     Company, if applicable; (ii) in accordance with the provisions of Section 12.1, amend this
     Agreement to cure any illegality or other material adverse consequences to the Partnership; (iii)
     amend, terminate or restructure any then existing or contemplated arrangements with third
     parties to cure any illegality or other adverse consequences to the Partnership so long as such

     1746!908                                       -33-




                                                                                               Appx. 04053
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                796 of 867
                                                        Page 77 of 200 PageID 25289

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                    Page 109 of
                                             180


     action would not have a material adverse effect on the Limited Partners; (iv) redeem any Limited
     Partner's interest in the Partnership, in whole or in part, in a manner consistent with the
     procedures in Section 6.6(d); (v) force the sale of all or any portion of any Benefit Plan
     Investor's interest in the Partnership to one or more Limited Partners at the Redemption Value or
     (vi) terminate the Partnership and wind up its affairs in accordance with Sections 8.2 and 8.3.

                Section 5. 7 Conflicts of Interest.

               (a)     The Limited Partners hereby acknowledge and agree that the General Partner and
      its Affiliates currently manage and may in the future manage Highland Accounts that invest in
     securities that may be eligible for purchase by the Partnership, which presents the potential for
     conflicts of interest. While the General Partner and the Manager intend to manage potential
     conflicts of interest, as Highland has in the past, by following certain guidelines, and to avoid
     where practicable situations involving conflicts of interest in a portfolio company or otherwise,
     each Limited Partner acknowledges that there may be situations in which the interests of the
     Partnership in a portfolio company or otherwise may conflict with the interests of other Highland
     Accounts, the General Partner, the Manager, the Principals or their respective Affiliates. On any
     matter involving a conflict of interest not otherwise provided for in this Agreement, the General
     Partner shall be guided by its good faith judgment as to the best interests of the Partnership and
     shall take such actions as are determined by the General Partner and Highland to be appropriate
     and in compliance with the Highland Investment Allocation Policy. Each Limited Partner agrees
     that the activities of any other Highland Account, the General Partner, the Manager, the
     Principals and their Affiliates, including Other Permitted Investment Activities, authorized by
     this Agreement or conducted consistently with this Agreement and the Highland Investment
     Allocation Policy may be engaged in by such other Highland Accounts, the General Partner, the
     Manager, the Principals and their Affiliates, as the case may be, and will not, in any case or in
     the aggregate, be deemed a breach of this Agreement or any duty that might be owed by any
     such person to the Partnership or to any Partner.

              (b)    Except as permitted by Sections 5.12(a) and 5.17(a), without the prior approval of
     either (i) a majority of the members of the Advisory Committee or (ii) a Majority in Interest of
     the Limited Partners, none of the General Partner, the Manager, the Principals, or any of their
     respective Affiliates will invest in any securities of any company in which the Partnership either
     is actively considering making a Portfolio Investment or has an investment; provided, that (x) the
     foregoing will not apply to Other Permitted Investment Activities or investments made in
     accordance with the Highland Investment Allocation Policy, (y) each such person will be
     permitted to hold securities which such person received in a distribution by the Partnership and
     (z) any Parallel Vehicles or Separate Investment Entities will be permitted to invest in Portfolio
     Companies in accordance with this Agreement.

              (c)    Except as permitted by Sections 5.12(a) and 5.17(a), without the prior approval of
     either (i) a majority of the members of the Advisory Committee or (ii) a Majority in Interest of
     the Limited Partners, the Partnership will not invest in any securities issued by, acquire
     investments from, sell investments to, or enter into any transaction with an entity in which the
     General Partner, the Manager, the Principals, or their respective Affiliates has a material
     financial interest in respect of such entity; provided that the foregoing will not apply to (w) Other
     Permitted Investment Activities, (x) investments by the Partnership in Portfolio Companies in

     17461908                                         -34-




                                                                                                Appx. 04054
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                797 of 867
                                                        Page 78 of 200 PageID 25290

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                     Page 110 of
                                             180


      which the Parallel Vehicles, Separate Investment Entities or Co-Investment Funds invest in
      accordance with this Agreement; (y) investments by the Partnership in Portfolio Companies in
      which the General Partner, the Manager, the Principals or their respective Affiliates have a
      material interest that have been made in accordance with the Highland Investment Allocation
      Policy, or (z) investments by the Partnership in publicly traded securities of Portfolio Companies
      in which a Highland Account has a material financial interest that are made on arms length terms
      at prevailing market prices; provided, further, that the Partnership will not be precluded from
      investing in securities of a company in which the General Partner, the Manager, the Principals, or
      their respective Affiliates either (A) in the case of public companies, owns securities issued by
      such company representing one percent (1%) or less of the outstanding equity securities, or
      (B) own only securities which such Persons received in a distribution by the Partnership.

             (d)     The General Partner will furnish to the Advisory Committee annually at the time
     annual financial statements of the Partnership are furnished pursuant to Section 10.3(b) a report
     of each acquisition or investment by the Partnership in Portfolio Companies in which the General
     Partner, the Manager, the Principals or their respective Affiliates have a material financial
     interest that have been made in accordance with the Highland Investment Allocation Policy.

             Section 5.8 Transfer of General Partnership Interest: No Withdrawal or Loans. The
     General Partner generally may not sell, assign, pledge, mortgage or otherwise dispose of its
     General Partner interest in the Partnership; provided, however, that the General Partner may
     transfer its General Partner interest in the Partnership (or consent to the transfer of an interest in
     the General Partner) in a derivative transaction if the transferor maintains the economic attributes
     of the interest and voting control of the interest. The General Partner will not borrow or
     withdraw any amount from the Partnership or voluntarily withdraw from the Partnership.

             Section 5.9 Removal of the General Partner. By consent of Two-Thirds in Interest of the
     Limited Partners, the General Partner may be removed in the event of (a) the General Partner's
     or any member of the Keyman Group's conviction of (or plea of nolo contendere to), a material
     violation of federal or state securities law or a felony criminal violation, (b) the General Partner's
     adjudication in a final judgment by a court of competent jurisdiction as having committed in
     respect of the Partnership an act or omission of a material nature involving gross negligence, bad
     faith, willful misconduct or fraud, or (c) the General Partner's violation of this Agreement which
     has a material and adverse effect on the Partnership and which remains uncured for 30 days.
     Notwithstanding the foregoing, if an event described in clause (a) above has occurred and the
     event relates to a violation or act of a member of the Keyman Group, the Limited Partners may
     remove the General Partner only if such violation or act (i) relates to the Partnership or a
     Portfolio Company, (ii) has a material adverse effect on the Partnership, (iii) such member of the
     Keyman Group is not terminated as a member of the General Partner and the Manager within 45
     days, and (iv) such member of the Keyman Group does not cease to own any interest in the
     future carried interest or voting interests in the General Partner following termination. The
     General Partner will provide the Limited Partners with written notice of the occurrence of any
     event described in clauses (a). fhl or .(£1 above. Concurrently with the removal of the General
     Partner, the Manager shall be removed as manager of the Partnership unless re-appointed by the
     successor general partner of the Partnership. Upon removal of the General Partner, the Limited
     Partners may elect to continue the Partnership and appoint a new duly authorized general partner
     of the Partnership and all Parallel Vehicles with the consent of all of the Limited Partners of the

     17461908
                                                     -35-




                                                                                                 Appx. 04055
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                798 of 867
                                                        Page 79 of 200 PageID 25291

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                    Page 111 of
                                             180


     Partnership and each Parallel Vehicle and such election shall be deemed to have occurred as of
     the date of the removal of the former General Partner. In such an event, the former General
     Partner shall be entitled to receive distributions equal to any amounts it would have been entitled
     to had the Partnership been dissolved and wound up in accordance with Sections 8.3(a) and .(Ql
     and distributed in kind all Partnership assets as of the date of the election of the Limited Partners
     to continue the Partnership. The Partnership shall issue an unsecured non-interest bearing
     promissory note to the former General Partner in the face amount of the liquidating distribution
     determined in accordance with this Section 5.9, such note to be payable upon the final
     liquidation of the Partnership. All such distributions shall be subject to the obligations set forth
     in Section 8.3(c) and@; provided, however, that the General Partner's obligation, if any, to fund
     Commitments in respect of its obligations in Section 8.3(c) relating to such liquidating
     distribution shall be satisfied by a reduction to the principal amount of the unsecured non-interest
     bearing promissory note described in this Section 5.9 in the amount of such obligation. For
     purposes of determining allocation and distributions pursuant to the preceding sentence,
     securities and other property held by the Partnership shall be valued pursuant to the procedures
     set forth in Article IX.

                Section 5.10 No Liability to Limited Partners.

             (a)      None of the General Partner, the Manager, the Principals or their Affiliates,
     officers, directors, members, partners, shareholders, employees or agents will be liable to any
     Limited Partner or to the Partnership for any action taken, or omitted to be taken, as General
     Partner with respect to the Partnership, or for any action taken, or omitted to be taken, by any
     member, partner, director, officer, employee or agent of the General Partner or Manager in
     connection with its activities for or on behalf of the Partnership so long as such person (i) acted
     in good faith, (ii) acted in a manner reasonably believed to be in the best interests of the
     Partnership, (iii) was neither grossly negligent nor engaged in willful malfeasance, fraud or
     reckless disregard of fiduciary duties, (iv) did not materially breach this Agreement, and (v) with
     respect to any criminal action, such person is not finally determined to be and does not admit to
     being guilty or enter a plea of nolo contendere (including as part of a settlement) by a court of
     competent jurisdiction.

             (b)     No member of the Advisory Committee, or any Affiliate or employer of any
     member of the Advisory Committee or any Limited Partner represented on the Advisory
     Committee by any member (as the case may be) will be liable to any Partner or the Partnership
     for any action taken, or omitted to be taken, in good faith on behalf of the Advisory Committee
     (as the case may be) with respect to the Partnership and in accordance with the provisions of this
     Agreement.

             (c)     If any Limited Partner obtains a final judgment in a court of competent
     jurisdiction against the General Partner for matters relating to the Partnership, the General
     Partner shall pursue against its members the remedies (if any) that it has against such member
     relating to such claim.

              Section 5.11 Indemnification of General Partner. the Manager and Advisory Committee.
     (a) The Partnership will indemnify (A) the Principals, the General Partner, the Manager and each
     of their respective members, partners, shareholders, directors, officers, employees, agents and

     17461908                                         -36-




                                                                                               Appx. 04056
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                799 of 867
                                                        Page 80 of 200 PageID 25292

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                    Page 112 of
                                             180


      Affiliates against any losses, liabilities, damages or expenses (including amounts paid for
      attorneys' fees, judgments and settlements in connection with any threatened, pending or
      completed action, suit or proceeding) to which any of such persons may become subject in
      connection with such person's activities on behalf of the Partnership or in connection with any
      involvement with a Portfolio Company (including serving as an officer, director, consultant or
      employee of any Portfolio Company) directly or indirectly on behalf of the Partnership and
      (B) the members of the Advisory Committee, any Affiliate or employer of any such members
      and any Limited Partner represented on the Advisory Committee by any member, in connection
      with any involvement with the Advisory Committee, respectively, but, in the case of members of
      the Advisory Committee or their Affiliates and employers or any Limited Partner represented on
      the Advisory Committee by any member, only to the extent that such person acted in good faith
      and, in the case of the Principals, the General Partner, the manager and each of their respective
      members, partners, shareholders, directors, officers, employees, agents and Affiliates, only to the
      extent that such person (i) acted in good faith, (ii) acted in a manner reasonably believed to be in
      the best interests of the Partnership or the Portfolio Company (as the case may be), (iii) was
      neither grossly negligent nor engaged in willful malfeasance, fraud or reckless disregard of
      fiduciary duties, (iv) did not materially breach this Agreement, and (v) with respect to any
      criminal action, such person is not finally determined to be and does not admit to being guilty or
      enter a plea of nolo contendere (including as part of a settlement) by a court of competent
     jurisdiction. Any person described in clause (A) of this Section 5.1l(a) entitled to seek
      indemnification hereunder shall first use reasonable efforts to seek indemnification from other
     available sources, if any, prior to obtaining indemnification hereunder; provided that any such
     person may seek and obtain indemnification hereunder if at any time such person reasonably
     believes that such person will not receive timely indemnification on terms reasonably acceptable
     to such person from such other sources; and provided, further, that such person shall continue to
     use reasonable efforts to seek such indemnification from such other sources and, to the extent
     any such indemnification is obtained, reimburse the Partnership for any such recovery. The
     Partnership may, in the sole judgment of the General Partner, pay the expenses of any person
     indemnifiable under this Section 5.11 in advance of the final disposition of any proceeding, so
     long as (w) with respect to any derivative action brought by any Limited Partner, the person
     receiving the advance is not the subject of such derivative action, (x) the proceeding is not
     instituted by a Majority in Interest of the Limited Partners against the General Partner or the
     Manager, (y) General Partner has a good faith belief such expenses are indemnifiable, and (z) the
     General Partner receives a written undertaking by such person for the benefit of the Partnership
     to repay the full amount advanced if (A) there is a final determination that such person did not
     satisfy the standards set forth in clauses (i) through .(yl immediately above, (B) with respect to
     any criminal action, such person is finally determined to be or admits to being guilty or enters a
     plea of nolo contendere (including as part of a settlement) by a court of competent jurisdiction,
     or (C) such person is not otherwise entitled to indemnification as provided herein.
     Notwithstanding the foregoing, no person will be exculpated or exonerated from liability or
     indemnified against loss for violations of federal or state securities laws, or for any other
     intentional or criminal wrongdoing. No person shall be indemnifiable under this Section 5.11 in
     respect of losses, liabilities, damages or expenses to which any such person may become subject
     in connection with (x) such person's activities with any Portfolio Company if such losses arise
     after the Partnership's final disposition of such Portfolio Company or (y) a dispute among the
     General Partner, the Manager, their respective members and employees, and the Principals.

     17461908                                        -37-




                                                                                                Appx. 04057
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                800 of 867
                                                        Page 81 of 200 PageID 25293

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                   Page 113 of
                                             180


             (b)    No Limited Partner shall have any obligation or liability, including any obligation
     to make a Capital Contribution to the Partnership, in respect of an indemnity obligation arising
     from a Portfolio Investment with respect to which such Limited Partner is not a Participating
     Partner.

            (c)     The General Partner will use reasonable efforts to cause each Portfolio Company
     for which any Affiliate of the General Partner serves as an officer or director to adopt
     organizational documents which provide mandatory indemnification to directors, officers, and
     managers to the fullest extent permitted by applicable law.

              Section 5.12 Formation of New Fund or Business Endeavor. (a) Subject to the other
     provisions of this Article V, each Partner's interest in the business endeavors of the other
     Partners is limited to his, her or its interest in the Partnership and no Partner's future business
     activities are restricted. Notwithstanding the foregoing, unless consented to by Two-Thirds in
     Interest of the Limited Partners or approved by a majority vote of the Advisory Committee,
     neither the General Partner, nor the Manager or any of their Affiliates will close and make
     investments, or act as general partner, managing member, advisor, employee, agent, or the
     primary source of transactions on behalf of another private equity investment vehicle or pooled
     investment vehicle (other than Crusader, a Parallel Vehicle or Separate Investment Entity) that
     has primary investment objectives substantially similar to those of the Partnership (a "Successor
     Fund") until the earlier of (i) the date on which at least 75% of the Commitments have been
     invested or committed for investment in Portfolio Companies or otherwise set aside for Follow-
     on Investments, Partnership Expenses or Management Fees, and (ii) the end of the Commitment
     Period; provided. however, that this Section 5.12 shall not prohibit the formation of one or more
     Co-investment Funds, and Co-investment Funds shall not be considered Successor Funds. If a
     Successor Fund is organized prior to the termination of the Commitment Period of the
     Partnership, as permitted under the previous sentence, the Successor Fund may only coinvest in
     investments made by the Partnership alongside the Partnership, on the same terms and conditions
     in all material respects, with amounts for investment allocated between the Partnership and the
     Successor Fund, subject to available capital or other investment limitations on the Partnership
     and the Successor Fund, as determined by the General Partner. Any Successor Fund will dispose
     of securities of a Portfolio Company that are of the same class as those purchased by the
     Partnership at the same time as the Partnership, and on the same economic and other terms.

             Section 5.13 Interest as a Limited Partner. To the extent that the General Partner
     acquires the interest of a Defaulting Partner or any other Limited Partner, the General Partner
     will (subject to Section 2.5) be deemed to be a Limited Partner with respect to such interest for
     all purposes of this Agreement.

             Section 5.14 Parallel Vehicles. The General Partner and the Manager may organize and
     capitalize Parallel Vehicles for purposes of facilitating investments in Portfolio Companies by
     non-U.S. investors and certain accredited investors that are not qualified purchasers (as defined
     in the Investment Company Act) in the Fund Group. If any Parallel Vehicles are organized, then
     the Partnership and each Parallel Vehicle (a) will invest in each Portfolio Company in direct
     proportion to their respective available capital commitments so that the Partnership will invest in
     each Portfolio Company an amount equal to the total investment by the Partnership and any
     Parallel Vehicle multiplied by a fraction, the numerator of which is the aggregate Commitments,

     17461908                                       -38-




                                                                                               Appx. 04058
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                801 of 867
                                                        Page 82 of 200 PageID 25294

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                        Page 114 of
                                             180


     and the denominator of which is the sum of the aggregate Commitments plus the aggregate
     capital commitments by investors in the Parallel Vehicles, provided that such proportion may be
     modified by the General Partner with the prior approval of the Advisory Committee or a
     Majority in Interest of the Limited Partners in order to reflect the available commitments and any
     tax, regulatory or other legal aspects of any Parallel Vehicle and its investors and (b) invest in
     and dispose of Portfolio Company at the same time and on effectively the same economic terms
     and conditions. Any item of income, fees, reimbursement or expense that relates to a Portfolio
     Company in which the Partnership and one or more Parallel Vehicles are investors or to a
     potential investment that is considered on behalf of the Partnership and any Parallel Vehicles by
     the General Partner, the Manager or the general partners or managers of any Parallel Vehicles
     shall, to the extent that any such item is not directly attributable to the Partnership or a Parallel
     Vehicle, be pro rated among the Partnership and the Parallel Vehicles based on their respective
     investments in such Portfolio Company or the portions of such potential investment that would
     have been made available to the Partnership in accordance with the preceding sentence, as
     applicable. Organizational Expenses shall be borne by the Partnership and each Parallel Vehicle
     in proportion to their respective aggregate capital commitments, except the Partnership and each
     Parallel Vehicle shall separately bear the Organizational Expenses that are directly attributed to
     each such entity. Each Parallel Vehicle shall reimburse the Partnership for such Parallel
     Vehicle's share of Organizational Expenses that were paid by the Partnership. Investments in
     Parallel Vehicles by investors shall be on substantially the same terms and conditions as
     investments in the Partnership by Limited Partners. For the avoidance of doubt, all references to
     Portfolio Investments shall include investments made by the Partnership, all Parallel Vehicles
     and all Separate Investment Entities. To the extent that this Agreement provides that the Limited
     Partners shall vote together with the investors of any Parallel Vehicle, the General Partner agrees
     (i) that the relevant documentation of any such Parallel Vehicle shall contain comparable voting
     provisions to the extent applicable, (ii) that any combined vote of the Limited Partners and the
     investors in any Parallel Vehicle on any such matter for the purposes of this Agreement shall
     constitute a combined vote on the matter for the purposes of the Parallel Vehicles, and (iii) each
     such matter shall, if approved by such vote, be equally applicable to the Partnership and all
     Parallel Vehicles.

              Section 5.15 Separate Investment Entities. If the General Partner determines for legal,
     tax, regulatory or other reasons, in its sole discretion that it is in the best interests of the Partners
     to invest in one or more Portfolio Companies through an entity other than the Partnership, such
     investment or investments shall not be made by the Partnership but shall instead be made, either
     in lieu of or in conjunction with, the Partnership, by one or more limited partnerships, limited
     liability companies, corporations or similar entities (each a "Separate Investment Entity") owned
     in the aggregate by all of the Partners and managed by the General Partner or an Affiliate thereof
     controlled by the Principals. Each Separate Investment Entity shall receive an opinion of
     counsel for the benefit of the Limited Partners (x) regarding its classification for United States
     Federal income tax purposes and the limited liability of the Separate Investment Entity and (y) to
     the effect that no Limited Partner shall be personally liable for any debts or losses of the Separate
     Investment Entity in such jurisdiction in excess of such Limited Partner's Unfunded
     Commitment. The Partnership and each Separate Investment Entity will invest in and dispose of
     Portfolio Investments at the same time and on effectively the same economic terms and
     conditions. To the extent that Benefit Plan Investors participate in a Separate Investment Entity,
     such Separate Investment Entity shall be (i) structured so that it will not be deemed to hold Plan
     17461908                                          -39-




                                                                                                    Appx. 04059
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                802 of 867
                                                        Page 83 of 200 PageID 25295

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                       Page 115 of
                                             180


     Assets and shall provide the same ERISA protections to those Benefit Plan Investors that are
     provided under this Agreement, and (ii) established on substantially the same terms and
     conditions in all material respects as Partners are required to make Capital Contributions to the
     Partnership, and such capital contributions shall be deemed to reduce the Unfunded Commitment
     of each Partner to the same extent that it would be reduced if made to the Partnership. The
     provisions and economic terms of each such Separate Investment Entity shall be substantially the
     same in all material respects as those of the Partnership, except to the extent such terms are
     required to differ from the economic and other material arrangements reflected in the terms of
     this Agreement in order to accomplish the purposes of such Separate Investment Entity
     (including, for example, different economic treatment of different Partners resulting solely from
     the consequences of a structure created to minimize the amount of UBTI recognized by a Tax
     Exempt Partner). The gains and losses of any such Separate Investment Entity shall be treated as
     having been realized by the Partnership for all economic calculations under this Agreement
     (including, without limitation, the calculation of the General Partner give back obligation
     pursuant to Section 8.3(c)), and there will be no duplication of management fees or Carried
     Interest. The Partners having interests in the Separate Investment Entity (including the General
     Partner and its Affiliates with respect to their Commitments as Partners) shall contribute to each
     Separate Investment Entity the amounts required to fund such Separate Investment Entity, with
     each such Partner contributing its pro rata portion of such amounts (based on the relative
     Unfunded Commitments of the Partners as of the date of such contributions) up to such Partner's
     remaining Unfunded Commitment and such amounts will reduce such Partner's Unfunded
     Commitment. Each Limited Partner hereby agrees and consents to the formation of each
     Separate Investment Entity and hereby covenants and agrees that it will execute and deliver any
     agreements, documents and certificates as reasonably necessary for, or incidental to, the
     formation and continuation of each such Separate Investment Entity and its participation as a
     limited partner, member or participant in each such Separate Investment Entity established in
     accordance with this Section 5.15.

                Section 5.16 Media Company Investments.

              (a)    In the event and for so long as, and only during periods from time to time in
     which, the Partnership shall directly or indirectly hold (or otherwise have attributed to it) an
     ownership or other interest in a Media Company that is "attributed" to the Partnership under the
     rules and regulations of the FCC relating to the particular FCC service in which the Media
     Company operates, no Limited Partner (an "Insulated Partner"), or any person that is a director,
     officer, equivalent non-corporate official, partner, member or 5% or greater shareholder or other
     direct or indirect owner of an Insulated Partner such that the ownership interests of the Insulated
     Partner, are "attributed" to such owner, director, officer, equivalent non-corporate officer, partner
     or member (an "Insulated Partner Affiliate"), to the extent reasonably determined by the General
     Partner (with the advice of GP's Counsel) to be necessary to have such ownership or interest not
     be attributable to the Limited Partners for purposes of the FCC Attribution Rules and the
     Ownership Rules, shall do any of the following:

                    (i)      act as an employee of the Partnership or any Media Company if such
     Insulated Partner's or Insulated Partner Affiliate's functions, directly or indirectly, relate to the
     media or common carrier enterprises of the Partnership or any Media Company;


     17461908                                         -40-




                                                                                                   Appx. 04060
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                803 of 867
                                                        Page 84 of 200 PageID 25296

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                       Page 116 of
                                             180


                    (ii)    serve, in any material capacity, as an independent contractor or agent of
     the Partnership or any Media Company with respect to the media or common carrier enterprises
     of the Partnership or any such Media Company;

                    (iii)   communicate with the General Partner or any Portfolio Company on
     matters pertaining to the day-to-day operations of any Media Company;

                   (iv)     to the extent Partners have the power under this Agreement to admit
     additional General Partners, vote to admit any additional General Partner to the Partnership
     unless such addition is subject to the veto of the General Partner;

                   (v)     to the extent Partners have the power under this Agreement, except as
     permitted under Sections 5.9 and 8.2, vote on the removal of the General Partner;

                     (vi)    perform any services for the Partnership or any Media Company
     materially relating to the media or common carrier enterprises of the Partnership or such Media
     Company, with the exception of making loans to, or acting as a surety for, such Media Company
     or the Partnership to the extent consistent with the "equity or debt plus" component of the FCC
     Attribution Rules; or

                     (vii)   become actively involved in the management or operation of any Media
     Company.

                    (viii) serve as a member or otherwise participate in the activities of the Advisory
     Committee if, in the determination of the Insulated Partner, such membership or participation
     would cause the Insulated Partner to lose its insulated status under the Attribution Rules.

             (b)      An Insulated Partner may, upon five Business Days' prior written notice to the
     General Partner, relinquish its status as an Insulated Partner, in which case the provisions of this
     Section 5.16 shall no longer apply to such Limited Partner; provided, that such relinquishment
     shall not be effective until the General Partner has received an opinion of special counsel to the
     Partnership on FCC matters stating that such relinquishment will not (1) cause the Partnership or
     any of its Affiliates to violate any law, regulation, rule or policy applicable to matters currently
     subject to FCC jurisdiction or (2) in any way limit or restrict the activities of the Partnership or
     any of its Affiliates. To the extent that issuance of such an opinion requires the filing of any
     notices with the FCC or the issuance of any approvals by the FCC, the General Partner and the
     Insulated Partner seeking to relinquish its insulated status shall reasonably cooperate in making
     any such filing or obtaining any such approval, and the General Partner shall seek the opinion of
     special counsel to the Partnership on FCC matters with respect to the making of any such filing
     or the obtaining of any such approval.

               (c)    Nothing in this Section 5.16 shall be interpreted to restrict the activities of (A) the
     Limited Partners or (B) the beneficial interest holders of any Limited Partner during the period
     that it is an Insulated Partner so long as such Limited Partner's partnership or other governing
     agreement contains language reasonably designed to insulate such Limited Partner's unaffiliated
     limited partners or beneficial interest holders, as the case may be, from having the Partnership's
     interest in any Media Company being attributed under the FCC attribution rules to such
     beneficial owners, as necessary pursuant to the FCC attribution rules.
     17461908                                         -41-




                                                                                                   Appx. 04061
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                804 of 867
                                                        Page 85 of 200 PageID 25297

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                      Page 117 of
                                             180


             (d)     Upon written request by an Insulated Partner, the General Partner shall, prior to
     the Partnership consummating an investment in a Media Company, cause the legal counsel to the
     Partnership to deliver an opinion reasonably acceptable to such Insulated Partner to the effect
     that such investment shall not be "attributed" to the Insulated Partner under the rules and
     regulations of the FCC relating to the particular FCC service in which such Media Company
     operates.

                Section 5.17 Co-investment Funds.

             (a)     Where possible and appropriate, the General Partner may, in its discretion,
     provide co-investment opportunities to invest in a Portfolio Company (each a "Co-Investment
     Opportunity") to one or more Limited Partners, strategic investors, lenders, or members,
     investors, Affiliates or employees of the General Partner and Manager or, other accounts
     managed by Highland (each a "Co-Investor"). Notwithstanding the foregoing, investment
     opportunities allocated to Affiliates of the Manager or the General Partner or client accounts
     managed by the Manager, in accordance with the Highland Investment Allocation Policy, shall
     not be deemed Co-Investment Opportunities. The General Partner, the Manager, and their
     respective Affiliates will not receive any carried interest in any Co-Investment Opportunity
     provided to Limited Partners or receive management fees from Limited Partners in respect of
     Co-Investment Opportunities provided to Limited Partners. The General Partner intends to not
     provide Co-Investment Opportunities to Benefit Plan Investors to the extent necessary to prevent
     such Co-Investment Opportunity from being deemed to be Plan Assets of the related Benefit
     Plan Investor.

             (b)     The General Partner may, as a condition to any Co-Investment Opportunity,
     (i) require any or all Co-Investors to execute a confidentiality agreement relating to such Co-
     Investment Opportunity in form and substance acceptable to the General Partner, and (ii) require
     Co-Investors electing to participate in a Co-Investment Opportunity to coinvest through a Co-
     Investment Fund, which may have investors other than Limited Partners.

              (c)    Each Limited Partner shall treat the information provided to it pursuant to this
     Section 5.17 as confidential, shall use such information solely for the purpose of considering the
     offer made pursuant to this Section, shall, upon the request of the General Partner, promptly
     return to the General Partner any written information provided it pursuant to this Section, and
     shall not disclose the identity of the securities or issuer to any person other than (i) its employees,
     counsel or advisors, solely on a need to know and confidential basis, (ii) any governmental
     authority or regulatory authority which regulates such Limited Partner's ability to engage in any
     of its businesses under U.S. or foreign law to the extent such information is required by such
     governmental authority or regulatory authority, as the case may be, and (iii) to the extent such
     Limited Partner is required by law or regulation to disclose such information.

             (d)     If Co-Investment Funds or Co-Investors purchase securities of a Portfolio
     Company that are of the same class as securities of a Portfolio Company purchased by the
     Partnership, the Co-Investment Funds or Co-Investors shall purchase such securities on terms
     that are no less advantageous than the terms on which the Partnership purchases such securities.
     Each Co-Investment Fund and Co-Investor will dispose of securities of a Portfolio Company that


     17461908                                         -42-




                                                                                                  Appx. 04062
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                805 of 867
                                                        Page 86 of 200 PageID 25298

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                   Page 118 of
                                             180


     are of the same class as securities of a Portfolio Company purchased by the Partnership at the
     same time and on substantially the same terms (including price) as the Partnership.

              Section 5.18 Bridge Leveraging. (a) The Partnership is authorized to enter into one or
      more credit facilities (each, a "Bridge Leveraging/Credit Support Facility") in order to (i) borrow
      money for the purpose of (A) Bridge Leveraging, and (B) paying Partnership Expenses; and/or
      (ii) provide Credit Support for the obligations of Portfolio Companies or their subsidiaries as
     described in Section 5.4(c); provided, however, that in no event shall the aggregate amount of
     Bridge Leveraging outstanding at any time under any Bridge Leveraging/Credit Support Facility
     exceed the aggregate amount of Unfunded Commitments as of such date and provided, further,
     that in no event shall the maturity date of an individual borrowing under any Bridge
     Leveraging/Credit Support Facility be later than the 45'h day following the incurrence of such
     debt under a Bridge Leveraging/Credit Support Facility. A Bridge Leveraging/Credit Support
     Facility may be secured by (x) a pledge by the Partnership of all or a portion of the aggregate
     Unfunded Commitments of the Partners, and (y) a pledge and assigmnent by the General Partner
     of the rights of the General Partner contained herein, including, without limitation, the right to
     deliver Capital Call Notices and enforce all remedies against Partners that fail to fund their
     respective Unfunded Commitments pursuant thereto and in accordance with the terms hereof.
     The Partnership and any Parallel Vehicles may be co-borrowers under any Bridge
     Leveraging/Credit Support Facility, in which event the Partnership and the Parallel Vehicles may
     be jointly and severally liable for all obligations under such Bridge Leveraging/Credit Support
     Facility. In the event such a Bridge Leveraging/Credit Support Facility is so secured by
     Commitments, and to the extent funds are advanced against the Commitment of a particular
     Partner or partner of a Parallel Vehicle because such Person is late in funding or defaults on a
     Capital Call Notice delivered hereunder or by the Parallel Vehicle, each Limited Partner
     understands, acknowledges and agrees that (i) it may be required to make a Capital Contribution
     in respect of its pro rata share of such late or defaulted contribution amount, provided, however,
     that in no event shall any Partner be required to make Capital Contributions in excess of its
     Unfunded Commitment, and (ii) as a result of such default or late payment, the allocation
     between the Partnership and each Parallel Vehicle of a Portfolio Investment (together with any
     item of income, fees, reimbursement or expense that relates to such Portfolio Investment) with
     respect to which there has occurred a shortfall in contributions made by the Partners or the
     partners in a Parallel Vehicle shall be made by the General Partner based on the total amount of
     Capital Contributions of the Partners and the partners in each Parallel Vehicle actually funded to
     acquire such Portfolio Investment. In addition to the rights and remedies of the General Partner
     in respect of a Defaulting Partner pursuant to Section 6.11, any Partner that is late in funding or
     defaults on a Capital Call Notice shall be responsible for any interest or other expenses incurred
     in connection with such advance. Any such expenses shall be withheld from distributions
     otherwise to be made to such Defaulting Partner, and, to the extent such expenses exceed such
     distributions, such Defaulting Partner shall pay the amount of such excess to the Partnership in
     the manner and at the time or times required by the General Partner. Any such excess shall not
     be credited to such Defaulting Partner's Capital Account. For purposes of this Agreement, any
     amount withheld from a Defaulting Partner and paid to a lender shall be paid to the lender on
     behalf of such Defaulting Partner and shall be treated as if distributed to such Defaulting Partner.

            (b)    Each Limited Partner understands, acknowledges and agrees, in connection with
     any such Bridge Leveraging/Credit Support Facility and for the benefit of any lender thereunder,
     17461908                                       -43-




                                                                                               Appx. 04063
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                806 of 867
                                                        Page 87 of 200 PageID 25299

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                       Page 119 of
                                             180


     as follows: (i) that the General Partner may from time to time request a certificate confirming (x)
     the remaining amount of such Limited Partner's Unfunded Commitment or (y) that the Limited
     Partner has not and will not pledge, collaterally assign, encumber or otherwise grant a security
     interest in its limited partnership interest in the Partnership, and (ii) that the General Partner may
     from time to time request such other information as may be reasonably required by the lender( s)
     under the terms of the Bridge Leveraging/Credit Support Facility. Each Limited Partner agrees
     to comply with such requests to the extent they are reasonable.

             (c)     To induce any such lender to enter into a Bridge Leveraging/Credit Support
     Facility with the Partnership, each Limited Partner hereby: (i) acknowledges that the Partnership
     has informed such Limited Partner that the Partnership may pledge to a lender the right to call all
     Unfunded Commitments to secure all obligations made under the Bridge Leveraging/Credit
     Support Facility (collectively, the "Obligations") the terms of which are in accordance with this
     Agreement, and, in connection therewith, grant to such lender the rigbt to issue Capital Call
     Notices pursuant to the terms of this Agreement when an event of default under such Bridge
     Leveraging/Credit Support Facility exists, including an event of default resulting from the failure
     of a partner of a Parallel Vehicle to fund any capital contributions when required, which each
     Limited Partner shall fund, in accordance with the terms hereof and its rigbts and obligations
     hereunder; and (ii) acknowledges that the Partnership has informed such Limited Partner that for
     so long as the Bridge Leveraging/Credit Support Facility is in place, the General Partner and the
     Partnership may agree with the lender not to amend, modify, supplement, cancel, terminate,
     reduce (other than with respect to Funded Commitments) or suspend any of such Limited
     Partner's obligations to fund its Unfunded Commitment pursuant hereto, subject to excuse
     provisions set forth herein, without the lender's prior written consent.



                                                  ARTICLE VI

                                            LIMITED PARTNERS

             Section 6.1 Limited Liability. The Limited Partners will not be personally liable for any
     obligations of the Partnership and will have no obligation (including with respect to a deficit
     balance in their Capital Account) to make contributions to the Partnership in excess of their
     respective Commitments specified in Schedule 1 attached hereto in accordance with this
     Agreement, except to the extent set forth in Section 6.7 or the Delaware Partnership Act. The
     Limited Partners will take no part in the control, direction or operation of the affairs of the
     Partnership and will have no power to bind the Partnership.

                Section 6.2 Transfer of Limited Partnership Interests.

             (a)     A Limited Partner may not sell, assign, transfer, pledge, mortgage or otherwise
     dispose of all or any of its interest in the Partnership unless the General Partner has consented to
     such transfer or assignment in writing; provided, that with regard to an assignment by a Limited
     Partner to an Affiliate of such Limited Partner, such consent shall not be unreasonably withheld.

            (b)     A Limited Partner which is a trust under an employee benefit plan may, upon
     prior written notice to the General Partner, assign a beneficial interest in all or a portion of its
     17461908                                          -44-




                                                                                                   Appx. 04064
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                807 of 867
                                                        Page 88 of 200 PageID 25300

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                     Page 120 of
                                             180


      interest in the Partnership to any other trust under such employee benefit plan or to any other
     employee benefit plan having the same sponsor (provided that income and loss allocable to the
     Limited Partner of the Partnership will continue to be included in the same filings under the same
     employer identification number with the Internal Revenue Service). Such assignment to another
     trust under such employee benefit plan or to any other employee benefit plan having the same
     sponsor will not be deemed to be an assignment or transfer of a limited partnership interest
     pursuant to this Agreement (and therefore will not require the General Partner's consent pursuant
     to Section 6.2(a)). In addition, a change in any trustee or fiduciary of a Limited Partner will not
     be deemed to be an assignment or transfer of a limited partnership interest pursuant to this
     Agreement (and therefore not require the General Partner's consent pursuant to Section 6.2(e)),
     so long as any such replacement trustee or fiduciary is also a fiduciary as defined under
     applicable law, that income and loss allocable to the Limited Partner of the Partnership will
     continue to be included in the same filings under the same employer identification number with
     the Internal Revenue Service, and the General Partner receives prior written notice of such
     change in trustee or fiduciary. In connection with any assignment of interest or change in trustee
     or fiduciary under this Section 6.2(b ), the Limited Partner shall provide such documentation as
     the General Partner shall reasonably request.

             (c)    The voting rights of any Limited Partner's interest shall automatically terminate
     upon any transfer of such interest to a trust, heir, beneficiary, executor, personal representative,
     guardian or conservator or upon any other transfer if the transferor no longer retains control over
     such voting rights and the General Partner has not consented pursuant to Section 6.2(e) to such
     transferee becoming a substitute Limited Partner. No consent of any other Limited Partner will
     be required as a condition precedent to any such transfer or substitution.

             (d)     As a condition to any transfer of a Limited Partner's interest pursuant to
     Section 6.2(a), the transferor and the transferee shall provide such legal opinions and
     documentation as the General Partner shall reasonably request; provided that if the transfer is to
     be made from a Limited Partner to a co-trustee or trustee as contemplated above or to an
     Affiliate pursuant to Section 6.2(a), an officer's certificate in form reasonably satisfactory to the
     General Partner may be delivered by the Limited Partner in lieu of such legal opinions and other
     documentation.

             (e)      Notwithstanding anything to the contrary contained in this Section 6.2 or 6.11, a
     transferee or assignee will not become a substitute Limited Partner (i.e., a transfer other than as
     described in Section 6.2(b )) without the consent of the General Partner, which consent may be
     granted or withheld in its sole and absolute discretion (except for a disposition by a Limited
     Partner to an Affiliate permitted by Section 6.2(a), for which such consent shall not be
     unreasonably withheld), and without executing (i) a copy of this Agreement or amendment
     hereto, and (ii) a Subscription Agreement in form and substance satisfactory to the General
     Partner in its sole discretion. Any substitute Limited Partner admitted to the Partnership with the
     consent of the General Partner will succeed to all rights and be subject to all the obligations of
     the transferring or assigning Limited Partner with respect to the interest to which such Limited
     Partner was substituted, but any transferee or assignee that does not become a substitute Limited
     Partner shall have the right to receive allocations pursuant to Section 2.3 and distributions
     pursuant to Article III and Article VIII, but shall have no other rights under this Agreement.


     17461908                                        -45-




                                                                                                 Appx. 04065
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                808 of 867
                                                        Page 89 of 200 PageID 25301

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                      Page 121 of
                                             180


             (f)    The transferor and transferee of any Limited Partner's interest shall be jointly and
     severally obligated to reimburse the General Partner and the Partnership for all reasonable
     expenses (including attorneys' fees and expenses) of any transfer or proposed transfer of a
     Limited Partner's interest, whether or not consummated.

              (g)    The transferee of any Limited Partner's interest shall be treated as having made
     all of the Capital Contributions made by, and received all of the distributions received by, the
     transferor of such interest.

              (h)     Anything in this Agreement to the contrary notwithstanding, no admission (or
     purported admission) of a Partner, and no transfer (or purported transfer) of all or any part of a
     Partner's interest in the Partnership (or any economic interest therein) whether to another Partner
     or to a person who is not a Partner, shall be effective, and any such admission or transfer (or
     purported admission or transfer) shall be void ab initio, and no person shall otherwise become a
     Partner if after such admission or transfer (or purported admission or transfer) the Partnership
     would have more than one hundred (100) Partners, unless the General Partner determines in its
     sole discretion that the Partnership will meet the requirements set forth in Treasury Regulation
     § 1.7704-l(j)(l) for the taxable year of such transfer and all subsequent taxable years. In
     determining whether the Partnership will have more than one hundred (100) Partners for
     purposes of this Section 6.2(h), each person indirectly owning an interest in the Partnership
     through a partnership (including any entity treated as a partnership for federal income tax
     purposes), a grantor trust or an S corporation (each such entity a "flow-through entity") shall be
     treated as a Partner unless the General Partner determines in its sole discretion, after consulting
     with qualified tax counsel, that less than substantially all of the value of the beneficial owner's
     interest in the flow-through entity is attributable to the flow-through entity's interest (direct or
     indirect) in the Partnership.

              (i)     Anything in this Agreement to the contrary notwithstanding, no admission (or
     purported admission) of a Partner, and no transfer (or purported transfer) of all or any part of a
     Partner's interest in the Partnership (or any economic interest therein) whether to another Partner
     or to a person who is not a Partner, shall be effective, and any such admission or transfer (or
     purported admission or transfer) shall be void ab initio, and no person shall otherwise become a
     Partner if after such admission or transfer (or purported admission or transfer) the Partnership
     would be subject to the registration or reporting requirements of the Investment Company Act or
     in the General Partner's good faith determination, such transfer would cause the assets of the
     Partnership to be deemed Plan Assets. Each transferee that is or will be a Benefit Plan Investor
     as of the transfer effective date shall so notify the General Partner in writing prior to the transfer
     effective date. Any transferee that has not so indicated in writing its status as a Benefit Plan
     Investor hereby represents, warrants and covenants that it is not, it is not acting on behalf of and,
     so long as it holds an interest in the Partnership, it will not be and will not be acting on behalf of
     a Benefit Plan Investor.

            Section 6.3 No Withdrawal. Subject to the provisions of Sections 6.2, 6.6 and 6.11, no
     Limited Partner may withdraw as a Partner of the Partnership, nor may a Limited Partner be
     required to withdraw, nor may a Limited Partner borrow or withdraw any portion of its Capital
     Account from the Partnership.


     17461908                                        -46-




                                                                                                 Appx. 04066
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                809 of 867
                                                        Page 90 of 200 PageID 25302

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                   Page 122 of
                                             180


            Section 6.4 No Termination. The substitution, death, insanity, dissolution (whether
     voluntary or involuntary) or bankruptcy of a Limited Partner will not affect the existence of the
     Partnership, and the Partnership will continue for the term of this Agreement until its existence is
     terminated as provided herein.

                Section 6.5 Subsequent Limited Partners.

             (a)    The General Partner may accept additional Limited Partners ("Additional Limited
     Partners") subsequent to the First Closing of the Partnership up to and including the date
     fourteen months after the First Closing. Any Additional Limited Partners will be treated as
     having been a party to this Agreement and have made its Commitment as of the date hereof for
     all purposes, and such Additional Limited Partners will be required to bear a portion of the
     Management Fee, Organizational Expenses and Partnership Expenses equivalent to that which
     would have been borne by such Additional Limited Partner had such Limited Partner been a
     Limited Partner from the date of the First Closing.

              (b)     Such Additional Limited Partners shall contribute to the Partnership, on the date
     of their admission to the Partnership, an amount of their Commitments equal to their portion
     (based on the Commitments of all Partners) determined pursuant to this Section 6.5(b ). The
     initial drawdown for each Limited Partner will include such Limited Partner's proportionate
     share of (i) Management Fees retroactive to the First Closing; (ii) Placement Fees, if any,
     retroactive to the First Closing, (iii) Organizational Expenses (to the extent provided in
     Section 4.2) and Partnership Expenses attributable to the Partnership; and (iv) Capital
     Contributions made at or prior to such drawdown to fund any Portfolio Investment, other than
     Capital Contributions that have been returned prior to such drawdown to the Partners who made
     such Capital Contributions. In addition, Additional Limited Partners will be required to pay to
     the Partnership, with respect to the period from the date of the applicable Capital Contributions
     made by the Partners who were admitted pursuant to the First Closing to the date of their
     admission to the Partnership: (A) interest at the rate of 10% on their proportionate share of
     Management Fees retroactive to the First Closing; (B) interest at the rate of 10% on their
     proportionate share of Organizational Expenses (to the extent provided in Section 4.2),
     Placement Fees and Partnership Expenses attributable to the Partnership; and (C) interest at the
     rate of 10% on their proportionate share of the Capital Contributions made prior to such
     draw down (other than Capital Contributions that have been returned prior to such draw down to
     the Partners who make such Capital Contributions), to fund any Portfolio Investment; provided,
     however, that interest payable pursuant to sub-clauses CB l and ~ above shall be reduced, but
     not below zero, by each Additional Limited Partner's pro rata portion (based on Commitments of
     all Partners) of all distributions made prior to the date of such draw down to all Partners pursuant
     to Sections 3.3(a)(i), 3.3(a)(ii)(B) and 3.3(a)(iii)(A), to the extent such distributions exceed the
     aggregate amount of Capital Contributions to make Portfolio Investments that have been
     Disposed of prior to the date of such drawdown. Any amounts paid to the Partnership under
     clause (i) and subclause CAl above will be paid to the Manager (and to the extent the General
     Partner has waived all or part of such Management Fees, such Waived Fee Amount shall not be
     paid to the Manager or the General Partner but will instead increase the Unapplied Waived Fee
     Amounts). Any amounts paid to the Partnership under clause (iil above shall be paid to the
     applicable placement agency if applicable to such Limited Partner. Any amounts paid to the
     Partnership under clauses (iii) and (ivl above, and subclauses CBl and~ above shall be

     17461908                                       -47-




                                                                                               Appx. 04067
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                810 of 867
                                                        Page 91 of 200 PageID 25303

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                     Page 123 of
                                             180


     distributed to the Partners that participated in the earlier Capital Contributions based upon their
     relative shares of each earlier Capital Contribution, and any such returned Capital Contributions
     (but not amounts referred to in subclauses (B) and {Q above) may be recalled by the General
     Partner pursuant to Section 2.2(a) above as if such returned Capital Contributions had not
     previously been called; provided, that if the General Partner determines in good faith that there
     will be a Capital Call within 30 days after the contribution of such amounts to the Partnership,
     the General Partner may, in its discretion, retain such amounts and reduce the Capital Call with
     respect to such other Partners (in which event the Funded Commitments of such other Partners
     shall be increased by their pro rata share of that portion of such amounts referred to in subclauses
     illl and {Q above). For purposes of this Section 6.5, a Limited Partner that increases its
     Commitment shall be treated as an Additional Limited Partner with respect to the amount by
     which its Commitment increased.

             (c)     Each Additional Limited Partner admitted to the Partnership pursuant to this
     Section 6.5 shall be treated as purchasing a pro rata share of the interests in the Partnership of the
     Partners to whom amounts are distributed pursuant to this Section 6.5 ("Existing Partners"), and
     a portion of the Capital Account of each Existing Partner shall be allocated to such Additional
     Limited Partner so that after such allocation the Capital Accounts and Capital Contributions of
     such Additional Limited Partner and Existing Partners attributable to each Portfolio Investment
     and to the payment of Organizational Expenses, Management Fees, Placement Fees and
     Partnership Expenses are as equal as practicable to what their Capital Accounts and Capital
     Contributions attributable to each Portfolio Investment and to the payment of Organizational
     Expenses, Management Fees, Placement Fees and Partnership Expenses would have been if such
     Additional Limited Partner had been admitted to the Partnership at the First Closing.

             (d)     If the admission of Additional Limited Partners to the Partnership or of investors
     in Parallel Vehicles or the purchase by a limited partner in a Parallel Vehicle of a portion of the
     interest of a Defaulting Partner pursuant to Section 6.11 would result in the Partnership and the
     Parallel Vehicles not having reimbursed the General Partner and its Affiliates for Organizational
     Expenses in the proportions contemplated by Section 4.2 hereof or would result in the
     Partnership and the Parallel Vehicles not owning investments in Portfolio Companies in the
     proportions contemplated by Sections 5.14 or 5.15 hereof, the General Partner shall have the
     authority:

                    (i)     to effect transfers of funds and of Portfolio Company to Parallel Vehicles
                and to effect transfers of funds and portfolio investments of Parallel Vehicles to the
                Partnership for the purpose of reallocating the ownership of investments in Portfolio
                Companies and the reimbursements of Organizational Expenses by the Partnership
                and the Parallel Vehicles, and

                   (ii)    to make allocations to, or to reallocate, the Capital Accounts and Capital
                Contributions attributable to each Portfolio Investment and to the payment of
                Organizational Expenses, Management Fees, Placement Fees and Partnership
                Expenses of the Existing Partners and the Additional Limited Partners in the manner
                contemplated by the previous provisions of this Section 6.5,



     17461908                                        -48-




                                                                                                 Appx. 04068
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                811 of 867
                                                        Page 92 of 200 PageID 25304

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                    Page 124 of
                                             180


     in each case to achieve allocations and distributions as close as practicable to those that would
     have obtained had such Additional Limited Partners or investors been admitted to the Partnership
     or to Parallel Vehicles, respectively, at the First Closing or had such purchased interest of a
     Defaulting Partner been issued to the purchaser at the First Closing. Any distribution of cash
     made by the Partnership in connection with a reallocation under this Section 6.5(d) representing
     a return of Capital Contributions may be recalled by the General Partner pursuant to Section
     2.2(a) as if such returned Capital Contributions had not previously been called.

                Section 6.6 Regulatory Matters.

             (a)      Each Limited Partner acknowledges that the assets of the Partnership are not
     intended to constitute plan assets of such Limited Partner for purposes of any applicable non-
     U.S., state or local law governing the investment and management of the assets of that Limited
     Partner, and that, as a result, none of the Partnership, the General Partner, the Manager or any of
     their Affiliates intend to be acting as a fiduciary within the meaning of any applicable non-U.S.,
     state or local law relating to governmental plans or foreign plans with respect to such Limited
     Partner or the Partnership assets; provided, however, that this provision is not intended to negate
     the fiduciary duties imposed upon a general partner under the Delaware Partnership Act.

             (b)     In the event that the General Partner determines in good faith that (i) the
     investment in the Partnership by a Limited Partner which is a governmental plan, foreign plan or
     other regulated entity (each, a "Regulated Investor") is reasonably likely to result in (A) any
     violation of any provision of law applicable to such Regulated Investor, (B) the treatment of the
     assets of the Partnership as assets of such Regulated Investor or (C) the treatment of the
     Partnership, the General Partner or the Manager as a fiduciary under such provisions of law
     applicable to such Regulated Investor and (ii) if, in the reasonable judgment of the General
     Partner, any of the foregoing conditions result in or are reasonably likely to result in any material
     adverse consequences to the Partnership or the General Partner (both of (i) and (ii), a
     "Regulatory Issue"), then the General Partner shall use its reasonable best efforts to work with
     the Regulated Investor to cure the Regulatory Issue. The General Partner, in its sole discretion,
     may require that such Regulated Investor provide (at such Regulated Investor's expense) an
     opinion of counsel, reasonably acceptable to the General Partner in form and substance, that no
     Regulatory Issue exists or, in the event such an opinion is not delivered within a reasonable time
     after being requested, may cause the Partnership to redeem such Regulated Investor's interest in
     the Partnership, in whole or in part.

             (c)     Effective upon the date specified by the General Partner in the notice sent to a
     Limited Partner, notifying such Limited Partner of the General Partner's determination to
     completely or partially redeem such Limited Partner's interest in the Partnership pursuant to
     Section 5.6(e) or Section 6.6(b) (the "Redemption Effective Date"), such Limited Partner (the
     "Redeemed Limited Partner") shall cease to be a Partner of the Partnership for purposes of the
     withdrawn portion of its interest only and, in addition to its right to receive payment for its
     withdrawn interest in the Partnership as provided in Section 6.6(d), shall continue to be entitled,
     with respect to its remaining interest only, if any, to the rights of a Partner under this Agreement
     (including, without limitation, the right to have any allocations made to its Capital Account (as
     such may be adjusted) pursuant to Article II, the right to receive distributions pursuant to Article


     17461908                                        -49-




                                                                                                Appx. 04069
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                812 of 867
                                                        Page 93 of 200 PageID 25305

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                     Page 125 of
                                             180


     III and upon dissolution of the Partnership pursuant to Article VIII and the right to vote on
     matters as provided in this Agreement).

             (d)     The Redemption Value shall be paid by the Partnership to such Redeemed
     Limited Partner in cash by paying to such Limited Partner a "pro rata portion" of each
     distribution payable to the Redeemed Limited Partners until the Redemption Value has been
     fully paid; provided, that the General Partner shall be under no obligation to sell, finance or
     refinance any Partnership property or assets or to take any other action to effect such redemption
     which, in the judgment of the General Partner, may affect adversely the Partnership (taking into
     account the liquidity needs of the Partnership) or any Partner. For purposes of the preceding
     sentence, a Redeemed Limited Partner's "pro rata portion" of a distribution shall be an amount
     equal to the amount such Redeemed Limited Partner would have received in respect of the
     redeemed interest had such interest not been redeemed.

            Section 6.7 Indemnification and Reimbursement for Payments on Behalf of a
     Partner/Partner Clawback.

              (a)    If the Partnership is obligated to pay any amount to a governmental agency or to
     any other person (or otherwise makes a payment) in respect of any tax because of a Partner's
     status or otherwise specifically attributable to a Partner (including, without limitation, federal
     withholding taxes with respect to foreign partners, state personal property taxes, state
     unincorporated business taxes, etc.), then such Partner (the "Indemnifying Partner") shall
     indemnify the Partnership in full for the entire amount paid (including, without limitation, any
     interest, and any penalties and expenses associated with such payment to the extent such
     penalties and expenses are attributable to such Partner's actions or failure to act). At the option
     of the General Partner, the amount to be indemnified may be charged against the Capital
     Account of the Indemnifying Partner, and, at the option of the General Partner, either:

                    (i)    promptly upon notification of an obligation to indemnify the Partnership,
     the Indemnifying Partner shall make a cash payment to the Partnership equal to the full amount
     to be indemnified (and the amount paid shall be added to the Indemnifying Partner's Capital
     Account but shall not be deemed a Capital Contribution hereunder), or

                     (ii)    the Partnership shall reduce subsequent distributions which would
     otherwise be made to the Indemnifying Partner until the Partnership has recovered the amount to
     be indemnified (provided, that the amount of such reduction shall be deemed to have been
     distributed for all purposes of this Agreement, but such deemed distribution shall not further
     reduce the Indemnifying Partner's Capital Account). If the General Partner reasonably expects
     that subsequent distributions to such Partner will be sufficient to satisfy such Partner's obligation
     to pay such amount, the General Partner shall not seek a payment pursuant to clause (i) above,
     until the General Partner reasonably believes such distributions will not be sufficient.

             (b)     A Partner's obligation to make contributions to the Partnership under this
     Section 6.7 shall, subject to the limitations set forth in Section 6.7(c), survive the termination,
     dissolution, liquidation and winding up of the Partnership until the third (3'd) anniversary of the
     date of the final distribution made in connection with the complete liquidation of the assets of the
     Partnership and, for purposes of this Section 6. 7, the Partnership shall be treated as continuing in

     17461908                                        -50-




                                                                                                 Appx. 04070
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                813 of 867
                                                        Page 94 of 200 PageID 25306

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                      Page 126 of
                                             180


     existence. The Partnership may pursue and enforce all rights and remedies it may have against
     each Partner under this Section 6.7, including instituting a lawsuit to collect such contribution
     with interest equal to the prime or base rate then in effect (as announced by Citibank, N.A., New
     York, New York) plus six percentage points per annum (but not in excess of the highest rate per
     annum permitted by law).

              (c)     At any time and from time to time prior to the third (3'ct) anniversary of the date of
      receipt thereof, the General Partner may require each Partner to return distributions (including
      distributions made in connection with the complete liquidation of the assets of the Partnership) to
     the Partnership in an amount sufficient to satisfy all or any portion of (i) such Partner's
      indemnification obligations pursuant to Section 6.7(a), or (ii) any liability which the Partnership
     would be required by this Agreement or otherwise to pay if it had adequate funds, including but
     not limited to (A) the expenses of investigating, defending or handling any pending or threatened
     litigation or claim arising out of the Partnership's activities, investments or business, (B) the
     amount of any judgment or settlement arising out of such litigation or claim, and (C) the
     Partnership's obligation to indemnify any Partner or other Person pursuant to Section 5.11 (a
     "Liability"), whether such obligations arise before or after the last day of the Partnership or, with
     respect to any Partner, before or after such Partner's withdrawal from the Partnership; provided,
     that (x) each Partner will return distributions in respect of its share of any such indemnification
     payment in proportion to the aggregate amount of distributions received by such Partner that
     have not previously been returned to the Partnership by such Partner pursuant to this Section
     6.7(c); and (y) Partner's maximum liability under this Section 6.7 is limited to an amount equal
     to the lesser of (1) 33 113 % of such Partner's Commitment, and (2) 50% of the aggregate amount
     of distributions received by such Partner as of such date. Any distributions returned pursuant to
     this Section 6.7(c) shall not be treated as Capital Contributions, but shall be treated as returns of
     distributions in making subsequent distributions pursuant to Section 3.3 and in determining the
     amount that the General Partner is required to contribute to the Partnership pursuant to Section
     8.3(c) (other than for purposes of computing a Partner's Preferred Amount, which shall be
     computed based on actual Capital Contributions made and distributions received). Nothing in
     this Section 6.7(c), express or implied, is intended or shall be construed to give any person other
     than the Partnership or the Partners any legal or equitable right, remedy or claim under or in
     respect of this Section 6.7(c) or any provision contained herein. If a Limited Partner returns an
     amount to the Partnership under Section 6.7(c)(ii) after the final distribution of the assets of the
     Partnership, the amount the General Partner is required to contribute to the Partnership with
     respect to such Limited Partner pursuant to Section 8.3(c) shall be re-determined, taking into
     account the return of such amount to the Partnership. The provisions of Section 8.3( cl shall
     apply, and the payments required thereby shall be made, in the same manner as if the return of
     such amount to the Partnership had occurred prior to the final distribution of the assets of the
     Partnership.

           Section 6.8 Section 754 Election. Upon the written request of a Majority in Interest of
    the Limited Partners, that an election provided for in Section 754 of the Code be made, the
    General Partner shall, if then permitted by applicable law, make such election.




     17461908                                        -51-




                                                                                                 Appx. 04071
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                814 of 867
                                                        Page 95 of 200 PageID 25307

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                    Page 127 of
                                             180


                Section 6.9 BHCA Partners.

             (a)     Any Limited Partner may. upon notice to the General Partner, elect to hold all or
     any fraction of such Limited Partner's interest in the Partnership as a Non-Voting Interest, in
     which case such Limited Partner shall not be entitled to vote or otherwise participate in any
     consent of the Limited Partners with respect to the portion of its interest which is held as a Non-
     Voting Interest (and such Non-Voting Interest shall not be counted in determining the giving or
     withholding of any such consent or whether the requisite percentage of the Limited Partners or
     Partners, as the case may be, have consented to, approved, adopted or taken any other action
     hereunder). Except as provided in this Section 6.9, an interest held as a Non-Voting Interest
     shall be identical in all regards to all other interests held by Limited Partners. Any such election
     shall be irrevocable and shall bind the assignees of such Limited Partner's interest.

              (b)    Any interest in the Partnership held for its own account by a B HCA Partner, that
      is determined at the time of admission of such BHCA Partner, the complete or partial withdrawal
     of another Limited Partner or any other adjustment of the interests of the Partners pursuant to this
     Agreement to be in excess of 4.99% (or such other amount as may be permitted by applicable
     regulation to be held by a BHCA Partner as voting securities, but not including Section 4(k) of
     the BHC Act or any successor provision thereto) of the interests of the Limited Partners,
     excluding for purposes of calculating this percentage portions of any other interests that are Non-
     Voting Interests pursuant to this Section 6.9 and any other Section of this Agreement
     (collectively the "Non-Voting Partnership Interests"), shall be a Non-Voting Partnership Interest
     (whether or not subsequently transferred in whole or in part to any other person) and shall not be
     included in determining whether the requisite percentage of the Partners have consented to,
     approved, adopted or taken any action hereunder; provided, that such Non-Voting Partnership
     Interest shall be permitted to vote on any proposal to continue the business of the Partnership
     under Section 8.2(a) but not on the selection of a General Partner pursuant to Section 8.2(a).
     Each BHCA Partner hereby further irrevocably waives its corresponding right to vote for a
     successor general partner under Section 17-801 of the Delaware Partnership Act with respect to
     any Non-Voting Partnership Interest, which waiver shall be binding upon such BHCA Partner
     and any entity which succeeds to its interest. Upon the occurrence of a subsequent closing or
     any event specified in the second preceding sentence, a recalculation of the interest held by all
     BHC Partners shall be made, and only that portion of the total interest held by each BHC Partner
     that is determined as of the date of such recalculation to be in excess of 4.99% (or such other
     amount) of the interests of the Limited Partners, excluding Non-Voting Partnership Interests as
     of such date, shall be a Non-Voting Partnership Interest.

              Section 6.10 Excused Investments. In the event that (a) the Partnership makes or
     proposes to make a Portfolio Investment which the General Partner reasonab\y determines could
     result in a material violation by any Limited Partner (or any of its Affiliates) of any law, order,
     decree or judgment of any court or governmental agency applicable to such Limited Partner (or
     any of its Affiliates), or (b) the General Partner reasonably determines that a Limited Partner's
     participation in a proposed Portfolio Investment of the Partnership could have a material adverse
     effect on the Partnership, the entity in which such investment is to be made, such Limited
     Partner, or the General Partner and its Affiliates, the General Partner may, in its sole discretion,
     and subject to Section 5.6(a), (x) reduce or eliminate the interest of the such Limited Partner with
     respect to such Portfolio Investment and the distributions with respect thereto (provided that any

     17461908                                       -52-




                                                                                                Appx. 04072
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                815 of 867
                                                        Page 96 of 200 PageID 25308

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                      Page 128 of
                                             180


     Capital Contributions made by such Limited Partner with respect to such Portfolio Investment
     shall be promptly returned to such Limited Partner) and correspondingly increase the interest of
     the other Limited Partners with respect to such Portfolio Investment and/or (y) increase the
     interest of such Limited Partner in future Portfolio Investments of the Partnership and such
     Limited Partner's interest in the distributions with respect thereto and correspondingly decrease
     the interests of the other Limited Partners in such Portfolio Investments. All determinations
     necessary to reflect the operation of this Section 6.10 and not otherwise explicitly provided for in
     this Section 6.10 shall be made on an equitable basis as determined by the General Partner in
     good faith, whose decision thereon shall be final and binding on all Limited Partners.
     Determinations by the General Partner pursuant to clauses (a) and {Q} above may be made on its
     own initiative or after considering the request of any Limited Partner, including any supporting
     legal analysis or other documentation submitted by such Limited Partner.

                Section 6.11 Limited Partner's Default on Commitment.

            (a)      If any Limited Partner fails to make full payment of any portion of its
     Commitment when due (a "Defaulting Partner") and such failure is not cured within five
     Business Days after receipt by such Limited Partner of written notice from the General Partner
     with respect to such failure to pay, the General Partner may in its discretion and subject to
     Section 5.6(a). undertake any one or more of the following steps:

                     (i)    The General Partner may assist the Defaulting Partner in finding a buyer
     for the Defaulting Partner's Partnership interest (provided, that the General Partner will have no
     obligation to contact any particular Limited Partner or other person with regard to such sale).

                     (ii)   The Partnership may pursue and enforce all rights and remedies the
     Partnership may have against such Defaulting Partner with respect thereto, including a lawsuit to
     collect the overdue portion of the Commitment and any other amounts due the Partnership or
     General Partner hereunder, with interest at a rate equal to the prime or base rate then in effect (as
     announced by Citibank, N.A., New York, New York) plus six percentage points (but not in
     excess of the highest rate per annum permitted by law).

                     (iii)    The General Partner may offer the Defaulting Partner's interest to the
     Partners and the partners in the Parallel Vehicles (other than any Defaulting Partners) pro rata in
     accordance with their Commitments and their capital commitments to Parallel Vehicles on the
     terms set forth below. If any Partner or partner in a Parallel Vehicle does not elect to purchase
     the entire interest offered to it, the remaining interest allocable to the Partners and the partners in
     the Parallel Vehicles will be reoffered pro rata to the Partners and the partners in Parallel
     Vehicles who have purchased the entire interest offered to them until either all of such interest is
     acquired or no Partner or partner in a Parallel Vehicle wishes to make a further investment. At
     the closing of such purchase (on a date and at a place designated by the General Partner), each
     purchasing Partner shall (A) deliver a non-interest bearing, non-recourse (except to the extent of
     the Partnership interest purchased and the proceeds therefrom) ten-year promissory note (in a
     form approved by the General Partner) payable to the Defaulting Partner in an amount equal to
     the portion of the Defaulting Partner's Capital Account being purchased by such Partner, and
     (B) assume the portion of the Defaulting Partner's obligation to make both defaulted and further
     Capital Contributions pursuant to its Commitment which is equal to the portion of the Defaulting

     17461908                                         -53-




                                                                                                  Appx. 04073
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                816 of 867
                                                        Page 97 of 200 PageID 25309

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                     Page 129 of
                                             180


      Partner's interest being purchased by such Partner. In the case of a purchase of a portion of a
      Defaulted Partner's Capital Account by one or more partners in a Parallel Vehicle, such Parallel
      Vehicle shall deliver a note in the same form as the note described above to the Partnership for
      the aggregate portion of the Defaulted Partner's Capital Account being purchased by the limited
      partners in such Parallel Vehicle, the Partnership shall make the adjustments described in
      Section 6.5(d) with respect to such purchase and the Partnership shall distribute such note to the
      Defaulting Partner. If a Partner purchases a portion of the interest of a defaulting partner of a
      Parallel Vehicle, the Partner purchasing such interest shall increase its Commitments as
      described above with respect to purchases of an interest of a Defaulting Partner, and shall
      guarantee the note delivered to the Parallel Vehicle, and the Partnership shall make such other
      adjustments as are required by Section 6.5(d). The General Partner will handle the mechanics of
      making the offers set forth herein and will in its discretion impose time limits for acceptance.

                       (iv)   If the entire Defaulting Partner's interest is not purchased in the manner
     set forth in (iii) above, the General Partner in its sole discretion may offer the remaining interest
     either (A) to a third party or parties on the same terms as originally offered to the Partners
     pursuant to (iii) above (in which case such third party or parties will, as a condition of purchasing
     such interest, become a party to this Agreement), or (B) to the Partners and the partners in
     Parallel Vehicles in the manner provided in (iii) above, but with no requirement to assume the
     Defaulting Partner's obligation to make further capital contributions pursuant to its Commitment,
     in which case the Defaulting Partner's Commitment shall be deemed reduced (effective on the
     date of the default) to the amount actually paid in and the aggregate Commitments of the
     Partnership shall be reduced by the amount of such Defaulting Partner's remaining contributions
     to be made pursuant to its Commitment.

                     (v)    In addition to, or instead of, the other remedies and undertakings available
     to the General Partner pursuant to this Section 6.ll(a), the General Partner may, in its sole
     discretion, reduce (effective on the date of the default, after giving effect to the 5-day cure
     period) any portion of such Defaulting Partner's Commitment (which has not been assumed by
     another Partner) to the amount of the Capital Contributions (which have not been purchased by
     another Partner) made by such Defaulting Partner (net of distributions pursuant to Section 6.5(b))
     and the aggregate Commitments of the Partnership shall be commensurately reduced.

                      (vi)   Notwithstanding anything contained herein to the contrary, from and after
     any date on which a Defaulting Partner's Commitment is reduced pursuant to subparagraph (v)
     above, (A) such Defaulting Partner will have no right to receive any distributions, except for
     distributions made upon the Partnership's liquidation, (B) such Defaulting Partner's Capital
     Account will not be credited with any Investment Income and Gain or Short-Term Investment
     Income which shall instead be allocated to the Partners (other than any Defaulting Partners) in
     accordance with Section 2.3(b) and f.£1, as appropriate (and as adjusted to treat the Defaulting
     Partner's Capital Contribution as equal to zero), (C) until such Defaulting Partner's Capital
     Account is reduced to zero, (I) such Defaulting Partner's Capital Account shall continue to be
     debited in accordance with Sections 2.3(c), fill, ill., and {g} for such Defaulting Partner's share of
     Investment Loss, Organizational Expenses, Placement Fees and Uncapitalized Partnership
     Expenses as if there had been no reduction in such Defaulting Partner's Commitment or Capital
     Contributions and (2) the Management Fee payable by the Defaulting Partner shall be calculated
     as if there had been no reduction in such Defaulting Partner's Commitment, and (D) once such

     17461908                                        -54-




                                                                                                 Appx. 04074
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                817 of 867
                                                        Page 98 of 200 PageID 25310

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                    Page 130 of
                                             180


     Defaulting Partner's Capital Account is reduced to zero, (1) such Defaulting Partner's
     Commitment shall be reduced to zero for all purposes of the Agreement, including the
     calculation of the Partnership's aggregate Commitments and determination of the Management
     Fee and (2) such Defaulting Partner (and not the Partnership or any other Limited Partner) shall
     be liable each quarterly period to the General Partner for an amount equal to its portion of the
     Management Fee for such period as if there had been no reduction in such Defaulting Partner's
     Commitment.

                     (vii) No consent of any Limited Partner shall be required as a condition
     precedent to any transfer, assignment or other disposition of a Defaulting Partner's interest
     pursuant to this Section 6.11.

             (b)     Additionally, the Defaulting Partner shall indemnify and hold harmless the
     General Partner and the Partnership against any losses, damages and expenses (including
     attorneys' fees) incurred by the General Partner and the Partnership in enforcing or attempting to
     enforce the provisions of this Section 6.11 or resulting from the Partnership failing to meet its
     obligations with respect to any Portfolio Investment by reason of any such default.

             Section 6.12 Investment Company Act Limitations. Notwithstanding anything to the
     contrary contained in this Agreement, (i) no person shall be admitted to the Partnership as
     Limited Partner, an Additional Limited Partner or a substitute Limited Partner unless such person
     is a Qualified Purchaser, and (ii) no sale, assignment, transfer, pledge, mortgage or other
     disposition of any or all of a Limited Partner's interest in the Partnership shall be effective unless
     the assignee of any beneficial interest in the Partnership is a Qualified Purchaser.



                                               ARTICLE VII

                                       ADVISORY COMMITTEE

             Section 7.1 Advisory Committee. (a) A committee (an "Advisory Committee") of not
     fewer than three individuals and not more than seven individuals who are affiliated with or
     officers, employees, representatives or designees of Limited Partners or limited partners of
     Parallel Vehicles (but are not affiliated with the General Partner, the Manager, the Principals or
     any Affiliates thereof) will be appointed by the General Partner. The General Partner will not
     appoint to the Advisory Committee any individual who is an officer, employee or representative
     of a BHC Partner whose Partner Interest in the Partnership is over 4.99%. The Advisory
     Committee will meet at least semi-annually with the Manager and will perform such duties as is
     contemplated by this Agreement and provide such advice and counsel, including advice and
     counsel as to general economic and financial trends, portfolio investments and valuations, as is
     requested by the General Partner in connection with the investments of the Partnership, the
     Parallel Vehicles and the Separate Investment Entities, and other matters related thereto;
     provided, that the General Partner will retain ultimate responsibility for all decisions relating to
     the operation and management of the Partnership, including all investment decisions. The
     Advisory Committee will be consulted on potential conflicts involving the Partnership and will
     perform the duties contemplated by this Agreement and all transactions between the Partnership

     17461908                                        -55-




                                                                                                Appx. 04075
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                        Appendix
                              176-24
                                 Part 6Filed
                                           Page
                                             01/09/24
                                                818 of 867
                                                        Page 99 of 200 PageID 25311

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                   Page 131 of
                                             180


     and the General Partner, the Manager and their Affiliates not specifically contemplated by this
     Agreement must be approved by the Advisory Committee. Notwithstanding the foregoing, the
     Advisory Committee will not consult with the General Partner on allocations of investment
     opportunities to Affiliates of the Manager or client accounts managed by the Manager if such
     allocations are made in accordance with the Highland Investment Allocation Policy. The
     Manager shall be entitled to remove a member of the Advisory Committee selected by the
     Manager from among the Limited Partners (or their representatives) upon at least 15 days prior
     written notice to the Limited Partners, provided, however, that the Manager may not remove a
     member of the Advisory Committee designated by a Limited Partner without the consent of 75%
     of the other members of the Advisory Committee. The Limited Partner that had the right to
     designate the removed member of the Advisory Committee shall have the right to designate a
     replacement. The Partnership will reimburse each member of the Advisory Committee for such
     member's reasonable out-of-pocket expenses incurred in attending meetings of the Advisory
     Committee. Such reimbursements shall be Partnership Expenses. The Advisory Committee
     shall act by affirmative vote or written consent of a majority of its members.

             (b)    Neither the members of the Advisory Committee, nor the Limited Partners on
     behalf of whom such members act as representatives, shall owe any duties (fiduciary or
     otherwise) to the Partnership or any other Limited Partner in respect of the activities of the
     Advisory Committee, other than the duty to act in good faith.



                                                 ARTICLE VIII

                                     DURATION AND TERMINATION

             Section 8.1 Duration. The Partnership will terminate on the tenth anniversary of the
     Final Closing, except that the term of the Partnership may be extended by the General Partner,
     with the approval of the Advisory Committee, for up to two consecutive one-year extensions.

                Section 8.2 Early Termination.

                (a)    The Partnership shall terminate on:

                    (i)     the bankruptcy of the General Partner or on the happening of any other
     event that would cause a dissolution of the Partnership under the Delaware Partnership Act
     unless, within 90 days after notice is given to the Limited Partners of the occurrence of such
     event, the Limited Partners and limited partners of all Parallel Vehicles unanimously select a
     new general partner and resolve to continue the business of the Partnership;

                    (ii)    a good faith determination upon receipt of written legal advice of counsel
     by the General Partner that dissolution of the Partnership is necessary or desirable (A) as a result
     of a Plan Asset Event or (B) to avoid any material adverse consequences to the Partnership or the
     General Partner as a result of any law applicable to a Regulated Investor;




     17461908                                         -56-




                                                                                               Appx. 04076
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 819 of 867
                                                        Page 100 of 200 PageID 25312

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                     Page 132 of
                                             180


                     (iii)  the removal of the General Partner pursuant to Section 5.9 unless all of the
      Limited Partners and all limited partners of Parallel Vehicles select a successor general partner
      and resolve to continue the business of the Partnership pursuant to Section 5. 9; or

                    (iv)    at any time after the second anniversary of the Final Closing upon the
      consent of Seventy-Five Percent in Interest of the Limited Partners.

              (b)      As prompt! y as possible following the election by the Limited Partners of a
      successor General Partner pursuant to Section 8.2(a)(i), there shall be distributed to the former
      General Partner, in full payment and satisfaction of its interest in the Partnership, a Limited
      Partnership Interest in the Partnership. The Limited Partnership Interest of the former General
      Partner shall entitle the former General Partner to the same distributions and allocations in
      respect of Portfolio Investments made prior to the termination of the former General Partner it
      would have received had it remained the General Partner, subject to the obligations set forth in
      Section 8.3(c), and to the rights of a Limited Partner hereunder with a Commitment equal to the
      Commitment of the former General Partner, but shall not entitle it to any other rights to
      participate in the management of the Partnership. After its withdrawal as General Partner, a
      former General Partner shall only be liable under this Agreement for actions taken and
      investments in Portfolio Companies made prior to the date of such withdrawal. If the Limited
      Partners elect to continue the Partnership's business pursuant to Section 8.2(a)(i), an appropriate
      amendment to this Agreement and to the Certificate shall be made within 90 days after the event
      giving rise to such election.

            Section 8.3 Termination and Liquidation of Partnership Interests; Annual Determination
     of General Partner Give Back.

             (a)     Liquidation. Upon termination, the Partnership will be liquidated in an orderly
     manner. The General Partner (or, in the absence, bankruptcy or removal under Section 5.9, of
     the General Partner, the party selected by a Majority in Interest of the Limited Partners) will be
     the liquidator to wind up the affairs of the Partnership pursuant to this Agreement.

             (b)     Final Allocation and Distribution. Upon termination of the Partnership (whether
     or not an early termination), the General Partner will make a final allocation of all kinds of
     income, loss and expense in accordance with Article II hereof and the Partnership's liabilities
     and obligations to its creditors shall be paid or adequately provided for prior to any distributions
     to the Partners. After payment or provision for payment of all debts of the Partnership, the
     remaining assets, if any, will be distributed among the Partners as provided in Sections 3.2 and
     3.3.

             (c)     General Partner Give Back. Within 90 days after the termination of the
     Commitment Period and after the final distribution of the assets of the Partnership among the
     Partners as provided in Sections 3.2 and 3.3 (each of the termination of the Commitment Period
     and the final distribution of the assets of the Partnership, a "Determination Date"), the General
     Partner will make a Capital Contribution to the Partnership with respect to each Limited Partner
     (and such amount will be distributed to the Limited Partners in proportion to the amounts
     determined with respect to each Limited Partner pursuant to this Section 8.3(c)), equal to the
     greater of:

     17461908                                        -57-




                                                                                                Appx. 04077
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 820 of 867
                                                        Page 101 of 200 PageID 25313

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                     Page 133 of
                                             180


                        (i)   the amount by which (A) (x) the aggregate distributions to the General
      Partner pursuant to Sections 3.3(a)(ii) and 3.3(a)(iii) (including amounts initially distributed
      pursuant to Section 3.3(b )) with respect to such Limited Partner's Partner Share of distributions
      pursuant to Section 3.3(a) as of the applicable Determination Date less (y) all amounts
      previously contributed by the General Partner pursuant to this Section 8.3(c) with respect to such
      Limited Partner, exceed (B) 20% of the excess of (x) such Limited Partner's Partner Share of all
      distributions pursuant to Section 3.3(a) from the Partnership as of the applicable Determination
      Date (including amounts distributed to the General Partner pursuant to Sections 3.3(a)(ii) and
      3.3(a)(iii), but reduced by any amounts previously contributed by the General Partner pursuant to
      this Section 8.3(cl) over (y) the aggregate Capital Contributions made by such Limited Partner to
      the Partnership as of the applicable Determination Date; and

                     (ii)     the amount by which all distributions received by such Limited Partner as
     of the applicable Determination Date are less than the sum of such Limited Partner's Capital
     Contributions as of the applicable Determination Date, plus such Limited Partner's aggregate
     Preferred Amount as of the applicable Determination Date; provided, however, that the
     aggregate General Partner Capital Contributions pursuant to this Section 8.3(c) will not exceed
     the excess, if any, of (x) an amount equal to 100% of the net amount distributed to the General
     Partner with respect to such Limited Partner over the entire term of the Partnership (other than
     Tax Distributions) pursuant to Sections 3.3(a)(ii) and 3.3(a)(iii) over (y) the Built-In Tax
     Amount with respect to any distribution of securities in-kind received by the General Partner
     with respect to such Limited Partner.

            (d)     The General Partner hereby covenants and agrees that each of the members of the
     General Partner entitled to receive Carried Interest distributions from the General Partner has
     guaranteed and will guaranty severally, but not jointly, the payment of his, her or its pro rata
     share of the payments required by Section 8.3(c) to the extent and on the terms set forth in the
     Guaranty Agreement.

              (e)     Special Profit Interest Give Back. After the final distribution of the assets of the
      Partnership among the Partners as provided in this Section 8.3 (and Article III hereof), but prior
      to the application of Section 8.3(c), the General Partner shall be obligated to make aggregate
      Capital Contributions to the Partnership, within 30 days after the date of such final distribution,
      in an amount equal to the sum of the excess, if any, of (i) the distributions received by the
     General Partner on account of the Special Profit Interest attributable to each Waived Fee Amount
     over (ii) the Available Profits with respect to such Waived Fee Amount. The distributions
     described in clause (i) of the preceding sentence with respect to a Waived Fee Amount are the
     Special Profit Interest distributions attributable to the Portfolio Company with respect to which
     the General Partner applied such Waived Fee Amount pursuant to Section 2.2(a)(ii), treating the
     Waived Fee Amounts as having been applied on a "first-in, first-out" basis. Amounts distributed
     to the General Partner pursuant to Section 3.3(0 shall be treated for this purpose as proceeds
     from Portfolio Company made on the date of each Waived Fee Notice giving rise to Waived Fee
     Amounts that are not applied to Portfolio Company pursuant to Section 2.2(a)(ii). For purposes
     of applying the first sentence of this Section 8.3(e), Partnership Profits shall not be treated as
     Available Profits with respect to more than one Waived Fee Amount. All such amounts returned
     to the Partnership shall be distributed to the Partners (other than a Defaulting Partner or the
     General Partner) in accordance with the provisions of Section 3.3. All determinations and

     17461908                                        -58-




                                                                                                 Appx. 04078
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 821 of 867
                                                        Page 102 of 200 PageID 25314

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                     Page 134 of
                                             180


      calculations pursuant to this Section 8.3(e) shall be made by the General Partner in its sole
      discretion.



                                                ARTICLE IX

                               VALUATION OF PARTNERSIDP ASSETS

              Section 9.1 Normal Valuation. For purposes of this Agreement, the value of any
      security as of any date (or in the event such date is a holiday or other day which is not a Business
      Day, as of the next preceding Business Day) will be determined as follows:

               (a)    a Marketable Security which is listed on a recognized securities exchange or the
      NMS will be valued at the average of the last sales prices (or, if no sale occurred on such date, at
      the last "bid" price thereon) for the five consecutive trading days before such date and the five
      consecutive trading days after such date;

             (b)    a Marketable Security which is traded over-the-counter (other than on the NMS)
     will be valued at the average of the last "bid" prices for the five consecutive trading days before
     such date and the five consecutive trading days after such date;

            (c)    subject to Section 9.3, all Non-Marketable Securities will be valued on such date
     by the General Partner at fair market value in such manner as it may determine; and

             (d)   a Marketable Security which meets clause (ii), but not clause (i) of the definition
     of "Marketable Securities" will be valued as if it had been converted, exchanged or exercised as
     of such date.

             Section 9.2 Restrictions on Transfer or Blockage. Any security which is held under a
     representation that it has been acquired for investment and not with a view to public sale or
     distribution, or which is held subject to any other restriction, or where the size of the
     Partnership's holdings compared to the trading volume would affect its marketability, will,
     subject to the provisions of Section 9.3, be valued at such discount from the value determined
     under Section 9.1 above as the General Partner deems necessary to reflect properly the
     marketability of such security.

             Section 9.3 Objection to Valuation. Prior to acting upon its final valuation of any
     security pursuant to Sections 9.1 or 9.2 or its determination of written down value pursuant to
     Section 9.4, the General Partner shall provide the members of the Advisory Committee with
     notice and backup support of the General Partner's valuation of such security. If within 30 days
     after delivery of such notice a majority of the members of the Advisory Committee delivers
     written notice to the General Partner objecting to the valuation of such security and if, within 15
     days from the date on which the General Partner receives such notice from a majority of the
     Advisory Committee, the General Partner and the Advisory Committee cannot agree on the
     valuation of such security, then the General Partner will (at the Partnership's expense) cause an
     independent securities expert mutually acceptable to the General Partner and the Advisory


     17461908                                        -59-




                                                                                                 Appx. 04079
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 822 of 867
                                                        Page 103 of 200 PageID 25315

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                     Page 135 of
                                             180


      Committee to review such valuation, and such expert's determination will be binding on the
      parties.

              Section 9.4 Write-down to Value. Any Portfolio Investment that has permanently
      declined in value as determined by the General Partner will be written down to its value (or, if
      applicable, written off) pursuant to the provisions of this Article IX, including the valuation
      provisions of Section 9.3, as of the date of such determination. The General Partner shall
      provide the Advisory Committee at least annually with the then current valuation of all Portfolio
      Investments.



                                                 ARTICLE X

                                   BOOKS OF ACCOUNTS; MEETINGS

            Section 10.1 Books. The Partnership will maintain complete and accurate books of
     account of the Partnership's affairs at the Partnership's principal office, which books will be
     open to inspection by any Partner (or its authorized representative) at any time during ordinary
     business hours.

             Section 10.2 Fiscal Year. The fiscal year of the Partnership will be the calendar year,
     unless otherwise determined by the General Partner.

                Section 10.3 Reports. The General Partner will furnish the Limited Partners:

             (a)     within 60 days after the end of each of the first three quarters of each fiscal year
     beginning with fiscal year 2008, and with respect to the fourth quarter in each fiscal year at the
     time of delivery of the annual financial statements under Section 10.3(c), (i) unaudited quarterly
     financial statements (including balance sheet and income statement (including additions,
     dispositions and write-offs)) showing each Partner's Capital Account prepared in accordance
     with GAAP, applied on a consistent basis (except that, in accordance with GAAP, such quarterly
     financial reports may omit footnotes and year-end adjustments, accruals and reserves), and (ii) a
     schedule of investments including the Partnership's cost and the value of such investments
     prepared in accordance with Article IX;

             (b)    within 60 days after the end of each of the first three quarters of each fiscal year
     beginning with fiscal year 2008, and with respect to the fourth quarter in each fiscal year at the
     time of delivery of the annual financial statements under Section 10.3(c), unaudited quarterly
     descriptive investment information for each Portfolio Company and narrative summary financial
     information for each Portfolio Company, including revenues, EBITDA and net debt;

              (c)     within 90 days after the end of each fiscal year beginning with fiscal year 2008,
     (i) financial statements for such year prepared in accordance with GAAP, applied on a consistent
     basis (certified by a firm of independent certified public accountants of recognized national
     standing selected by the General Partner), (ii) valuations of the Partnership's investments as of
     the end of such year (including a statement of each Partner's closing Capital Account) prepared
     in accordance with Article IX, and (iii) the certification to Benefit Plan Investors confirming that
     17461908                                        -60-




                                                                                                Appx. 04080
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 823 of 867
                                                        Page 104 of 200 PageID 25316

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                    Page 136 of
                                             180


      the Partnership continues to qualify for an exception from Plan Assets described in the last
      sentence of Section 5.6(a) and a certification regarding the Partnership's compliance in all
      material respects with Article III hereof; and

              (d)     within 90 days after the end of each fiscal year beginning with fiscal year 2008,
      (subject to reasonable delays in the event of late receipt of any necessary financial statements or
      other information necessary to prepare tax returns in respect of any Portfolio Investment), the
      Partnership's tax return and the Limited Partners' respective forms K-1.

                 Section 10.4 Tax Allocation.

              (a)      Except as otherwise set forth in this Section 10.4(a), the income, gains, losses,
      deductions and credits of the Partnership will be allocated, for federal, state and local income tax
      purposes, among the Partners in accordance with the allocation of such income, gains, losses,
      deductions and credits among the Partners for computing their Capital Accounts, except that if
      any such allocation is not permitted by the Code or other applicable law, the Partnership's
      subsequent income, gains, losses, deductions and credits will be allocated among the Partners so
      as to reflect as near! y as possible the allocation set forth herein in computing their Capital
      Accounts. Notwithstanding the preceding sentence, in the event the Basis of any asset of the
      Partnership differs from its adjusted tax basis for federal income tax purposes, subsequent
      allocations of income, gain, loss, and deduction with respect to such asset shall take account of
      any variation between the adjusted basis of such asset for federal income tax purposes and its
      Basis in the same manner as under Section 704(c) of the Code and the Regulations thereunder.

               (b)    If any Partner is treated for income tax purposes as realizing ordinary income
      because of receipt of his, her or its Partnership interest (whether under Section 83 of the Code or
      any similar provisions of any law, rule or regulation or any other applicable law, rule, regulation
      or doctrine) and the Partnership is entitled to any offsetting deduction, the Partnership's
      deduction will be allocated among the Partners in such manner as to, as near! y as possible, offset
      such ordinary income realized by such Partner. If the Internal Revenue Service successfully
      asserts an adjustment to the taxable income of a Partner and, as a result of such adjustment, the
      Partnership is entitled to a deduction for federal income tax purposes in excess of any gain
      recognized by the Partnership, such excess deduction shall be allocated to such Partner. If the
      Internal Revenue Service successfully asserts an adjustment to the taxable income of the
      Partnership and, as a result of such adjustment, any Partner is entitled to a deduction for federal
      income tax purposes in excess of any gain recognized by such Partner, the additional Partnership
      taxable income shall be allocated to such Partner. If the Internal Revenue Service successfully
      asserts an adjustment to the taxable income of the Partnership disallowing deductions for any of
      the fees paid or payable to the General Partner, then additional Partnership taxable income
      allocable to the Partners as a result of such disallowance shall be reallocated to the General
      Partner.

               (c)     Notwithstanding any other provision of this Agreement, if a Partner unexpectedly
      receives an adjustment, allocation or distribution described in Treasury Regulation§ 1.704-
      1(b)(2)(ii) (d)(4), (5) or (6) which gives rise to a negative Capital Account (or which would give
      rise to a negative Capital Account when added to expected adjustments, allocations or
      distributions of the same type), such Partner will be allocated items of income and gain in an

      17461908                                       -61-




                                                                                                Appx. 04081
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 824 of 867
                                                        Page 105 of 200 PageID 25317

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                     Page 137 of
                                             180


      amount and manner sufficient to eliminate such deficit balance as quickly as possible; provided
      that the Partnership's subsequent income, gains, losses, deductions and credits will be allocated
      among the Partners so as to achieve as near! y as possible the results that would have been
      achieved if this Section 10.4(c) had not been in this Agreement, except that no such allocation
      shall be made which would violate the provisions or purposes of Treasury Regulation
      § 1.704-1(b),

               Section 10.5 Tax Controversies. The General Partner is hereby designated the "Tax
      Matters Partner" (as defined in Section 6231 ofthe Code), and is authorized and required to
      represent the Partnership (at the Partnership's expense) in connection with all examinations of
      the Partnership's business and affairs by tax authorities, including resulting administrative and
      judicial proceedings, and to expend Partnership funds for professional services and costs
      associated therewith. Each Limited Partner agrees to cooperate with the General Partner and to
      do or refrain from doing any or all things reasonably requested by the General Partner with
      respect to the conduct of such proceedings. The General Partner shall provide the Limited
      Partners with all notices required to be provided to them by law in connection with such
      proceedings, and shall otherwise keep the Limited Partners reasonably informed of the progress
      thereof.

              Section 10.6 Certain Tax Elections. The Partnership shall not, without the consent of all
      Partners, file an election (i) pursuant to Section 761 of the Code not to be treated as a
      partnership, or (ii) pursuant to Treasury Regulation §301.7701-3(c) to be treated as an
      association taxable as a corporation.

                 Section 10.7 Code Section 83 Safe Harbor Election.

              (a)      Notice 2005-43. By executing this Agreement, each Partner authorizes and
      directs the Partnership to elect to have the "Safe Harbor" described in the proposed Revenue
      Procedure set forth in Internal Revenue Service Notice 2005-43 (the "Notice") apply to any
      interest in the Partnership transferred to a service provider by the Partnership on or after the
      effective date of such Revenue Procedure in connection with services provided to the
      Partnership. For purposes of making such Safe Harbor election, the General Partner is hereby
      designated as the "partner who has responsibility for federal income tax reporting" by the
      Partnership and, accordingly, execution of such Safe Harbor election by the General Partner
      constitutes execution of a "Safe Harbor Election" in accordance with section 3.03(1) of the
      Notice. The Partnership and each Partner hereby agrees to comply with all requirements of the
      Safe Harbor described in the Notice, including, without limitation, the requirement that each
      Partner shall prepare and file all federal income tax returns reporting the income tax effects of
      each "Safe Harbor Partnership Interest" (as described in Section 3.02 of the Notice) issued by the
      Partnership in a manner consistent with the requirements of the Notice.

             (b)      Amendment. Each Partner authorizes the General Partner to amend Section
     10.7(a) to the extent necessary to achieve substantially the same tax treatment with respect to any
     interest in the Partnership transferred to a service provider by the Partnership in connection with
     services provided to the Partnership as set forth in section 4 of the Notice (e.g., to reflect changes
     from the rules set forth in the Notice in subsequent Internal Revenue Service guidance), provided
     that such amendment is not materially adverse to any Partner (as compared with the after-tax

      17461908                                       -62-




                                                                                                 Appx. 04082
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 825 of 867
                                                        Page 106 of 200 PageID 25318

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                     Page 138 of
                                             180


      consequences that would result if the provisions of the Notice applied to all interests in the
      Partnership transferred to a service provider by the Partnership in connection with services
      provided to the Partnership).

              Section 10.8 Tax Basis Elections. Each Limited Partner hereby agrees and covenants
      that, with respect to such Partner's interest in the Partnership, it shall not make an election under
      Section 732(d) of the Code without the prior written consent of the General Partner. Each
     Limited Partner hereby acknowledges and agrees that the Partnership may, but shall not be
     obligated to, elect to be treated as an electing investment Partnership under Section 743(e) of the
      Code in the event the Partnership qualifies to do so. In such event, each transferring Limited
     Partner hereby agrees to provide the Partnership and its transferee with the time! y notice required
      in IRS Notice 2005-32, or any successor guidance or interpretations(s), including such
      information as is necessary to enable such transferee to compute the amount of losses disallowed
     under Section 743(e) of the Code. Alternatively, in the event that the Partnership elects or is
     required to adjust the basis of the Partnership property under Section 743 of the Code, each
     Limited Partner hereby agrees to promptly provide the General Partner with any information
     reasonably requested by the General Partner in connection with such adjustment to the basis of
     Partnership property. In addition, to the extent that the transfer to a Limited Partner (or the
     transfer of interests in a Limited Partner) results in the Partnership adjusting the basis of
     Partnership property, each Limited Partner that received an interest in the Partnership by reason
     of such transfer (or, in the case of the transfer of interest in a Limited Partner, such Limited
     Partner) hereby agrees to reimburse the Partnership and/or the General Partner within 10
     Business Days for any expenses (including without limitation accounting fees) reasonably
     incurred by the Partnership and/or the General Partner (and their respective affiliates) in
     connection with effecting such adjustments to the basis of Partnership property as it relates to
     such transfer. The General Partner is hereby authorized by each Limited Partner, with respect to
     any distribution to which such Limited Partner might otherwise be entitled, to defer making such
     distribution to such Limited Partner, if at the time such distribution would otherwise be effected,
     such Limited Partner has not satisfied its obligation to make the reimbursements provided for in
     the preceding sentence within the period specified therein.

            Section 10.9 Annual Meeting. The General Partner will hold annual general
     informational meetings for the Limited Partners until such time, after the termination of the
     Commitment Period, that substantially all of the Portfolio Investments have been Disposed..



                                                ARTICLE XI

                            CERTIFICATE OF LIMITED PARTNERSHIP;
                                    POWER OF ATTORNEY

             Section 11.1 Certificate of Partnership. A certificate of Limited Partnership within the
     meaning of the Delaware Partnership Act (the "Certificate") will be prepared upon the execution
     and delivery of this Agreement. The General Partner will cause the Certificate to be filed and
     recorded in the office of the Secretary of State of the State of Delaware and, to the extent
     required by local law, in the appropriate place in each state in which the Partnership may

     17461908                                        -63-




                                                                                                 Appx. 04083
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 826 of 867
                                                        Page 107 of 200 PageID 25319

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                        Page 139 of
                                             180


      hereafter establish a place of business; provided, however, that the Partnership will not be
      obligated to provide the Limited Partners with a copy of any amendment to or restatement of the
      Certificate other than any amendment or restatement required to be filed in connection with an
      amendment ofthis Agreement pursuant to Section 12.1. The General Partner will also cause to
      be filed, recorded and published such statements, notices, certificates or other instruments
      required by any provision of any applicable law which governs the formation of the Partnership
      or the conduct of its business from time to time.

              Section 11.2 Power of Attorney. Each of the undersigned does hereby constitute and
      appoint each member of the General Partner and each person who hereafter becomes a member
     of the General Partner with full power to act without the others, as his, her or its true and lawful
     representative and attorney-in-fact, in her, his or its name, place and stead, to make, execute,
      sign, acknowledge and deliver or file (a) the Certificate, (b) any amendment to or cancellation of
     the Certificate or any amendment to, or waiver of, this Agreement effected in accordance with
     Section 12.1, (c) all instruments, documents and certificates which may from time to time be
     required by any law to effectuate, implement and continue the valid and subsisting existence of
     the Partnership, (d) all instruments, documents and certificates which may be required to
     effectuate the dissolution and termination of the Partnership, and (e) in the case of a Defaulting
     Partner any bills of sale or other appropriate transfer documents necessary to effectuate transfers
     of such Defaulting Partner's interest pursuant to Section 6.11 above. The powers of attorney
     granted herein will be deemed to be coupled with an interest, will be irrevocable and will survive
     the death, incompetency, disability or dissolution of a Limited Partner. Without limiting the
     foregoing, the powers of attorney granted herein will not be deemed to constitute the written
     consent of any Limited Partner for purposes of Section 12.1. Notwithstanding the foregoing or
     anything contained in this Agreement to the contrary, the foregoing power of attorney may not
     be exercised by the General Partner after the occurrence of an event specified in Section 8.2 or
     the removal of the General Partner pursuant to Section 5.9.



                                                 ARTICLE XII

                                             MISCELLANEOUS

                Section 12.1 Amendments.

             (a)    This Agreement may be amended only by the written consent of the General
     Partner and, except as otherwise provided in this Section 12.1, a Majority in Interest of the
     Limited Partners.

             (b)      Notwithstanding anything in this Section 12.1 to the contrary, no amendment will
     be valid as to any Limited Partner (including a Defaulting Partner) which (i) increases or
     decreases such Limited Partner's Commitment without the written consent of such Limited
     Partner or (ii) amends the provisions of this Section 12.1(b).

             (c)     Notwithstanding anything in this Section 12.1 to the contrary, no amendment will
     be valid as to any Limited Partner (including a Defaulting Partner) which alters (i) the provisions
     of Sections 2.3, 3.3, 4.1, 6.1, 8.3(c) or the provisions of this Section 12.1(c), (ii) the provisions of
     17461908                                         -64-




                                                                                                    Appx. 04084
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 827 of 867
                                                        Page 108 of 200 PageID 25320

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                   Page 140 of
                                             180


      Section 6.7(c) in a manner that increases a Limited Partner's potential obligations, or (iii) any
      other provision of this Agreement, in a manner adverse to such Limited Partner, without the
      written consent of such Limited Partner; provided, however, that with respect to clause (iii). if
      such Limited Partner is not treated differently in any material respect from any other Limited
      Partner then such amendment will be valid with on! y the written consent of the General Partner
      and the Limited Partners representing at least a Majority in Interest of the Limited Partners.

              (d)     Notwithstanding anything in this Section 12.1 to the contrary, no amendment will
      be valid as to any Limited Partner (including a Defaulting Partner), which alters the provisions of
      Sections 1.3, 5.4, 5.10, 5.11, 12.1 or any provision which requires the consent or vote of at least
      Two-Thirds in Interest of the Limited Partners without the written consent of the General Partner
      and at least Two-Thirds in Interest of the Limited Partners.

             (e)     Notwithstanding anything in this Section 12.1 to the contrary, no amendment
     which would alter the provisions of Sections 5.5, 6.6 and the provisions of this Section 12.1(e).
     or, with respect to Benefit Plan Investors, Sections 5.6, 12.1(e), and the provisions in Section
     5.15 relating to Benefit Plan Investors or the definitions of Benefit Plan Investor or Redemption
     Value, will be valid without the written consent of at least a Majority in Interest of the Limited
     Partners that are materially and adversely affected by such amendment (including Limited
     Partners whose direct or indirect beneficial owners would be so affected).

             (f)     Notwithstanding anything in this Section 12.1 to the contrary, no amendment will
     be valid as to any Limited Partner (including a Defaulting Partner), which alters any provision
     which requires the consent or vote of at least Seventy-Five Percent in Interest of the Limited
     Partners or the provisions of this Section 12.1 (f) without the written consent of the General
     Partner and at least Seventy-Five Percent in Interest of the Limited Partners.

             (g)    Notwithstanding anything in this Section 12.1 to the contrary, no amendment
     shall be made which would amend the provisions hereof relating to the rights of BHCA Partners
     without the consent of each BHCA Partner affected thereby.

             (h)     Notwithstanding anything in this Section 12.1 to the contrary, the General Partner
     may amend any provisions of this Agreement solely as it relates to a Limited Partner pursuant to
     one or more side letters with such Limited Partner without the consent of the Limited Partners
     not party to such side letters.

             (i)      In addition to any amendments or waivers otherwise authorized hereby, this
     Agreement may be amended from time to time by the General Partner without the consent of any
     of the Limited Partners (i) to add to the representations, duties or obligations of the General
     Partner or surrender any right or power (but not responsibilities) granted to the General Partner
     herein; (ii) to cure any ambiguity or correct any provisions hereof which may be inconsistent
     with any other provisions hereof, or correct any printing, stenographic or clerical errors or
     omissions; (iii) to admit one or more Additional Limited Partners, or withdraw one or more
     Limited Partners, in accordance with the terms of this Agreement, and (iv) with the consent of
     the Advisory Committee, to take such actions contemplated in Section 5.6(e) or avoid any
     material adverse consequences to the Partnership or the General Partner as a result of any change


     17461908                                       -65-




                                                                                               Appx. 04085
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 828 of 867
                                                        Page 109 of 200 PageID 25321

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                    Page 141 of
                                             180


      in law or interpretation of law applicable to a Regulated Investor. The General Partner shall
      promptly send each Limited Partner a copy of any amendment adopted pursuant to Section 12.1.

              Section 12.2 Successors. Except as otherwise provided herein, this Agreement will inure
      to the benefit of and be binding upon the Partners and their legal representatives, heirs,
      successors and assigns.

              Section 12.3 Governing Law; Severability. This Agreement will be construed in
      accordance with the laws of the State of Delaware and, to the maximum extent possible, in such
      manner as to comply with all the terms and conditions of the Delaware Partnership Act. If it is
      determined by a court of competent jurisdiction that any provision of this Agreement is invalid
      under applicable law, such provision will be ineffective only to the extent of such prohibition or
      invalidity, without invalidating the remainder of this Agreement.

              Section 12.4 Notices. All notices, demands and other communications to be given and
      delivered under or by reason of provisions under this Agreement will be in writing and will be
      deemed to have been given when personally delivered, sent by telecopy (with hard copy to
      follow by reputable overnight courier) or sent by reputable overnight courier service (charges
      prepaid) or mailed by first class mail (with a copy sent by telecopy) to the addresses or telecopy
      numbers set forth in Schedule 1 hereto or to such other address or telecopy number as has been
      indicated to all Partners.

                Section 12.5 Legal Counsel. Each Partner hereby agrees and acknowledges that:

             (a)    The law firm retained by the General Partner, the Partnership and any Parallel
     Vehicle or Separate Investment Entity (the "GP's Counsel") in connection with the formation of
     the Partnership, the offering of Limited Partner interests and the management and operation of
     the Partnership does not and will not represent the Limited Partners in connection with any such
     matter or in connection with any dispute which may arise between the Limited Partners on one
     hand and the General Partner, the Partnership and any Parallel Vehicle or Separate Investment
     Entity on the other (the "Partnership Legal Matters").

              (b)    Each Limited Partner will, if it wishes counsel on a Partnership Legal Matter,
     retain its own independent counsel with respect to each of the foregoing matters described in
     Section 12.5(a).

             (c)    Each Limited Partner hereby agrees that the GP's Counsel may represent (i) the
     General Partner and the Partnership and any Parallel Vehicle or Separate Investment Entity in
     connection with any and all Partnership Legal Matters (including any dispute between the
     General Partner and one or more Limited Partners, but excluding a Limited Partner's derivative
     action brought against the General Partner).

              Section 12.6 Miscellaneous. This document and the schedules, exhibits and side letter
     agreements between the Partnership and certain of the Limited Partners in connection herewith
     and the Subscription Agreements contain the entire Agreement among the parties and supersede
     all prior arrangements or understanding with respect thereto. Descriptive headings are for
     convenience only and will not control or affect the meaning or construction of any provision of
     this Agreement. This Agreement may be executed in any number of counterparts, any one of
     17461908                                        -66-




                                                                                               Appx. 04086
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 829 of 867
                                                        Page 110 of 200 PageID 25322

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                  Page 142 of
                                             180


      which need not contain the signatures of more than one party, but all of such counterparts
      together will constitute one agreement.


                               [Remainder of page intentionally left blank]




     17461908                                       -67-




                                                                                              Appx. 04087
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 830 of 867
                                                        Page 111 of 200 PageID 25323

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25                      Page 143 of
                                             180




               IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be signed as
        ofthe date first above written.




        17461908                                         High/anti Restoration Capiial Partners, L.P. -
                                                                    Agreement ofLimited Partnership




                                                                                                  Appx. 04088
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 831 of 867
                                                        Page 112 of 200 PageID 25324

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25           Page 144 of
                                             180


                                   LIMITED PARTNERS




      17461908                                     Highland Restoration Capital Partners, LP. -
                                                             Agreement of Limited Partnership




                                                                                       Appx. 04089
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 832 of 867
                                                        Page 113 of 200 PageID 25325

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25               Page 145 of
                                             180




                                          On behalf of each of the parties named above

                                          By: HIGHLAND RESTORATION CAPITAL
                                              PARTNERS GP, LLC as Attorney-in-Fact
                                              pursuant to Section 14 of each of the
                                              Subscription Agreements, dated April 18,
                                              2008, between each of the above named
                                              parties and Highland Restoration Capital
                                              Partners GP, LLC a      neral Partner of
                                                Hi    \    ""'""' C iW '"'"" LP.

                                          By:
                                                Name: James Dondero
                                                Title: President




         17461908                                    Highland Renoration Capital Partners, L.P. -
                                                               Agreement ofLimited Partnership




                                                                                           Appx. 04090
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 833 of 867
                                                        Page 114 of 200 PageID 25326

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 146 of
                                             180




                                                                              Appx. 04091
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 834 of 867
                                                        Page 115 of 200 PageID 25327

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 147 of
                                             180




                                                                              Appx. 04092
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 835 of 867
                                                        Page 116 of 200 PageID 25328

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 148 of
                                             180




                                                                              Appx. 04093
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                          Appendix
                                176-24
                                     Part 6
                                          Filed
                                              Page
                                                01/09/24
                                                    836 of 867
                                                           Page 117 of 200 PageID 25329
 Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25 Page 149 of
                                          180


                          AMENDED AND RESTATED
                    AGREEMENT OF LIMITED PARTNERSHIP
                                   OF
             HIGHLAND RESTORATION CAPITAL PARTNERS MASTER, L.P.


          THIS AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
  (this “Agreement”) is dated effective as of April 18, 2008 between Highland Restoration Capital
  Partners GP, LLC, a Delaware limited liability company (in its capacity as general partner of the
  Partnership, the “General Partner”), and the limited partners listed in Schedule 1 attached hereto
  (in their capacities as limited partners of the Partnership, the “Limited Partners”) (the General
  Partner and the Limited Partners being herein collectively called the “Partners”). Capitalized
  terms not otherwise defined shall have the meanings ascribed to such terms in Section 2.1(a).

         The General Partner and certain of the Limited Partners entered into an Agreement of
  Limited Partnership, dated as of November 15, 2007 (the “Original Agreement”). The parties
  hereto wish to amend and restate the Original Agreement in the manner set forth herein.



                                            ARTICLE I

                                    GENERAL PROVISIONS

         Section 1.1 Formation. The Partners hereby agree to form a limited partnership (the
  “Partnership”) pursuant to and in accordance with the Delaware Revised Uniform Limited
  Partnership Act (the “Delaware Partnership Act”).

         Section 1.2 Name. The name of the Partnership will be “Highland Restoration Capital
  Partners Master, L.P.” or such other name or names as the General Partner may from time to
  time designate. The General Partner will notify Limited Partners in writing of any change to the
  name of the Partnership.

          Section 1.3 Purpose. Subject to the express limitations set forth herein and in the
  Offshore Fund Agreement, the Partnership is organized for the object and purpose of (i)
  investing in senior secured bank loans, debt obligations, trade claims and equity securities of
  middle market Distressed Companies primarily based in the United States generally consistent
  with the investment strategy described in the Partnership’s Confidential Private Placement
  Memorandum, including, without limitation, privately placed or publicly traded debt securities
  and other debt obligations, senior and subordinated debt obligations, secured and unsecured debt
  obligations, privately placed or publicly traded equity securities including common stock,
  preferred stock and warrants, (ii) managing and monitoring such investments and (iii) engaging
  in such activities incidental or ancillary thereto and otherwise permitted by the Delaware
  Partnership Act as the General Partner deems necessary or advisable.

          Section 1.4 Place of Business. The Partnership will maintain offices and places of
  business at Two Galleria Tower, 13455 Noel Road, Dallas, TX 75240, or at such other place or
  places in the United States as the General Partner may from time to time designate; provided,
  17475136
                                                                                        Appx. 04094
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 837 of 867
                                                        Page 118 of 200 PageID 25330

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 150 of
                                             180




                                                                              Appx. 04095
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 838 of 867
                                                        Page 119 of 200 PageID 25331

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 151 of
                                             180




                                                                              Appx. 04096
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 839 of 867
                                                        Page 120 of 200 PageID 25332

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 152 of
                                             180




                                                                              Appx. 04097
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 840 of 867
                                                        Page 121 of 200 PageID 25333

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 153 of
                                             180




                                                                              Appx. 04098
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 841 of 867
                                                        Page 122 of 200 PageID 25334

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 154 of
                                             180




                                                                              Appx. 04099
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 842 of 867
                                                        Page 123 of 200 PageID 25335

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 155 of
                                             180




                                                                              Appx. 04100
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 843 of 867
                                                        Page 124 of 200 PageID 25336

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 156 of
                                             180




                                                                              Appx. 04101
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 844 of 867
                                                        Page 125 of 200 PageID 25337

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 157 of
                                             180




                                                                              Appx. 04102
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 845 of 867
                                                        Page 126 of 200 PageID 25338

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 158 of
                                             180




                                                                              Appx. 04103
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 846 of 867
                                                        Page 127 of 200 PageID 25339

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 159 of
                                             180




                                                                              Appx. 04104
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 847 of 867
                                                        Page 128 of 200 PageID 25340

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 160 of
                                             180




                                                                              Appx. 04105
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 848 of 867
                                                        Page 129 of 200 PageID 25341

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 161 of
                                             180




                                                                              Appx. 04106
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 849 of 867
                                                        Page 130 of 200 PageID 25342

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 162 of
                                             180




                                                                              Appx. 04107
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 850 of 867
                                                        Page 131 of 200 PageID 25343

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 163 of
                                             180




                                                                              Appx. 04108
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 851 of 867
                                                        Page 132 of 200 PageID 25344

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 164 of
                                             180




                                                                              Appx. 04109
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 852 of 867
                                                        Page 133 of 200 PageID 25345

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 165 of
                                             180




                                                                              Appx. 04110
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 853 of 867
                                                        Page 134 of 200 PageID 25346

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 166 of
                                             180




                                                                              Appx. 04111
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 854 of 867
                                                        Page 135 of 200 PageID 25347

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 167 of
                                             180




                                                                              Appx. 04112
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 855 of 867
                                                        Page 136 of 200 PageID 25348

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 168 of
                                             180




                                                                              Appx. 04113
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 856 of 867
                                                        Page 137 of 200 PageID 25349

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 169 of
                                             180




                                                                              Appx. 04114
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 857 of 867
                                                        Page 138 of 200 PageID 25350

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 170 of
                                             180




                                                                              Appx. 04115
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 858 of 867
                                                        Page 139 of 200 PageID 25351

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 171 of
                                             180




                                                                              Appx. 04116
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 859 of 867
                                                        Page 140 of 200 PageID 25352

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 172 of
                                             180




                                                                              Appx. 04117
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 860 of 867
                                                        Page 141 of 200 PageID 25353

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 173 of
                                             180




                                                                              Appx. 04118
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 861 of 867
                                                        Page 142 of 200 PageID 25354

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 174 of
                                             180




                                                                              Appx. 04119
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 862 of 867
                                                        Page 143 of 200 PageID 25355

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 175 of
                                             180




                                                                              Appx. 04120
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 863 of 867
                                                        Page 144 of 200 PageID 25356

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 176 of
                                             180




                                                                              Appx. 04121
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 864 of 867
                                                        Page 145 of 200 PageID 25357

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 177 of
                                             180




                                                                              Appx. 04122
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 865 of 867
                                                        Page 146 of 200 PageID 25358

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 178 of
                                             180




                                                                              Appx. 04123
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 866 of 867
                                                        Page 147 of 200 PageID 25359

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 179 of
                                             180




                                                                              Appx. 04124
   Case 21-03003-sgj Doc 135-6 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  Part 6
                                       Filed
                                           Page
                                             01/09/24
                                                 867 of 867
                                                        Page 148 of 200 PageID 25360

    Case 19-34054-sgj11 Doc 474-7 Filed 02/24/20 Entered 02/24/20 17:25:25   Page 180 of
                                             180




                                                                              Appx. 04125
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                          Appendix
                              176-24
                                   PartFiled
                                        7 Page
                                             01/09/24
                                                  1 of 610
                                                        Page 149 of 200 PageID 25361




                             EXHIBIT 202




                                                                      Appx. 04126
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X DocumentAppendix
                                  176-24
                                       PartFiled
                                            7 Page
                                                 01/09/24
                                                      2 of 610
                                                            Page 150 of 200 PageID 25362
Case 19-34054-sgj11 Doc 487 Filed 03/02/20 Entered 03/02/20 12:10:30
                                                              Docket #0487Page
                                                                           Date 1  of 14
                                                                                Filed: 03/02/2020




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                            )
     In re:                                                 )     Chapter 11
                                                            )
     HIGHLAND CAPITAL MANAGEMENT,                           )     Case No. 19-34054-sgj11
     L.P., 1                                                )
              Debtor.                                       )
                                                            )     Docket Ref. No. 474
                                                            )

                       OBJECTION OF THE OFFICIAL
        COMMITTEE OF UNSECURED CREDITORS TO THE MOTION OF THE
      DEBTOR FOR ENTRY OF AN ORDER AUTHORIZING, BUT NOT DIRECTING,
     THE DEBTOR TO CAUSE DISTRIBUTIONS TO CERTAIN “RELATED ENTITIES”

          The official committee of unsecured creditors (the “Committee”) of Highland Capital

 Management, L.P. (the “Debtor”), hereby submits this objection (this “Objection”) to the Motion

 of the Debtor for Entry of an Order Authorizing, But Not Directing, the Debtor to Cause

 Distributions to Certain “Related Entities” [Docket No.474] (the “Distribution Motion”). 2 In

 support of this Objection, the Committee respectfully states as follows:

                                     PRELIMINARY STATEMENT

          1.        The Committee’s objection focuses on a very limited portion of the transaction

 currently proposed by the Debtor – namely, proposed distributions of approximately $8.6 million

 (the “Proposed Insider Distributions”) to several insiders who not only owe money to the Debtor

 but also may be the target of avoidance and other litigation brought by the Committee on behalf


 1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
      address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
 2
      All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
      Distribution Motion.




 ACTIVE 254067557
                                                                          ¨1¤}HV4#"                  "o«
                                                                              1934054200302000000000002
                                                                                                         Appx. 04127
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                            Appendix
                                 176-24
                                      PartFiled
                                           7 Page
                                                01/09/24
                                                     3 of 610
                                                           Page 151 of 200 PageID 25363
 Case 19-34054-sgj11 Doc 487 Filed 03/02/20 Entered 03/02/20 12:10:30 Page 2 of 14



  of the Debtor’s estate - Mark Okada and two entities owned and/or controlled by James Dondero

  and/or Mark Okada (such entities, together with Messrs. Dondero and Okada, the “Insider

  Parties”). As this Court is aware, Messrs. Dondero and Okada owned and controlled the Debtor

  for most of the past 30 years. During that time, the Debtor repeatedly breached fiduciary duties

  and contractual obligations, leading to hundreds of millions of dollars in judgments against the

  Debtor and certain affiliates. The Committee is currently investigating a variety of significant

  potential estate claims against the Insider Parties. For example, certain of the interests held by the

  Insider Parties, which form the basis for a portion of the Proposed Insider Distributions, were once

  owned by the Debtor – the Committee is investigating, among other things, the propriety of the

  transfers of these interests from the Debtor to the Insider Parties. In addition, Messrs. Dondero

  and Okada currently owe the Debtor over $10.6 million in demand notes and another Insider Party

  owes the Debtor nearly $7.5 million in notes receivable, some of which also are demand notes. In

  light of these and other potential claims, which are only now the subject of review by a party other

  than the Debtor, the Committee believes the Proposed Insider Distributions to the Insider Parties

  should be reserved in segregated accounts pending resolution of the issues under investigation by

  the Committee and repayment of all amounts owed to the Debtor by the Insider Parties.

          2.       This Court’s order granting the relief requested by the Committee would shield the

  Debtor from any purported legal risks associated with withholding the Proposed Insider

  Distributions. Similarly, the Debtor and Independent Board would not breach their fiduciary duties

  by complying with this Court’s order to withhold the Proposed Insider Distributions. 3




  3
   Even absent court order, the Committee is highly skeptical of the legal merit of any such legal claims by Messrs.
  Dondero and Okada and related damages for any alleged breach of contract and/or fiduciary duty by the Debtor.


                                                          2
                                                                                                       Appx. 04128
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                            Appendix
                                 176-24
                                      PartFiled
                                           7 Page
                                                01/09/24
                                                     4 of 610
                                                           Page 152 of 200 PageID 25364
 Case 19-34054-sgj11 Doc 487 Filed 03/02/20 Entered 03/02/20 12:10:30 Page 3 of 14



         3.      Temporarily withholding and segregating the proposed distributions would greatly

  facilitate the Debtor’s interests while causing little harm to the Insider Parties. It would facilitate

  repayment of over $18 million in notes payable to the Debtor by the Insider Parties. Moreover,

  delay in the distribution will allow the Committee an adequate opportunity to investigate potential

  estate claims against the Insider Parties, including claims arising from the very transactions

  pursuant to which the Debtor transferred certain of the interests at issue to such parties.

         4.      While the Debtor and Independent Board have taken the position that they cannot

  affirmatively seek this relief, clearly both should be supportive of this outcome which preserves

  claims of the Debtor’s estate and a ready source of recovery for the outstanding demand notes.

  Moreover, the Proposed Insider Distributions will be temporarily placed in segregated, interest

  bearing accounts, compensating the Insider Parties for any material injury from the mere passage

  of time. To the extent Messrs. Dondero and Okada believe they would incur additional harm of

  which the Committee is not aware, they – not the Debtor – should bring those concerns directly to

  this Court.

                                             OBJECTION

         5.      Through the Distribution Motion, the Debtor seeks authority to make redemption

  payments and other distributions to investors in certain funds managed by the Debtor. Specifically,

  as part of the Debtor’s plan to distribute (i) approximately $123.25 million to investors of RCP,

  (ii) $21.8 million to investors of AROF in connection with the wind up of such fund, and (iii) $34.8

  million to investors in Dynamic in connection with the wind up of such fund – the Debtor seeks

  authority for some of the foregoing distributions to be made to the Insider Parties. Of the almost

  $180 million in distributions, the Committee only objects to the distribution of a total of $8.6

  million to be distributed to three Insider Parties. Specifically, the Committee objects to the request



                                                    3
                                                                                             Appx. 04129
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                            Appendix
                                 176-24PartFiled
                                            7 Page
                                                 01/09/24
                                                      5 of 610
                                                            Page 153 of 200 PageID 25365
 Case 19-34054-sgj11 Doc 487 Filed 03/02/20 Entered 03/02/20 12:10:30 Page 4 of 14



 to make distributions to Mark Okada, Highland Capital Management Services, Inc. (“HCM

 Services,” owned by James Dondero, and Mark Okada), and CLO Holdco Ltd. (“CLOH”). 4 To

 be clear, the Committee does not object to the Debtor’s orderly liquidation of Dynamic or AROF,

 or to the distributions from AROF, Dynamic, and RCP to any third-party, non-affiliated investors.

 However, in light of the significant amounts of money owed to the Debtor by Mr. Okada, Mr.

 Dondero and HCM Services, the Committee’s ongoing investigation of the Debtor’s insiders and

 related entities (including with respect to the propriety of how the Insider Parties obtained the

 interests which form the basis of the Proposed Insider Distributions (such interests, the “Insider

 Interests”)), and the well-documented fraudulent and improper activities engaged in by the

 Debtor’s insiders, the Committee requests that the Court order the Debtor to hold the Proposed

 Insider Distributions in a reserve for a limited period of time.

     I.        The Proposed Insider Distributions Should Be Reserved Pending the Repayment
               of Insiders Parties’ Obligations Owed to the Debtor and the Committee
               Investigation

          6.      Through the Distribution Motion, the Debtor seeks to make the following Proposed

 Insider Distributions:

           Investor                       Distribution Amount                      Fund
           CLO HoldCo, Ltd.                                $872,000                AROF
           CLO HoldCo, Ltd.                              $1,521,000                Dynamic
           Mark Okada                                    $4,185,000                Dynamic
           Highland Capital Management                   $2,085,000                RCP
           Services, Inc.
                                    Total                $8,663,000

 These Proposed Insider Distributions are a small portion of the $180 million to be distributed from

 Dynamic, AROF and RCP.



 4
  The Distribution Motion also seeks authority to make distributions to Highland Dynamic Income Fund GP, LLC.
 The Committee does not object to such distribution.


                                                      4
                                                                                                 Appx. 04130
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                            Appendix
                                 176-24
                                      PartFiled
                                           7 Page
                                                01/09/24
                                                     6 of 610
                                                           Page 154 of 200 PageID 25366
 Case 19-34054-sgj11 Doc 487 Filed 03/02/20 Entered 03/02/20 12:10:30 Page 5 of 14



  The Insider Parties Owe the Debtor Money

          7.      It is undisputed that James Dondero, Mark Okada, and HCM Services owe the

  Debtor significant amounts of money. The Debtor’s schedule of assets and liabilities [Docket No.

  247] discloses that, as of the Petition Date, the Debtor holds notes receivable from (i) James

  Dondero, in the principle amount of $9,334,012 (the “Dondero Note”) 5; (ii) HCM Services in the

  aggregate principle amount of $7,482,480.88 (the “HCM Services Notes”), and (iii) Mark Okada,

  in the principle amount of $1,336,287.84 (the “Okada Note”, and with the Dondero Note and the

  HCM Services Notes, the “Notes”). The Dondero Note, the Okada Note, and four of the five HCM

  Services Notes are demand notes, payable upon the request of the Debtor. These Notes should be

  repaid before the Debtor makes any distributions to these insiders.

  The Insider Parties Have Engaged in a Pattern of Fraudulent Activities to the Detriment of
  Creditors

          8.      Further, as this Court is well-aware, the Debtor has a documented history of

  engaging in misconduct, breaches of fiduciary duty and fraudulent transactions in multiple

  settings, which ultimately led to the commencement of this bankruptcy case. At all relevant times,

  Mr. Dondero and Mr. Okada, as co-founders and executive officers, managed and controlled the

  Debtor and were ultimately responsible for the Debtor’s pattern of misconduct, breaches of

  fiduciary duty and fraudulent activities.

          9.      As examples of the extensive misconduct, in 2014, the Securities and Exchange

  Commission (“SEC”) determined (i) that the Debtor knowingly engaged in multiple transactions

  with its client advisory accounts without disclosing that the Debtor was acting as principal, or

  obtaining client consent, before the trades were completed, and (ii) that the debtor failed to


  5
   The Dondero Note is in addition to $18.3 million owed to the Debtor under a demand note made by The Dugaboy
  Investment Trust, of which Mr. Dondero is a beneficiary.


                                                        5
                                                                                                   Appx. 04131
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                            Appendix
                                 176-24PartFiled
                                            7 Page
                                                 01/09/24
                                                      7 of 610
                                                            Page 155 of 200 PageID 25367
 Case 19-34054-sgj11 Doc 487 Filed 03/02/20 Entered 03/02/20 12:10:30 Page 6 of 14



 maintain sufficient documentation with respect to certain transactions. See SEC Order ¶¶ 6-7, In

 the Matter of Highland Capital Mgmt., L.P., File No. 3-16169 [Docket No. 130. Ex. A]. As

 established in the Redeemer Committee litigation, the Debtor, under the control of Mr. Dondero

 and Mr. Okada, was found to have covertly and improperly taken $32.3 million in cash out of the

 a fund for which the Debtor acted as investment manager (the “Crusader Fund”), and was found

 to have made decisions with the “willful intent” to benefit itself and not the parties to whom the

 Debtor owed fiduciary duties. An arbitration panel unanimously found that the Debtor, Mr.

 Dondero, and Highland’s in-house lawyers violated their fiduciary duties to the Crusader Fund,

 engaged in willful misconduct, self-dealing, and secrecy, and made multiple misrepresentations to

 the Crusader Fund’s investors as well as the Debtor’s auditors.

        10.     In the Acis Capital Management bankruptcy case, this Court found that there was

 a “legitimate prospect” that the Debtor “would continue dismantling [Acis], to the detriment of

 [Acis] creditors.” In re Acis Capital Mgmt., L.P., 584 B.R. 115, 147, 149 (Bankr. N.D. Tex. 2018).

 Following an arbitration award against Acis, Mr. Dondero and other members of the Debtor’s

 management transferred tens of millions of dollars in assets out of Acis into newly-formed Cayman

 Islands-based Highland affiliates. Id. at 127-130. This Court ultimately concluded that the “record

 contain[ed] substantial evidence of both intentional and constructive fraudulent transfers,” and

 “[t]he numerous prepetition transfers that occurred around the time of and after the Terry

 Arbitration Award appear[ed] more likely than not to have been made to deprive the Debtor-Acis

 of value and with the actual intent to hinder, delay, or defraud the Debtors’ creditors.” See In re

 Acis Capital Mgmt., L.P., No. 18-30264, 2019 WL 417149, at *11 (Bankr. N.D. Tex. Jan. 31,

 2019), aff’d 604 B.R. 484 (N.D. Tex. 2019). In both the Acis bankruptcy case and the Crusader

 Fund arbitration, the Debtor’s management were found to have manufactured dishonest and



                                                 6
                                                                                         Appx. 04132
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                            Appendix
                                 176-24PartFiled
                                            7 Page
                                                 01/09/24
                                                      8 of 610
                                                            Page 156 of 200 PageID 25368
 Case 19-34054-sgj11 Doc 487 Filed 03/02/20 Entered 03/02/20 12:10:30 Page 7 of 14



 illegitimate defenses and provided unreliable and incredible testimony regarding the Debtor’s

 actions.

          11.       Each of the Insider Parties are closely affiliated with Mr. Dondero and/or the

 fraudulent actions that led the Debtor to bankruptcy:

                •   Mark Okada: Mr. Okada is the co-founder of the Debtor, and was the Chief
                    Investment Officer until shortly before the commencement of this chapter 11 case.
                    As Chief Investment Officer, Mr. Okada was responsible for overseeing the
                    Debtor’s investment activities across all investment platforms. Mr. Okada was an
                    executive officer of the Debtor (i) when the Debtor was found by the SEC to have
                    engaged in wrongful transactions without disclosing important information to
                    clients, (ii) when the Debtor stripped Acis of its assets – CLO portfolio management
                    contracts – and transferred to them a newly formed Cayman entity, and (iii) when
                    the Debtor engaged in misconduct and breached fiduciary duties with respect to the
                    Crusader Fund. Mr. Okada was the beneficial owner of 25% of Acis Capital
                    Management, L.P. when Mr. Dondero and the Debtor transferred assets away from
                    Acis, and this Court found that Mr. Dondero and Mr. Okada were the individuals
                    making decisions for Highland CLO Funding Ltd. (“HCLOF Guernsey”) in
                    connection with the events leading to the Acis bankruptcy litigation. 6

                •   HCM Services – As the Debtor disclosed, HCM Services is owned 75% by Mr.
                    Dondero and 25% by Mr. Okada. HCM Services appears to have received its
                    interests in RCP from the Debtor, but the circumstances of such transaction have
                    yet to be fully investigated by the Committee. HCM Services owes the Debtor
                    $7,482,481, of which $900,000 is payable on demand. The Committee understands
                    that Mr. Dondero remains in complete control of HCM Services.

                •   CLOH – CLOH is an entity owned by Charitable DAF Fund, LP (the “DAF”),
                    which was seeded with contributions from the Debtor; the consideration for such
                    contributions has yet to be fully investigated by the Committee. The DAF is
                    managed and advised by the Debtor, and its trustee is a long-time friend of Mr.
                    Dondero. 7 The trustee for the DAF has also served as trustee for The Get Good
                    Trust, The Dugaboy Investment Trust, and the SLHC Trust, of which Mr. Dondero

 6
   In re Acis Capital Management, L.P., 2019 WL 417149, at *7, *9 (Bankr. N.D. Tex. January 31, 2019) (observing
 (i) that Mr. Okada owed 25% of Acis until the day after Mr. Terry obtained his arbitration judgement against Acis, at
 which point Mr. Okada conveyed his interests in Acis to Neutra, Ltd. for no consideration, and that (ii) Mr. Dondero,
 Mr. Okada, and another Highland employee made decisions for HCLOF Guernsey regarding the optional redemptions
 of the Acis CLOs).
 7
   See In re Acis Capital Management, L.P., 2019 WL 417149, at *6 (Bankr. N.D. Tex. January 31, 2019) (noting
 that one of the three equity owners of HCLOF Guernsey was the DAF, which was “seeded with contributions from
 Highland, is managed/advised by Highland, and whose independent trustee is a long-time friend of Highland’s
 chief executive officer, Mr. Dondero” (emphasis in original)).


                                                          7
                                                                                                         Appx. 04133
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                            Appendix
                                 176-24
                                      PartFiled
                                           7 Page
                                                01/09/24
                                                     9 of 610
                                                           Page 157 of 200 PageID 25369
 Case 19-34054-sgj11 Doc 487 Filed 03/02/20 Entered 03/02/20 12:10:30 Page 8 of 14



                 is a beneficiary. The Distribution Motion discloses that the interests in Dynamic
                 currently held by CLOH were originally held by the Debtor, and were transferred
                 to The Get Good Nonexempt Trust, in exchange for Get Good’s interest in a
                 promissory note made by The Dugaboy Investment Trust, and then from Get Good
                 to Mr. Dondero’s Highland Dallas Foundation, Inc. and then to CLOH. The
                 Distribution Motion does not disclose how or when CLOH obtained its interests in
                 AROF. The Committee is investigating CLOH’s relationship to and transactions
                 with Mr. Dondero and other entities controlled by or otherwise benefitting Mr.
                 Dondero.

  The Committee is Investigating Claims Against the Insider Parties, Including Transfers the
  Transfers of the Insider Interest

         12.     Pursuant to the Term Sheet outlining the agreement between the Debtor and the

  Committee, the Committee has standing to pursue any and all estate claims and causes of action

  against Mr. Dondero, Mr. Okada, other insiders of the Debtor and the Debtor’s related entities

  (which include the DAF and CLOH), “including any promissory notes held by any of the

  foregoing.” [Docket No. 354] This part of the settlement with the Debtor was a critical component

  of the Committee’s agreement to the governance structure in lieu of seeking appointment of a

  chapter 11 trustee. The Committee has begun its investigation and served document production

  requests to the Debtor. Among other claims and causes of action, the Committee is investigating

  potential preferential transfers, fraudulent transfers, breaches of fiduciary duties, usurpation of

  corporate opportunities, misappropriation of assets, and abuses of the corporate form. The

  Committee’s investigation includes fully exploring the circumstances and transactions through

  which HCM Services, CLOH and Mr. Okada obtained the Insider Interests.

         13.     The Debtor’s history of self-dealing and improper or fraudulent activities suggests

  that the Committee’s investigation is likely to uncover similar inappropriate activities with respect

  to the Debtor’s assets, including the Insider Interests. The Debtor’s statements of financial affairs

  [Docket No. 248] disclosed that the Debtor made significant payments to affiliates through

  purported intercompany funding and affiliate loans in the 90 days prior to the filing date, along


                                                   8
                                                                                           Appx. 04134
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                           Appendix
                                 176-24
                                      PartFiled
                                          7 Page01/09/24
                                                    10 of 610
                                                           Page 158 of 200 PageID 25370
 Case 19-34054-sgj11 Doc 487 Filed 03/02/20 Entered 03/02/20 12:10:30 Page 9 of 14



  with significant other insider transfers in the one year before the filing date (including very large

  expense reimbursement payments to Mr. Dondero). The Committee must have the opportunity to

  fully investigate the insider and affiliate transactions, including those that gave rise to the Insider

  Interests, that may be the subject of valuable estate causes of action before transactions distributing

  funds to those same insiders and affiliates can be consummated.

         14.     This is all the more true because the evidence is that, even during this bankruptcy

  case, Mr. Dondero continues to engage in secretive and potentially improper transactions. The

  Distribution Motion fails to highlight that the MGM Sale was negotiated by Mr. Dondero without

  the knowledge or approval of Debtor’s counsel or the Debtor’s financial advisors. Specifically, at

  the very same time that the Debtor’s counsel and financial advisors were attempting to persuade

  the Committee to approve certain transactions with respect to RCP, Mr. Dondero, unbeknownst to

  any Debtor professional, committed the Debtor to executing the MGM Sale. The Independent

  Directors, the Debtor’s counsel and the Debtor’s CRO and financial advisors were not made aware

  of the MGM Sale until two months after Mr. Dondero allegedly committed to the transaction on

  behalf of the Debtor. While the Committee has decided not to object to the MGM Sale itself

  (based, in significant part, on feedback from the Independent Board regarding its concern about

  the alleged binding nature of Mr. Dondero’s secretive agreement with MGM), the circumstances

  surrounding Mr. Dondero’s negotiation of and entry into the transaction are alarming at best, and

  the Committee has not waived any rights to fully investigate that transaction and any related

  potential causes of action against Mr. Dondero or others.

         15.     In addition to its concern that some or all of the Proposed Insider Distributions may

  be on account of otherwise avoidable transactions, based upon the Interested Parties’ long history

  of transferring assets and taking other actions to hinder, delay, and defraud creditors, the



                                                    9
                                                                                             Appx. 04135
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                          Appendix
                                176-24
                                     PartFiled
                                          7 Page
                                               01/09/24
                                                   11 of 610
                                                          Page 159 of 200 PageID 25371
Case 19-34054-sgj11 Doc 487 Filed 03/02/20 Entered 03/02/20 12:10:30 Page 10 of 14



  Committee is also seriously concerned that the Insider Parties will swiftly place these distributions

  out of reach of the Debtor’s estate while refusing to satisfy their obligations to the Debtor. Such

  actions would jeopardize the estate’s ability to recover amounts owed to it and any future

  judgments against the Insider Parties, and would waste estate resources by forcing the Debtor to

  incur additional litigation costs to recover such debts and judgments.

     II.         The Court Has Authority to Direct the Debtor to Withhold the Proposed Insider
                 Distributions

           16.      The Court “may issue any order, process, or judgment that is necessary or

  appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a). “Courts

  interpret Section 105 liberally.” King Louie Mining, LLC v. Comu (In re Comu), Nos. 09-38820-

  SGJ-7, 10-03269-SGJ, 2014 Bankr. LEXIS 2969, at *264 (Bankr. N.D. Tex. July 8, 2014)

  (citing Momentum Mfg. Corp. v. Employee Creditors Committee (In re Momentum Mfg. Corp.),

  25 F.3d 1132, 1136 (2d Cir. 1994)). While the Supreme Court has found that section 105(a) does

  not give the bankruptcy court the ability to take any actions explicitly prohibited by another

  provision of the Bankruptcy Code, it does grant “extensive equitable powers that bankruptcy

  courts need in order to be able to perform their statutory duties.” Caesars Entm't Operating Co.

  v. BOKF, N.A. (In re Caesars Entm't Operating Co.), 808 F.3d 1186, 1188 (7th Cir. 2015) (citing

  Law v. Siegel, 571 U.S. 415, 420 (2014). Section 105 has been the source of authority for courts

  to, among other things, enjoin third parties, substantively consolidate non-debtors, and extend the

  automatic stay. See e.g., Celotex Corp. v. Edwards, 514 U.S. 300, 303 (1995) (holding that an

  injunction issued under § 105 was an appropriate use of the court’s powers); Alexander v. Compton

  (In re Bonham), 229 F.3d 750, 769 (9th Cir. 2000) (holding that the court’s power to substantively

  consolidate non-debtors was found in § 105); In re DeLorean Motor Co., 755 F.2d 1223, 1230




                                                   10
                                                                                           Appx. 04136
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                           Appendix
                                 176-24
                                     PartFiled
                                          7 Page
                                               01/09/24
                                                   12 of 610
                                                          Page 160 of 200 PageID 25372
Case 19-34054-sgj11 Doc 487 Filed 03/02/20 Entered 03/02/20 12:10:30 Page 11 of 14



 (6th Cir. 1985) (holding that a preliminary injunction issued to bar distributions from a non-debtor

 to third parties was an appropriate use of the court’s equitable power under § 105).

        17.     Temporarily withholding the Proposed Insider Distributions and placing the

 corresponding funds in segregated accounts is well within the authority of this Court under section

 105 of the Bankruptcy Code. The Insider Parties are current and former affiliates and/or insiders

 of the Debtor and creditors of the Debtor. The order requested by the Committee will allow full

 investigation of the claims and causes of action against the Insider Parties that was integral to the

 settlement approved by this Court in connection with approval of the Term Sheet. Furthermore,

 the Committee submits (and the Debtor has not asserted otherwise) that the relief sought by the

 Committee would not violate any explicit or implicit requirements of the Bankruptcy Code.

 Therefore, the Court need only consider the equitable nature of the relief that the Committee seeks,

 and its appropriateness in the context of furthering the goals of this bankruptcy. See In re Caesars

 Entm't Operating Co., 808 F.3d at 1188.

        18.     The equitable argument for temporarily withholding the Proposed Insider

 Distributions and segregating such funds is straightforward. These actions merely maintain the

 status quo. The Committee is not requesting that the Debtor effectuate a set-off or take possession

 of the Proposed Insider Distribution. No party has asserted that any economic harm (much less

 any significant harm) will be done to the Insider Parties by holding the Proposed Insider

 Distributions in segregated interest bearing accounts pending further order of this Court. On the

 other hand, the withholding of the Proposed Insider Distributions (and the resulting leverage that

 creates against the Insider Parties) may be the only chance for the Debtor to receive any value for

 the amounts it is owed (or potentially owed) by the Insider Parties or obtaining redress for

 fraudulent or improper transactions involving those parties, including with respect to the Insider



                                                  11
                                                                                          Appx. 04137
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                          Appendix
                                176-24
                                     PartFiled
                                          7 Page
                                               01/09/24
                                                   13 of 610
                                                          Page 161 of 200 PageID 25373
Case 19-34054-sgj11 Doc 487 Filed 03/02/20 Entered 03/02/20 12:10:30 Page 12 of 14



  Interest. As set forth above, the Insider Parties and the persons controlling them have repeatedly

  engaged in schemes and other behavior designed to evade creditors. It should not surprise this

  Court to learn that, after making demand for payment on the demand note from Mr. Okada as of

  February 13th at the urging of the Committee, the Debtor still has yet to receive any payment from

  Mr. Okada. Absent approval of the Committee’s request, the Debtor’s efforts to collect from the

  Insider Parties may be extremely cost intensive and time-consuming. It is fair and equitable for

  this Court to temporarily prevent money from flowing to the Insider Parties in order to facilitate

  the Debtor’s efforts to recover amounts owed to it. Furthermore, the Committee should be given

  the opportunity to investigate the propriety of the Debtor’s transfers of its interests in the

  underlying funds to the Insider Parties, including the Insider Interests. Maintaining the status quo

  until the Committee has investigated those transfers is fair and equitable and falls well within this

  Court’s authority under section 105.

         19.     Moreover, the relief sought by the Committee would further the goals of this

  bankruptcy case and would allow the Debtor to fulfill its duties to creditors by maximizing the

  value of the estate. The Debtor contends, and the Committee does not disagree, that the Debtor

  has certain contractual and fiduciary duties to the investors in the funds that it manages. The

  Debtor asserts that those duties compelled the Debtor to file the Distribution Motion. Distribution

  Motion ¶ 7. The Debtor also has duties to its creditors, however, and the Committee, for the

  reasons set forth above, asserts that such duties require the Debtor to avoid making the Proposed

  Insider Distributions at this time. Filing the Distribution Motion should fulfill any duties the

  Debtor may have to the Insider Parties in respect of the Proposed Insider Distributions. An order

  from this Court providing that the Proposed Insider Distributions should be temporarily withheld




                                                   12
                                                                                           Appx. 04138
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                          Appendix
                                176-24
                                     PartFiled
                                          7 Page
                                               01/09/24
                                                   14 of 610
                                                          Page 162 of 200 PageID 25374
Case 19-34054-sgj11 Doc 487 Filed 03/02/20 Entered 03/02/20 12:10:30 Page 13 of 14



  and segregated fully addresses any conflict of duties the Debtor otherwise may have, and would

  allow the Debtor to more effectively carry out its duty to maximize the value of the estate.

         20.     Accordingly, the Committee believes that the Court should order the Debtor to

  withhold and segregate the Proposed Insider Distributions until (i) the Insider Parties repay the

  Notes that are currently due and payable and (ii) the Committee has an opportunity to fully

  investigate estate causes of action against such Insider Parties. The Committee does not propose

  that the Debtor effectuate a setoff or take possession of the Proposed Insider Distributions; rather

  the Committee requests that the Court order the Debtor to segregate and hold the Proposed Insider

  Distributions in reserve for a limited period of time in order to avoid the significant prejudice to

  the estate in allowing cash distributions to be paid to Insider Parties and beneficiaries that owe the

  Debtor money, and then forcing the estate to spend resources recovering assets from these parties.

                             [Remainder of Page Intentionally Left Blank]




                                                   13
                                                                                            Appx. 04139
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                          Appendix
                                176-24
                                     PartFiled
                                          7 Page
                                               01/09/24
                                                   15 of 610
                                                          Page 163 of 200 PageID 25375
Case 19-34054-sgj11 Doc 487 Filed 03/02/20 Entered 03/02/20 12:10:30 Page 14 of 14



         WHEREFORE, the Committee respectfully requests that the Court deny the Distribution

  Motion and direct the Debtor to hold the Proposed Insider Distributions in segregated interest

  bearing accounts pending further order of the Court.


   Dated: March 2, 2020                      SIDLEY AUSTIN LLP
          Dallas, Texas                      /s/ Juliana Hoffman
                                             Penny P. Reid
                                             Paige Holden Montgomery
                                             Juliana L. Hoffman
                                             2021 McKinney Avenue
                                             Suite 2000
                                             Dallas, Texas 74201
                                             Telephone: (214) 981-3300
                                             Facsimile: (214) 981-3400

                                                      -and-

                                             Bojan Guzina (admitted pro hac vice)
                                             Matthew A. Clemente (admitted pro hac vice)
                                             Dennis M. Twomey (admitted pro hac vice)
                                             Alyssa Russell (admitted pro hac vice)
                                             One South Dearborn Street
                                             Chicago, Illinois 60603
                                             Telephone: (312) 853-7000
                                             Facsimile: (312) 853-7036


                                             COUNSEL FOR THE OFFICIAL COMMITTEE OF
                                             UNSECURED CREDITORS




                                                 14
                                                                                     Appx. 04140
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                16 of 610
                                                       Page 164 of 200 PageID 25376




                             EXHIBIT 203




                                                                     Appx. 04141
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                17 of 610
                                                       Page 165 of 200 PageID 25377
Case 19-34054-sgj11 Doc 489 Filed 03/02/20                    Entered 03/02/20Docket
                                                                              12:19:12
                                                                                     #0489 Page   1 of 903/02/2020
                                                                                            Date Filed:




 Rakhee V. Patel – State Bar No. 00797213                Brian P. Shaw – State Bar No. 24053473
 Phillip Lamberson – State Bar No. 00794134              ROGGE DUNN GROUP, PC
 Annmarie Chiarello – State Bar No. 24097496             500 N. Akard Street, Suite 1900
 WINSTEAD PC                                             Dallas, Texas 75201
 500 Winstead Building                                   Telephone: (214) 888-5000
 2728 N. Harwood Street                                  Facsimile: (214) 220-3833
 Dallas, Texas 75201                                     shaw@roggedunngroup.com
 Telephone: (214) 745-5400
 Facsimile: (214) 745-5390
 rpatel@winstead.com
 plamberson@winstead.com
 achiarello@winstead.com

 COUNSEL FOR ACIS CAPITAL MANAGEMENT,
 L.P AND ACIS CAPITAL MANAGEMENT GP,
 LLC

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 IN RE:                                                   §
                                                          §             CASE NO. 19-34054
 HIGHLAND CAPITAL MANAGEMENT,                             §
 L.P.,                                                    §
                                                          §
                  DEBTOR.                                 §             Chapter 11

       JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL
      MANAGEMENT GP, LLC TO THE COMMITTEE'S OBJECTION TO THE
     MOTION OF THE DEBTOR FOR ENTRY OF AN ORDER AUTHORIZING, BUT
     NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO CERTAIN
             "RELATED ENTITIES," AND COMMENT TO THE SAME

         Acis Capital Management, L.P. ("Acis LP") and Acis Capital Management GP, LLC

 ("Acis GP," together with Acis LP, "Acis") file this joinder (this "Joinder") to the Committee's

 objection (the "Objection") to the Motion of the Debtor for an Order Authorizing, but not

 Directing, the Debtor to Cause Distributions to Certain "Related Entities" [Docket No. 474] (the

 "Distribution Motion") and comment to the Distribution Motion, and respectfully state as

 follows:1


 1
  Any capitalized term not otherwise defined in this Joinder shall have the meaning ascribed to such term in the
 Objection.
 JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
 TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN

 CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                     ¨1¤}HV4#"
 ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
                                                                        Page 1 of 9
                                                           1934054200302000000000004
                                                                                                                   $$«
                                                                                                        Appx. 04142
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                18 of 610
                                                       Page 166 of 200 PageID 25378
   Case 19-34054-sgj11 Doc 489 Filed 03/02/20             Entered 03/02/20 12:19:12         Page 2 of 9



                                          I.   INTRODUCTION

          1.      Acis wants the Court to know the whole story. After the Debtor filed for

   bankruptcy—and after the Debtor filed its initial motion to approve protocols for certain

   "ordinary course" transactions—James Dondero purportedly entered into a rogue oral trade of

   $123.25 million in thinly-traded stock of MGM, a private company of which Dondero is on the

   board of directors, and thus privy to unique information. Upon information and belief, Dondero

   did so unbeknownst to Debtor’s bankruptcy counsel or the newly-installed chief restructuring

   officer and his staff; however, there is a question whether Debtor's in-house legal team was

   aware of Dondero's actions. Like so many prior transactions, Dondero was on both sides of the

   deal. To make things worse, after the purported oral trade, MGM's stock price appreciated

   significantly in value. Moreover, other Dondero-controlled entities have not sold their pro-rata

   positions in MGM, calling into question why doing so for this Debtor-controlled fund was in the

   various stakeholders’ best interests, and consequently in the estate's best interests.

          2.      While the Committee did not ultimately object to the underlying transaction, Acis

   objected in the strongest terms. This was not an "ordinary course" transaction, and much is to be

   learned about the circumstances surrounding Dondero's purported $123.25 million oral trade.

   Even if the trade really happened and was proper, it does not reflect sound business judgment for

   the Debtor to allow millions of dollars go out the door to insiders when those same insiders will

   likely owe much, much more to the estate. Rather than authorizing the Debtor to reward

   Dondero and other insiders for his misfeasance, the Court should sustain the Committee's

   Objection.




   JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
   TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
   ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
   CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 2 of 9

                                                                                              Appx. 04143
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                19 of 610
                                                       Page 167 of 200 PageID 25379
   Case 19-34054-sgj11 Doc 489 Filed 03/02/20                     Entered 03/02/20 12:19:12               Page 3 of 9



                                             II.    RELEVANT FACTS

            3.       On October 16, 2019, the Debtor filed the above-captioned bankruptcy case (this

   "Bankruptcy Case").

            4.       On October 24, 2019, the Debtor filed its Precautionary Motion of the Debtor for

   Order Approving Protocols for the Debtor to Implement Certain Transactions in the Ordinary

   Course of Business [Docket No. 76] (the "Initial Protocols Motion"), whereby the Debtor

   requested that the Court approve certain protocols with respect to "ordinary course" services and

   intercompany transactions.

            5.       Also on October 24, 2019, the U.S. Trustee appointed the Committee, of which

   Acis is a member. See Docket No. 64.

            6.       In November 2019, as described in the Distribution Motion, prior to the

   appointment of the Independent Board, "the Debtor requested the Committee's authorization to

   proceed first with the larger transactions and then solely the MGM Sale, but the Committee

   rejected both of these transactions." Distribution Motion ¶ 30.

            7.       Sometime in late November 2019, after the Committee rejected the proposed

   MGM Sale, and without approval of the Debtor's counsel or financial advisors (or their

   knowledge), Dondero purportedly orally entered into the clandestine, rogue trade of 1.7 million

   shares of MGM stock for $123.25 million, or for $72.50 per share. See id. ¶ 29. While Dondero

   was still controlling the Debtor, he was also on the board of directors of MGM. Upon

   information and belief, Dondero engaged in this purported trade just after MGM reported

   earnings, and most likely before the market absorbed the reported earnings.2 These



   2
     Also disturbing, just prior to the purported trade, the Debtor's CRO, Bradley Sharp, was deposed and testified that,
   under his engagement letter, Dondero was required to obtain his approval for such related-party transactions.
   JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
   TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
   ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
   CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 3 of 9

                                                                                                             Appx. 04144
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                20 of 610
                                                       Page 168 of 200 PageID 25380
   Case 19-34054-sgj11 Doc 489 Filed 03/02/20              Entered 03/02/20 12:19:12        Page 4 of 9



   circumstances reflect the continuation of Dondero's pattern of flouting his duties in connection

   with the Debtor or this Bankruptcy Case.

          8.        As explained by the Committee in its Objection, the Independent Board,

   Debtor's counsel, and the Debtor's CRO and financial advisors were not made aware of the

   MGM Sale until over two months after Dondero purportedly committed to the transaction on

   behalf of the Debtor. Likewise, the MGM Sale was not disclosed to the Committee until

   February 7, 2020. Id.

          9.      On January 14, 2020, the Debtor filed its Notice of Final Term Sheet [Docket No.

   354] (the "Term Sheet"), which set out proposed terms of a settlement between the Debtor and

   the Committee related to the Debtor's corporate governance and operating protocols. The next

   day, on January 15, 2020, the Debtor withdrew the Initial Protocols Motion. See Docket No. 360.

          10.     On February 21, 2020, the Debtor filed its Notice of Debtor's Amended Operating

   Protocols [Docket No. 466] (the "Protocols"). Under the Protocols (amended slightly from the

   Term Sheet), the operating requirements for "Ordinary Course Transactions" (which do not

   require Court approval) differ significantly from "Related Entity Transactions," which likely do

   require Court approval if the Committee objects. See Protocols Ex. A at 2-6.              Under the

   Protocols, MGM Holdings, Inc. is specifically defined as a "Related Entity." Id. at 1.

                                  III.    JOINDER AND COMMENT

           11.    Acis expressly joins the Committee's Objection and hereby incorporates the

    Objection as if set forth in full and for all purposes herein.




   JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
   TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
   ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
   CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 4 of 9

                                                                                              Appx. 04145
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                21 of 610
                                                       Page 169 of 200 PageID 25381
  Case 19-34054-sgj11 Doc 489 Filed 03/02/20           Entered 03/02/20 12:19:12       Page 5 of 9



   A.    The Court should not allow Dondero and other Insider Parties to benefit from the
         rogue MGM Sale by allowing the Debtor to make the Proposed Insider
         Distributions.

          12.    The MGM Sale is just a continuation of Dondero's self-dealing—even during this

   Bankruptcy Case—to enrich himself (or other entities he controls), at the expense of the estate.

   Now the Debtor seeks "authority" to approve Dondero's misfeasance. At a minimum, it is only

   proper for this Court to sustain the Committee's Objection and prevent distribution of any of the

   Proposed Insider Distributions.

          13.    The MGM Sale continues a familiar pattern.         Like many prior transactions,

   Dondero was on both sides of the MGM Sale. While acting as a director on MGM's board, he

   was also acting on behalf of the Debtor. Further, even though this transaction required CRO

   oversight under the proposed protocols (which were contemplated at the time of or soon after

   the bankruptcy filing), Dondero engaged in the purported rogue MGM Sale without knowledge

   of the Debtor's counsel or the CRO.

          14.    Since Dondero entered into this clandestine, rogue trade at $72.50 a share, on

   information and belief, MGM shares have recently traded in the $90s. Moreover, other

   Dondero-controlled entities have not sold their pro-rata positions in MGM, which calls into

   question whether this transaction was in the best interest of the Debtor and the various

   stakeholders in this Debtor-controlled fund.

          15.    After the Committee learned of the transaction, Acis strenuously objected to its

   approval. The Committee nevertheless voted to approve it.          Still, by its Objection, the

   Committee requests that the Court direct the Debtor to withhold any Proposed Insider

   Distributions until the Insider Parties repay Notes that are currently due and payable to the




   JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
   TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
   ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
   CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 5 of 9

                                                                                          Appx. 04146
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                22 of 610
                                                       Page 170 of 200 PageID 25382
  Case 19-34054-sgj11 Doc 489 Filed 03/02/20            Entered 03/02/20 12:19:12        Page 6 of 9



   Debtor and the Committee can fully investigate causes of action against the Insider Parties.

   Acis joins in this request.

   B.    The MGM Sale was not in the ordinary course and distributing its proceeds to the
         Insider Parties is not in the Debtors' sound business judgment.

          16.    The Debtor first asserts that the Distributions, including those from the MGM

   Sale, are in the ordinary course pursuant to section 363(c)(1) of the Bankruptcy Code. The

   Protocols themselves belie this assertion. The Protocols specifically carve out "Related Entity"

   Transactions," such as the MGM Sale, from "Ordinary Course Transactions," which do not

   require Court approval. Now arguing that these Related Entity Transactions should simply be

   rubber stamped because they are ordinary course under section 363(c) defeats the purpose of

   Court approval and undermines the Protocols.

          17.    Alternatively, the Debtor argues that if the Distributions are not ordinary course,

   they are within the exercise of the Debtor's sound business judgment, and therefore allowed

   under section 363(b)(1) of the Bankruptcy Code. See Distribution Motion ¶ 56-57.

          18.    When exercising its business judgment pursuant to section 363(b), the trustee or

   debtor in possession has a duty to maximize value for the estate and its creditors.            See

   Gluckstadt Holdings, L.L.C. v. VCR I, L.L.C. (In re VCR I, L.L.C.), 922 F.3d 323, 326-27 (5th

   Cir. 2019) (noting that, under section 363(b), a "'trustee as a duty to maximize the value of the

   estate'") (quoting Cadle Co. v. Mims (In re Moore), 608 F.3d 253, 263 (5th Cir. 2010));

   ASARCO, Inc. v. Elliott Mgmt. (In re ASARCO, L.L.C.), 650 F.3d 593, 601 (5th Cir. 2011)

   (affirming the bankruptcy court's finding that the "proposed reimbursement of expenses was

   designed to maximize the value of [the] estate, and was fair, reasonable, and appropriate").

          19.    Accordingly, when the Debtor uses property of the estate, which here are the

   Debtor's contract rights in connection with making the Distributions, outside of the ordinary
   JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
   TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
   ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
   CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 6 of 9

                                                                                            Appx. 04147
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                23 of 610
                                                       Page 171 of 200 PageID 25383
   Case 19-34054-sgj11 Doc 489 Filed 03/02/20             Entered 03/02/20 12:19:12        Page 7 of 9



    course, the Debtor has a duty maximize value for the estate. As expressed by the Committee in

    its Objection, it does not reflect sound business judgment for the Debtor to pay millions of

    dollars in cash distributions to insiders when those same insiders likely owe much more to the

    estate.

              20.    As a court of equity, and pursuant to sections 105 and 363 of the Bankruptcy

    Code, at a minimum this Court should prevent the Debtor from making any Proposed Insider

    Distributions, as set forth in the Objection, until the Committee has the opportunity to fully

    investigate estate causes of action against Dondero and other Insider Parties.

                                             IV.    PRAYER

              Acis respectfully requests that this Court sustain the Committee's Objection and grant

   Acis such other and further relief to which it may show itself to be justly entitled.

   DATED: March 2, 2020.




                               [Remainder of Page Intentionally Left Blank]




   JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
   TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
   ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
   CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 7 of 9

                                                                                             Appx. 04148
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                24 of 610
                                                       Page 172 of 200 PageID 25384
   Case 19-34054-sgj11 Doc 489 Filed 03/02/20   Entered 03/02/20 12:19:12       Page 8 of 9



                                                Respectfully submitted,



                                                By: /s/ Rakhee V. Patel
                                                    Rakhee V. Patel
                                                    State Bar No. 00797213
                                                    Phillip Lamberson
                                                    State Bar No. 00794134
                                                    Annmarie Chiarello
                                                    State Bar No. 24097496
                                                    WINSTEAD PC
                                                    500 Winstead Building
                                                    2728 N. Harwood Street
                                                    Dallas, Texas 75201
                                                    Telephone: (214) 745-5400
                                                    Facsimile: (214) 745-5390
                                                    rpatel@winstead.com
                                                    plamberson@winstead.com
                                                    achiarello@winstead.com

                                                    -and-

                                                    Brian P. Shaw
                                                    State Bar No. 24053473
                                                    ROGGE DUNN GROUP, PC
                                                    500 N. Akard Street, Suite 1900
                                                    Dallas, Texas 75201
                                                    Telephone: (214) 888-5000
                                                    Facsimile: (214) 220-3833
                                                    shaw@roggedunngroup.com

                                                COUNSEL FOR ACIS CAPITAL
                                                MANAGEMENT, L.P. AND ACIS
                                                CAPITAL MANAGEMENT GP, LLC




   JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
   TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
   ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
   CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 8 of 9

                                                                                  Appx. 04149
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                25 of 610
                                                       Page 173 of 200 PageID 25385
   Case 19-34054-sgj11 Doc 489 Filed 03/02/20            Entered 03/02/20 12:19:12         Page 9 of 9



                                    CERTIFICATE OF SERVICE

          I hereby certify that on March 2, 2020, notice of this document will be electronically
   mailed to the parties that are registered or otherwise entitled to receive electronic notices in this
   case pursuant to the Electronic Filing Procedures in this District.



                                                         /s/ Rakhee V. Patel
                                                         One of Counsel




   JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
   TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
   ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
   CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 9 of 9
   4846-1397-8038v.2
                                                                                              Appx. 04150
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                26 of 610
                                                       Page 174 of 200 PageID 25386




                             EXHIBIT 204




                                                                     Appx. 04151
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                            Appendix
                                  176-24
                                       PartFiled
                                           7 Page01/09/24
                                                     27 of 610
                                                            Page 175 of 200 PageID 25387
Case 19-34054-sgj11 Doc 499 Filed 03/04/20 Entered 03/04/20 06:33:33
                                                             Docket #0499Page
                                                                          Date 1  of 10
                                                                               Filed: 03/04/2020




 PACHULSKI STANG ZIEHL & JONES LLP
 Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
 Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
 Maxim B. Litvak (Texas Bar No. 24002482)
 Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
 10100 Santa Monica Blvd., 13th Floor
 Los Angeles, CA 90067
 Telephone: (310) 277-6910
 Facsimile: (310) 201-0760

 HAYWARD & ASSOCIATES PLLC
 Melissa S. Hayward
 Texas Bar No. 24044908
 MHayward@HaywardFirm.com
 Zachery Z. Annable
 Texas Bar No. 24053075
 ZAnnable@HaywardFirm.com
 10501 N. Central Expy, Ste. 106
 Dallas, Texas 75231
 Tel: (972) 755-7100
 Fax: (972) 755-7110

 Counsel for the Debtor and Debtor-in-Possession

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                    §
     In re:                                                         § Chapter 11
                                                                    §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,1                            § Case No. 19-34054-sgj11
                                                                    §
                                      Debtor.                       §

     DEBTOR’S REPLY IN SUPPORT OF MOTION OF THE DEBTOR FOR ENTRY OF
      AN ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE
                         DISTRIBUTIONS TO CERTAIN
                            “RELATED ENTITIES”




 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
 for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


 DOCS_NY:40258.9 36027/002                                                    ¨1¤}HV4#$                  !q«
                                                                                  1934054200304000000000001
                                                                                                              Appx. 04152
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                           Appendix
                                 176-24
                                     PartFiled
                                          7 Page
                                               01/09/24
                                                   28 of 610
                                                          Page 176 of 200 PageID 25388
 Case 19-34054-sgj11 Doc 499 Filed 03/04/20 Entered 03/04/20 06:33:33 Page 2 of 10



                   The above-captioned debtor and debtor-in-possession (the “Debtor”) files this reply

  (the “Reply”) in support of the Motion of the Debtor for Entry of an Order Authorizing but Not

  Directing the Debtor to Cause Distributions to Certain “Related Entities” [Docket No. 474] (the

  “Motion”).2

                   In further support of the Motion, the Debtor respectfully states as follows:

                                             Preliminary Statement

                   1.         In the Motion, the Debtor disclosed that certain “Related Entities” (the

  “Related Entity Investors”) had invested in three funds – Dynamic, AROF, and RCP (collectively,

  the “Funds”) – and that the Debtor was seeking authority from this Court to distribute funds owned

  by the Funds – not the Debtor – to the Related Entity Investors that they are contractually entitled

  to receive under the Funds’ governing documents. The Committee objected to the relief sought in

  the Motion,3 and Acis Capital Management, L.P., and Acis Capital Management GP, LLC

  (collectively, “Acis,” and together with the Committee, the “Objecting Parties”) filed a joinder to

  the Committee Objection.4 In their objections, the Objecting Parties – citing only to Section 105(a)

  of the Bankruptcy Code as authority – requested that this Court order the Debtor to “withhold and

  segregate” the proceeds due to the Related Entity Investors. (Committee Objection, § 20.) That

  relief amounts to a request for a preliminary injunction and a prejudgment attachment without

  filing any underlying action or otherwise complying with the procedural and substantive

  requirements to obtain a prejudgment attachment under applicable law. As set forth below, the



  2
    All capitalized terms used but not defined herein shall have the meanings given to them in the Motion.
  3
    Objection of the Official Committee of Unsecured Creditors to the Motion of the Debtor for Entry of an Order
  Authorizing, but Not Directing, the Debtor to Cause Distributions to Certain “Related Entities.” [Docket No. 487]
  (the “Committee Objection”).
  4
    Joinder of Acis Capital Management, L.P., and Acis Capital Management GP, LLC to the Committee’s Objection to
  the Motion of the Debtor for Entry of an Order Authorizing, but Not Directing, the Debtor to Cause Distributions to
  Certain “Related Entities,” and Comment to the Same [Docket No. 489] (the “Joinder”).

                                                          2
  DOCS_NY:40258.9 36027/002

                                                                                                        Appx. 04153
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                           Appendix
                                 176-24
                                     PartFiled
                                          7 Page
                                               01/09/24
                                                   29 of 610
                                                          Page 177 of 200 PageID 25389
 Case 19-34054-sgj11 Doc 499 Filed 03/04/20 Entered 03/04/20 06:33:33 Page 3 of 10



  existence of potential claims against the Related Parties are not, in and of themselves, sufficient to

  justify such extraordinary relief.

                   2.         As the Debtor disclosed in the Motion it, or in the case of AROF, one of its

  subsidiaries manage the Funds and that the Debtor’s Independent Board (after consultation with

  outside counsel) believes that, as a registered investment adviser, the Debtor has certain duties to

  the funds that it manages, including the Funds. Those duties exist regardless of whether the

  investors in those funds are Related Entities or otherwise and are based on contract and on the laws

  of the United States, Delaware, and the Cayman Islands. Importantly, applicable law prohibits the

  Debtor from asserting its own interest ahead of those of investors. In the Motion, the Debtor

  further disclosed that it did not have the contractual or legal authority to withhold or cause the

  Funds to withhold distributions from the Related Entity Investors or to treat the Related Entity

  Investors differently than non-Related Entity Investors.

                   3.         Because of those duties – duties which both the Debtor and the Independent

  Board take seriously – the Debtor sought the relief requested in the Motion. Although the

  Committee and Acis objected to that relief, notably, neither the Committee nor Acis have alleged

  that any of the Debtor, the Funds, or any other entity can without violating their contractual and

  fiduciary obligations elect not to distribute to the Related Entity Investors their allocable portion

  of the distributions being made to the investors in the Funds. Nor has any party alleged that any

  of the Funds’ assets are property of the Debtor’s estate or that any of the Funds have claims against

  their Related Entity Investors. Instead, the Objecting Parties have asked this Court to use its

  equitable powers under Section 105(a) of the Bankruptcy Code to cause the Debtor to withhold

  distributions to the Related Entity Investors because of certain alleged bad acts and potential claims

  that may exist against those Related Entities.



                                                       3
  DOCS_NY:40258.9 36027/002

                                                                                               Appx. 04154
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                           Appendix
                                 176-24
                                      PartFiled
                                          7 Page01/09/24
                                                    30 of 610
                                                           Page 178 of 200 PageID 25390
 Case 19-34054-sgj11 Doc 499 Filed 03/04/20 Entered 03/04/20 06:33:33 Page 4 of 10



                   4.         The Independent Board respects the Committee’s intention to investigate

  claims against the Related Entity Investors and insiders as contemplated by the Term Sheet,

  approved by this Court on January 9, 2020, which led to the installation of the Independent Board.

  The Independent Board intends to cooperate with the Committee in its efforts. At the same time,

  the Independent Board was installed to revamp the Debtor’s prior culture, including to ensure

  obligations to the investors in the funds managed by the Debtor are being appropriately honored.

  The Independent Board believes this is essential to rebuilding the Debtor’s reputation in the

  marketplace and the investor community, and to prospectively protect the Debtor from liability.

  However, neither Section 105(a) nor any other provision of the Bankruptcy Code allows this Court

  to grant the relief that the Objecting Parties are actually requesting – an injunction and prejudgment

  attachment against third parties not currently before the Court.

                                                    Reply

                   5.         The Debtor, or with respect to AROF, its subsidiary, is the investment

  adviser to each of the Funds. As the investment adviser, the Debtor has contractual discretion over

  the selection and disposition of the Funds’ investments, but does not serve in a governance role.

  Rather, the governing body of each Fund is either a board of directors or a general partner. And

  the terms of each of the Funds is governed by its applicable governing documents, which each

  investor was furnished and relied upon when subscribing for an interest in the Fund. The Dynamic

  Fund Documents govern Dynamic; the AROF Fund Documents govern AROF; and the RCP Fund

  Documents govern RCP (the Dynamic Fund Documents, the AROF Fund Documents, and the

  RCP Fund Documents, collectively, the “Fund Documents”). Each of the Fund Documents is in

  turn governed, as applicable, by U.S. and Delaware or Cayman law.




                                                      4
  DOCS_NY:40258.9 36027/002

                                                                                             Appx. 04155
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                           Appendix
                                 176-24
                                      PartFiled
                                          7 Page01/09/24
                                                    31 of 610
                                                           Page 179 of 200 PageID 25391
 Case 19-34054-sgj11 Doc 499 Filed 03/04/20 Entered 03/04/20 06:33:33 Page 5 of 10



                    6.        As discussed at length in the Motion, each of the Funds is its own separate

  legal entity which owns its own assets, and none of the Fund Documents allow the Debtor to treat

  the Related Entity Investors – regardless of who such investors happen to be or by whom they are

  owned – differently than non-Related Entity Investors. (Motion, ¶¶ 42-47.) Importantly, neither

  the Committee nor Acis has stated or alleged that: (a) any of the Funds is a debtor in the

  Bankruptcy Case or subject to this Court’s jurisdiction; (b) the assets held by the Funds are

  property of the Debtor’s estate; (c) the Debtor does not have contractual and fiduciary obligations

  to the Funds; or (d) any provision in any of the Fund Documents allows the Debtor to treat the

  Related Entity Investors in the Funds differently than the non-Related Entity Investors in the

  manner being requested.

                    7.        Instead, the Objecting Parties rely on alleged bad acts by the Debtor and

  certain of the Debtor’s employees and principals5 and the Committee’s potential, but inchoate,

  causes of action against such parties to seek what amounts to an injunction from this Court under

  Section 105(a) and a prejudgment attachment against the proceeds that the Related Entity Investors

  in the Funds are contractually entitled to receive – not from the Debtor – but from the Funds.

  However, those alleged bad acts – regardless of whether they occurred pre- or postpetition – and



  5
    The Debtor does not believe that the provenance of the $123.25 million in proceeds from the MGM Sale or Mr.
  Dondero’s role in the MGM Sale is relevant to the Motion. What the Debtor does believe is relevant is that (a) RCP
  is currently in liquidation and is required to liquidate its assets in an orderly manner and (b) RCP’s investors, such as
  the California Public Employees’ Retirement System (“CalPERS”), have requested that the Debtor disburse the
  proceeds of the MGM Sale as quickly as possible in the manner required by the RCP Fund Documents. See, e.g.,
  Response by CalPERS to Motion by the Debtor for Entry of an Order Authorizing, but Not Directing, the Debtor to
  Cause Distributions to Certain “Related Entities” [Docket No. 486].
  Whether or not Mr. Mr. Dondero had the authority to bind RCP to sell the MGM common stock is not relevant to the
  Motion. When the Independent Board and the Debtor’s professionals found out that Mr. Dondero had agreed to the
  MGM Sale, they reviewed the MGM Sale and independently determined that it was in the best interests of the Debtor’s
  estate to close that sale. The Independent Board disclosed their reasoning to the Committee, and the Committee did
  not object to the MGM Sale. (Committee Objection, § 14.) Consequently, the MGM Sale closed on February 24,
  2020. To the extent the Committee seeks to investigate further the circumstances surrounding the MGM Sale, the
  Independent Board will ensure that the Debtor cooperates with such investigation. However, that issue is not relevant
  to the relief the Debtor is seeking here.

                                                             5
  DOCS_NY:40258.9 36027/002

                                                                                                              Appx. 04156
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                           Appendix
                                 176-24
                                     PartFiled
                                          7 Page
                                               01/09/24
                                                   32 of 610
                                                          Page 180 of 200 PageID 25392
 Case 19-34054-sgj11 Doc 499 Filed 03/04/20 Entered 03/04/20 06:33:33 Page 6 of 10



  potential causes of action are not the subject of the Motion. And if either the Committee or Acis

  believe that such claims exist, the Committee, at least, has been granted standing to pursue those

  claims (and Acis has shown itself more than capable of standing up for its rights). Further, the

  Committee’s and Acis's request is procedurally and substantively improper. To obtain a pre-

  judgment writ or attachment, they are required to commence an action and seek such remedy in

  accordance with due process and to prove the substantive elements that support such relief. The

  Objecting Parties have done neither.

                    8.        First, assuming, arguendo, that Texas state law applies to the Related Entity

  Investors (although the law of other States and the Cayman Islands may also apply), the burden

  associated with seeking a prejudgment attachment is a significant one, and it is placed on the

  moving party – in this case the Objecting Parties. See S.R.S. World Wheels v. Enlow, 946 S.W.2d

  574, 575 (Tex. Civ. App. - Ft. Worth 1997) (“[a]ttachment is a harsh, oppressive remedy; therefore,

  attachment is not available unless statutory safeguards are strictly observed.”).                            To get a

  prejudgment attachment, the Objecting Parties would first be required to commence an action

  articulating the nature and extent of the claims supporting such attachment. Next, the Committee

  would be required to file and serve a request for a prejudgment attachment with appropriate notice

  to the defendant. Finally, to obtain that relief under Texas law, the Committee would have to

  prove the following elements: (a) defendant is justly indebted to the plaintiff; (b) attachment is

  not sought for purposes of harassment or injury; (c) plaintiff will probably lose his debt if there is

  no attachment; and (d) specific grounds for the attachment exist.6 Tex. Civ. Prac. & Rem. Code.


  6
    Specific grounds for attachment under Texas law exist if: (a) the defendant is not a resident of this state or is a
  foreign corporation or is acting as such; (b) the defendant is about to move from this state permanently and has refused
  to pay or secure the debt due the plaintiff; (c) the defendant is in hiding so that ordinary process of law cannot be
  served on him; (d) the defendant has hidden or is about to hide his property for the purpose of defrauding his creditors;
  (e) the defendant is about to remove his property from this state without leaving an amount sufficient to pay his debts;
  (f) the defendant is about to remove all or part of his property from the county in which the suit is brought with the
  intent to defraud his creditors; (g) the defendant has disposed of or is about to dispose of all or part of his property

                                                             6
  DOCS_NY:40258.9 36027/002

                                                                                                              Appx. 04157
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                           Appendix
                                 176-24
                                      PartFiled
                                          7 Page01/09/24
                                                    33 of 610
                                                           Page 181 of 200 PageID 25393
 Case 19-34054-sgj11 Doc 499 Filed 03/04/20 Entered 03/04/20 06:33:33 Page 7 of 10



  § 61.001. Neither Objecting Party has pled any of the foregoing statutory elements let alone carried

  its burden.

                    9.        Second, Section 105(a) of the Bankruptcy Code – which is the only

  provision cited by the Objecting Parties to justify their position – does not allow this Court to grant

  the Objecting Parties’ request. As a general matter, Section 105(a) does not create a “roving

  commission” for a court “to do equity.” See, e.g., United States v. Sutton, 786 F.2d 1305, 1308

  (5th Cir. 1986); see also New England Dairies, Inc. v. Dairy Mart Convenience Stores, Inc. (In re

  Dairy Mart Convenience Stores, Inc.), 351 F.3d 86, 92 (2nd Cir. 2003). Rather, relief under

  Section 105(a) must be tethered to some provision of the Bankruptcy Code. See, e.g., Law v.

  Siegel, 571 U.S. 415, 421 (2014) (“We have long held that ‘whatever equitable powers remain in

  the bankruptcy courts must and can only be exercised within the confines of’ the Bankruptcy

  Code.”) (citing cases); New England Dairies, 351 F.3d at 91-92 (“[S]ection 105(a) [confers] the

  power to exercise equity in carrying out the provisions of the Bankruptcy Code. . . This language

  ‘suggests that an exercise of section 105 power be tied to another Bankruptcy Code section and

  not merely to a general bankruptcy concept or objective.’”) (citations omitted) (emphasis in

  original). Here, the Committee has not cited to any provision under the Bankruptcy Code

  justifying its request besides the general powers available under Section 105(a).

                    10.       Instead, the Committee has requested that this Court cause the “[temporary]

  withholding” of distributions to Related Entity Investors in Dynamic, AROF, and RCP.

  (Committee Objection, ¶¶ 16-20.) As such, the Committee and Acis, through the Joinder, are

  asking this Court for an injunction only under Section 105(a) ordering “the Debtor to withhold and


  with the intent to defraud his creditors; (h) the defendant is about to convert all or part of his property into money for
  the purpose of placing it beyond the reach of his creditors; or (i) the defendant owes the plaintiff for property obtained
  by the defendant under false pretenses. See Tex. Civ. Prac. & Rem. Code. § 61.002. There is no factual record before
  the Court to support any of these required findings.

                                                              7
  DOCS_NY:40258.9 36027/002

                                                                                                               Appx. 04158
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                           Appendix
                                 176-24
                                      PartFiled
                                          7 Page01/09/24
                                                    34 of 610
                                                           Page 182 of 200 PageID 25394
 Case 19-34054-sgj11 Doc 499 Filed 03/04/20 Entered 03/04/20 06:33:33 Page 8 of 10



  segregate the Proposed Insider Distributions.” (Id., ¶ 20.) However, because the Related Entity

  Investors in the Funds have a contractual right to their distributions from the Funds – not from the

  Debtor – any order from this Court enjoining the “Proposed Insider Distributions” would also, by

  necessity, be an order from this Court enjoining such Related Entity Investors from asserting their

  contractual rights against the Funds and enjoining the Funds from making distributions to the

  Related Entity Investors.7 Such injunction would therefore be an order enjoining third party action

  and require the Committee to satisfy the standards for a preliminary injunction. Feld v. Zale Corp.

  (in Re Zale Corp.), 62 F.3d 746, 765 (5th Cir. 1995) (citing In re Eagle-Picher Industries, Inc.,

  963 F.2d 855, 858 (6th Cir. 1992) (“When issuing a preliminary injunction pursuant to its powers

  set forth in section 105(a), a bankruptcy court must consider the traditional factors governing

  preliminary injunctions issued pursuant to Federal Rule of Civil Procedure 65.”).

                    11.       Here, however, the Objecting Parties have not followed the procedural or

  substantive requirements to obtain a pre-judgment remedy: a proper complaint providing the

  Related Parties with the opportunity to respond as well as a separate application for prejudgment

  attachment is required. Only then would the Court be in a position to evaluate whether the

  Committee can establish: (a) substantial likelihood of success on the merits; (b) substantial threat

  of irreparable injury; (c) the threatened injury outweighs the harm of the injunction; and (d) the

  injunction will not disserve the public interest. Id. The Committee has not carried its burden.

  Section 105(a) does not allow the Objecting Parties to bootstrap their objections into a prejudgment


  7
    CLOH is invested in the AROF Cayman feeder fund. The AROF Cayman feeder fund is managed by an independent
  board of Cayman-based directors. The Debtor, as a matter of Cayman law, has no ability to compel those independent
  directors to “withhold and segregate the Proposed Insider Distributions,” and while the Cayman directors may have
  some ability to treat certain investors differently than others, the Debtor has no right to direct the Cayman directors.
  Consequently, any order from this Court seeking to require the Debtor to withhold distributions made to CLOH by
  the AROF Cayman feeder fund will be an order with which the Debtor simply cannot comply. As such, any order
  enjoining payments on account of CLOH’s interest in the AROF Cayman feeder fund will need to be an order
  compelling the Cayman directors to take or not to take action; however, for such an order to be binding in the Cayman
  Islands, it must first be recognized by a Cayman court of competent jurisdiction.

                                                             8
  DOCS_NY:40258.9 36027/002

                                                                                                             Appx. 04159
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                           Appendix
                                 176-24
                                     PartFiled
                                          7 Page
                                               01/09/24
                                                   35 of 610
                                                          Page 183 of 200 PageID 25395
 Case 19-34054-sgj11 Doc 499 Filed 03/04/20 Entered 03/04/20 06:33:33 Page 9 of 10



  attachment against assets that are not property of the Debtor’s estate and that contractually are

  owed to parties not currently before this Court, i.e., Mr. Okada, CLOH, and HCM Services. If the

  Objecting Parties desire such relief, they should bring a procedurally appropriate motion instead

  of seeking an ex parte injunction and prejudgment attachment.8

                    12.       In sum, it is uncontroverted that (a) the Funds are not debtors in this

  Bankruptcy Case; (b) the Funds’ assets are not property of the Debtor; (c) the Fund Documents do

  not allow the Debtor to cause the Funds to not make certain distributions that they would otherwise

  be required to make to their Related Entity Investors; and (d) there are no provisions in the Fund

  Documents – or applicable law – that would allow the Debtor to do what the Objecting Parties are

  demanding. It is also uncontroverted that the Independent Board determined that (i), after seeking

  advice from U.S. and Cayman-based fund and regulatory counsel, as the parties in control of a

  registered investment advisor, they have obligations to the Debtor’s managed funds and, by

  extension, the investors in such funds and (ii) those obligations required the Independent Board to

  file and prosecute the Motion.

                                    [Remainder of Page Intentionally Blank]



  8
    The Committee cannot argue it was unaware of the procedural deficiencies in the Committee Objection as one of the
  cases cited by the Committee – In re DeLorean Motors Co. – lays out the appropriate way to use Section 105(a). 755
  F.2.d 1223 (6th Cir. 1985). In DeLorean, the unsecured creditors committee (and later the trustee) believed certain
  assets were property of the debtor’s estate. To secure those assets, the committee filed an adversary proceeding
  seeking a declaration that the assets were estate property and could not be removed from the estate. In reviewing the
  case, the Sixth Circuit first noted that committee was not seeking an attachment. “The preliminary injunction in the
  present case is similarly not for the purpose of securing satisfaction of the judgment ultimately to be entered in the
  action. The trustee does not seek to attach. . . assets in order to satisfy a possible damage award. The relief sought is
  merely a declaration that the assets are a part of the bankruptcy estate.”). DeLorean, 755 F.3d at 1227. Because the
  moving party was not seeking attachment, but rather a preliminary injunction, the Sixth Circuit found that Rule 64 of
  the Federal Rules of Civil Procedure did not apply but that to get an injunction that the moving party had to satisfy
  Rule 65 and its traditional four part test. Id.
  Consequently, DeLorean highlights the appropriate way to use Section 105(a). Section 105(a) is to be paired with
  another section of the Bankruptcy Code (in DeLorean, Section 541), and if an injunction and attachment is sought, (a)
  an adversary proceeding should be filed, (b) the appropriate parties noticed, and (c) the requirements of Rules 64 and
  65 of the Federal Rules of Civil Procedure satisfied. The Committee, however, has failed to abide by any of the
  procedural or statutory requirements laid out in DeLorean.

                                                             9
  DOCS_NY:40258.9 36027/002

                                                                                                              Appx. 04160
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                           Appendix
                                 176-24
                                      PartFiled
                                          7 Page01/09/24
                                                    36 of 610
                                                           Page 184 of 200 PageID 25396
 Case 19-34054-sgj11 Doc 499 Filed 03/04/20 Entered 03/04/20 06:33:33 Page 10 of 10



                    WHEREFORE, for the reasons set forth above and in the Motion, the Committee

   Objection and the Acis Objection should be overruled in all respects and the relief requested in the

   Motion should be granted.

    Dated: March 4, 2020                      PACHULSKI STANG ZIEHL & JONES LLP
                                              Jeffrey N. Pomerantz (CA Bar No.143717)
                                              (admitted pro hac vice)
                                              Ira D. Kharasch (CA Bar No. 109084)
                                              (admitted pro hac vice)
                                              Maxim B. Litvak (Texas Bar No. 24002482)
                                              Gregory V. Demo (NY Bar No. 5371992)
                                              (admitted pro hac vice)
                                              10100 Santa Monica Blvd., 13th Floor
                                              Los Angeles, CA 90067
                                              Telephone: (310) 277-6910
                                              Facsimile: (310) 201-0760
                                              E-mail:     jpomerantz@pszjlaw.com
                                                          ikharasch@pcszjlaw.com
                                                          mlitvak@pszjlaw.com
                                                          gdemo@pszjlaw.com

                                              -and-

                                              /s/ Melissa S. Hayward.
                                              HAYWARD & ASSOCIATES PLLC
                                              Melissa S. Hayward
                                              Texas Bar No. 24044908
                                              MHayward@HaywardFirm.com
                                              Zachery Z. Annable
                                              Texas Bar No. 24053075
                                              ZAnnable@HaywardFirm.com
                                              10501 N. Central Expy, Ste. 106
                                              Dallas, Texas 75231
                                              Tel: (972) 755-7100
                                              Fax: (972) 755-7110

                                              Counsel for the Debtor and
                                              Debtor-in-Possession




                                                   10
   DOCS_NY:40258.9 36027/002

                                                                                            Appx. 04161
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                37 of 610
                                                       Page 185 of 200 PageID 25397




                             EXHIBIT 205




                                                                     Appx. 04162
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                38 of 610
                                                       Page 186 of 200 PageID 25398
      Case21-03005-sgj
      Case 21-03010-sgjDoc
           21-03010-sgj Doc86-2
                           4-3 Filed
                           10-4 Filed02/17/21
                                      02/18/21 Entered
                                      10/29/21 Entered02/17/21
                                                       02/18/2108:45:45
                                                       10/29/21 13:50:54 Page
                                                                17:22:38 Page21
                                                                              2of
                                                                                of20
                                                                                   20
                                                                                   19




                  AMENDED AND RESTATED SHARED SERVICES AGREEMENT

              This Amended and Restated Shared Services Agteement (as amended, modified, waived,
      su:pplemei1ted or restated from time to tiine in accordance wlth the tetms hereof, this
      '·Agreement"), dated effective as of January 1, 2018, is entered into by and between NexPoint
      Advisors; LP ., a Delaware Hniited partnership, as. the management company· hereunder (in such
      capacity, the ''Management Company''); and Highland Capital Managemertt1 L.P., a Delaware
      limited partnership ("Highland"), ~s the staff mid .services provider hereunder (in such capacity,
      the "Staffand Services Provider" and together With.the Management Company,the "Parties"). ·



             WHEREAS, tl1e Staff anci Servic.es Provider is a registered investment adviser under the
      Tnvestnient Advisers Act of 1940, as atnended (the "Advisers Act");

              WHEREAS,the :S taffandServices Provider and the Management Company are engaged
      in the business of providing investment management services;          ·            ·

              WHEREAS, the Parties e11tered into that certain Shared Services Agreement, dated
      effective as of Januaty l, 2013 (the "Original Agreem:ent");

              WHEREAS, the Parties desire to amend and restated the Original Agreement and the Staff
      andServices Provider is hereby being reta~nedto provide certain back., and middle-office services
      and ad1nirtistrative, infrastructure and other Services to assist the Management Comparty in
      conducting its business, and the Staff and Services Provider is willing to make such ~ervices
      available to the Management Company, in each case, on the te1ms and conditions hereof;

              WHEREAS, the Management Company may employ certain individuals to perform
      portfolio selection and asset rnariagement functions for the Management Company, and certam     of
      these individuals may also be employed simultaneously by the Staff a:nd Services Provider <luting
      their employment with the Management Company; and

               WHEREAS, each Person employed by both the Management Company and the Staff and
      Services Provider as described above (each, a"Shared Employee';). ifany; is and shall be identified
      on. the books and reQords gf each c,f the Management Company and the 'Staff and Services Provider
      (as amended, modified, supplemented or restated from time to time).

             NOW, THEREFORE, for good and valua:b1e consideration, the receipt and sufficiency of
      which is hereby acknowledged, the Parties hereby agree, and the Original Agreement is hei·eby
      amended" restated and replaced in its entfrety as follows.

                                                ARTICLE I

                                               DEFINITIONS

              Sectlonl.01 Certain Defined Terms; As 11sed in this Agreement, the following tenns
      shall have the following meanings:




                                                                                               Exhibit A
                                                                                               Appx. 04163
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                39 of 610
                                                       Page 187 of 200 PageID 25399
      Case21-03005-sgj
      Case 21-03010-sgjDoc
           21-03010-sgj Doc86-2
                           4-3 Filed
                           10-4 Filed02/17/21
                                      02/18/21 Entered
                                      10/29/21 Entered02/17/21
                                                       02/18/2108:45:45
                                                       10/29/21 13:50:54 Page
                                                                17:22:38 Page32
                                                                              3of
                                                                                of20
                                                                                   20
                                                                                   19




             "Affiliate" shall mean with respect to a Person, any other Person that directly, ot indirectly
     through one or more intermediaries, controls, is controlled by, or is. under common control with
     the first Person. The t9nu "control" means (i) the legal or beneficial owi1ership of securities
     representing a majority of the voting power of any person or (ii) the possession, directly or
     indirectly, ofthe power to direct or cause the direction of the management and policies of a person,
     whether by contract or othetwise.

             "Applicable Asset .Criteria and Concentrations;' means any applicable eligibility criteria;
     portfolio concentration limits and other similar ctiteria ol' lim:its which tbe Management Company
     instructs in writing to the Staff and Setvices Provider in respect ofthe Portfolio or one or more
     Accounts, ~s such criteria or limits may be n1odified, amended or supplemented fro111 time to time
     in writing by the Management Company;

                ''Applicable Law" shall mean, withrespectto any Person or property of such Person, any
      action, code, consent decree, constitution, decree, directive, enactment, finding, guideline, law,
      injurictio11, ii1terpretation, judgment, order, ordinai1ce, policy .statement~ proclani.ation, fotrnaJ
      guidance, promulgation; regul~tion, requirement, rule, rule oflaw, rule of public policy, settlement
      agreement statute, Writ, oi• any particulat section, part .ot :provision thereof of any Governmental
      Authority to which tl1.e Person in question is subject or by which itor any of its property is bound.

              ''Client or Account" shall mean any fund, client or accoµnt advised by the Management
      Company, as applicable.      ·

             "Covered Person" shall mean the Staffand Services Provider, any of its Affiliates, and any
      of their respective managers, members, principals, partners, directors, officers, .shareholders,
      employees and agents (but shall not include the Management Company, its subsidiaries or
      member(s) and any managers, members, ptincipals, ,partners, directors; offiqers, shareholders,
      employees and agents of the Managemei1t Company or its subsidiaries 01' membet(s) (in their
      capacity as such)).

              "Governmental Authority" shall mean (i) any government or quasi,.governm~ntal authority
      or political subdivision thereof, whether natiomil, state, comity, municipal or regional, whether
      U.S. or non~U.S.; (ii) any agency, regulator, arbitrator, board, body, branch, bureau, commission,
      corporation, department, maste~; mediator, pm1el, referee; system or instrumentality of any such
      government, political subdivisi01i or other government or quasi-:government entity, whether non-
      U.S. or U.S.; and (iii) any cotirt, whether U.S. or non-U.S.

               "Indebtedness" shall mean: (a) alI indebtedness for borrowed money mid all other
      obligations, contingentm otherwise, with respect to suretybonds1 guarantees ofbotrowed money,
      letters of credit and bankers' acceptances whether or not matt,rred, and hedges and other .detivative
      contracts and :financial instnunents; (b) all obligations evidenced by notes, bonds, debenturesi ot
      similar instruments, or incurred ·under bank guaranty or letter of credit faqilities or credit
      agreements; (c) all iitdebted.ness cteated or a:risingun'der any conditional sale or other title retention
      agreement with respect to any propetty of the Management Company or any subsidiary; (d)all
      capital kase obligatio1is; (e) all indebtedness guaranteed by such Person or any of its subsidial'ies;
      and (f) all indebtedness guaranteed by such Person oi• any of its subsidiaries.



                                                          2



                                                                                                     Appx. 04164
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                40 of 610
                                                       Page 188 of 200 PageID 25400
      Case21-03005-sgj
      Case 21-03010-sgjDoc
           21-03010-sgj Doc86-2
                           4-3 Filed
                           10-4 Filed02/17/21
                                      02/18/21 Entered
                                      10/29/21 Entered02/17/21
                                                       02/18/2108:45:45
                                                       10/29/21 13:50:54 Page
                                                                17:22:38 Page43
                                                                              4of
                                                                                of20
                                                                                   20
                                                                                   19




            ''Operating Guidelines" meai1s any operating guidelines attached to a11Y portfolio
      management agrech1ent, investment management agreement or .similar agreement entered into.
      between the Management Contpany and a Client bl' Account.

              . "Portfolio'; means the portfolio of.securities and other assets, including without limitation,
      financial instruments, equity investii1ents, collateral loan obligations, debt securities, prefetrc:d
      return notes .and other similar obligations held directly or indirectly by, or on behalf of, Clients
      a1:id Ac.counts frqm time to time;                                            ·
              "Securities Act'' shall mean the Securities Act of 1933, asmnerided.

               Section 1.02 Interpretation. The following rules apply to the .use of defined terms and.
      the interpretation of this Agreement: (i) the singular includes the phiral and the plural incl\tdes the
      singular; (ii) "or'' is not exclusive (unless preceded by "either"} arid ''inchide" and "including" are
      not limiting; (iii) unless the context otherwise requires, reforencesto agreements shall be deemed
      tC) mean and include such agreements as the same may be <'lmend¢d, supplemented, waive<,t and
      otherwise modified from time to time; (iv) a ·reference to a law includes any amendment or
      modification to such law and any rules or regulations issued thereunder or any law enacted in
      substitutio1ior replacement therefor; (v) ateferehce to aPetson includes its sticcessors and assigns;
      (vi) a reference to a Section without further reference is to the relevant Section ofthis Agreement;
      (vii) the headings of the Sections and subsections are for co~1venience and shall riot affect the
      mea.1iirig of this Agreement; {viii) "writing\ "writtei1" and comparable terms i'efot to printing,
      typing, lithography and other shall mean of reproducing words in a visible form (including
       telefacsimile and electronic ni:ail); (i}<.} "hereof', "heteii1", "!1.ereundet" arid cmnparable terms refet
       to the entire instrument in which such terms are used and nof to any particillar article, section o:r
      other subdivision thereof ot ~ttachment thereto; l:lnd (x)references to any gender include any other
      gender, masculine; feminine or neuter, as the context requires.

                                                    ARTICLEU

                                                    SERVICES

           . Section2.0J General Atithoritv. Hig}Jland is lwreby appointed as Staff <'lnd Services
      Providet for 1he purpose of providing such services and assistance a's the Management Company
      may request from time to time to, and ifapplicable, to make available the Shared Employees to,
      the Managen1ent Company in accord~nce With and subjectto the provisions ofthis Agreement and
      the Staff and Services Providet hereby accepts such appointment. The Staffand Services Provider
      hereby agrees to such engagement during the term hereof and to render the services described
      herein for the compensation provided herein, subject to the limitations contained herein.

              Section2.02 Provision of Services. Without limiting the generality of Section 2:01 and
      subject to Se~tion 2.Q4 (Applicable Asset Criteria ancl Concentrations) below, the Staff and
      Sel'vices Provider hereby agrees, from the date hereof, to provide the followinghack- and middle-
      officeservices and.a,ciministrative, infrastructure a.nd otht;r services to the Management Company.

                     (a)    Back- and Midd/e.,,O,fjice: Assistance and advice with respect to back- and,
      middle-office functions including, but not limited to, investment research, trade desk services,




                                                                                                      Appx. 04165
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                41 of 610
                                                       Page 189 of 200 PageID 25401
      Case21-03005-sgj
      Case 21-03010-sgjDoc
           21-03010-sgj Doc86-2
                           4-3 Filed
                           10-4 Filed02/17/21
                                      02/18/21 Entered
                                      10/29/21 Entered02/17/21
                                                       02/18/2108:45:45
                                                       10/29/21 13:50:54 Page
                                                                17:22:38 Page54
                                                                              5of
                                                                                of20
                                                                                   20
                                                                                   19




     including trade execution and settlement, finance and accolll1ting, payments; operations_; hook
     keeping, cash management, cash forecasting, accounts payable, accounts receivable, expense
     reimbt1rsement, vendor inanagement, and information technology (including, withoi1t limitation,
     general suppott and maintenance (OMS, development, support), telecoirt (cellphones, telephones ·
     and broadband) and WSO);                                                .

                     (b)     Legal/Compliance/Risk Analysis; Assista.1i.ce and advice with respect to
      legal issues, litigation support, management of outside counsel, compliance support and
      implenientaticm and general .risk analysis;

                       (t)    Tax. Assistance artd advice with respect to tax audit suppo1t, tax planning
      aJJ.d tax preparation and filing.

                      (d)    Management of Clients widAccounts: Assistance .a nd advice with respect
      to (i) the adhetence to Operating Guidelines by·the Managemei1f Cornpm1y, and (ii)·perfotn1i1ig
      any obligations of the Management Company under or in connection with any back~ and middle-
      office function set forth in any poxtfolio managel'nent agreeinent, investment ma11agement
      agreement or similar agreement in effect between the Management Company and any Client or
      Account from time to time.

                     (e)       Valuation, Advice relating to the appointrnent of suitable third parties to
      provide valuations oi1 assets comprising the Portfolio and i11duding; but not limited to, such
      valuations required to facilitate the preparation of finap.cial statements by the Management
      Company or the provision of valuations in connection with, or prepatation of reports otherwise
      relating to, a Client or Account for which the Management Company serves as portfolio manager
      or investment managerC,n· in a similar capacity;

                     (f)    Execution andl)ocumentation. Assistancerelatingto the negotiation of the
      terms of, and the execution and delivery by the Management Company of, any and all clocuments
      which the Management Company considers to be necessary in connection with the acquisition and
      disposition of an asset in the Portfolio by the Management Company or a. Client or Account
      managed by the Management Company, ttansactiohs involving the Managerhehf Company or a
      Client or Account managed by the Management Company, and any other rights and obligations of
      the Management Company or a Client or Account managed by the Managemi;:nt Company;

                     (g)    Marketing. Provide access to tnarketing team representatives to assist with
      the marketing ofthe Management Company and any specified Clients or Accounts managed by
      the Management Company conditional          on
                                                   the Management Company's agreement that any
      incerttive compensation related to such marketing shall be borne by the Management Company;

                       (b}     Reporting. Assistance relating to any reporting the Management Company
      is required to inake _in relation to the Pottfolio or any Client or Account, including reports relating
      to (i) credit facility n;porting and purchases, sales, liquidations, acqµisitions, disposals,
      sub-stit11tions and excha11ges of assets in the Portfolio, (ii) the requirements of an applicable
      regulator, or (iii) other type ofreporting which the Management Company and Staff and Services
      Provider may agrqc from time to time;                         ··          ·




                                                         4


                                                                                                  Appx. 04166
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                42 of 610
                                                       Page 190 of 200 PageID 25402
      Case21-03005-sgj
      Case 21-03010-sgjDoc
           21-03010-sgj Doc86-2
                           4-3 Filed
                           10-4 Filed02/17/21
                                      02/18/21 Entered
                                      10/29/21 Entered02/17/21
                                                       02/18/2108:45:45
                                                       10/29/21 13:50:54 Page
                                                                17:22:38 Page65
                                                                              6of
                                                                                of20
                                                                                   20
                                                                                   19




        .            (i)    Administrative Services. The provision of office space; information
      technology services and equiptilent, infrastructure; rent arid parking, and othei: related services
      reque~ted or utilizedbythe Management Compaµyfrom time to time;

                    G)    Shared Employees. To the extent applicable, the provision of Shared
      Employees and such additional human capital as may be mutually agreed by the Management
      Company arid the Staff and Services Provider in accordance with the provisions of Section 2;03
      hereof;

                      (k)    Anci/lc,ry Services.     Assist.ance and advice on all things ancillary or
      incidental to the foregoing; and

                    (1)    Other: Assistance and advice relatii1g to such other back- a:nd rhiddle~office
      services in connection with the day-to-day business of the Management Company as the
      Management Company and the Staff and Services Provider may from time to tin1e agree.

      For the avoidance of doubt, none of the services contemplated hereunder shall constitute·
      investment advisory services, and the Staff & Services Provider shall not provide any advice to
      the Mmmgemei1t Company or perform any duties on bchalfof the Mm1agemetit Company, other
      than the back- and middle~office services contemplated herein, with respect to (a) the general
      management .of the Management Company, its bus_iness or activities, (b) the initiation or
      structuring of any Client or Account or similar securitization, (c) the substantive investment
      management decisions with respect to any Client or Account or any related collateral obligations
                                                 of
      or securitization, (d) the acttml sdectio11 an:y collateral obligation or assets by the Management
      Company, (e) binding recommendations as to any disposal of or .amendinentto any Collateral
      Obligation.or (f} any similar.fi.mctions.                                                ·

                Sectiorl 2.03   Shafr:d Employees.

                     (a)    'the Staff and Services Provider hereby agrees and consents that each
     SharedEmployee, ifany, shall.be employed by the Management Company, and the Management
     Company hereby agrees .an:d consents that each Shared Employee shall he employed by the Staff
     and Services Provider; Except as may otherwise separately be agreed in writing between the
     applicable Shared Employee and the ManagGment Coinpany and/or the Staff mid Services
     Provider, in each of their discretio11, each Shared Employee is an at-V1-·ili employee and rto
     guarnnteed e111ployment or pther employmentarrangerne11t is agreed or implied by this Agreen1ent
     with respect to arty Shared Employee, and for avoidance of doubt this Agreement.shall not amend,
     limit, constrain or modify in any way the employment an-a11gements as between any Shared
     Employee and the Staff and Services Provider or as between any Shared Employee arid the
     Management Company, it being understood thatthe Management Company may enter into a short-
     form employment agreement with ariy Shared Employee meniorializing such Shared Employee's
     status as an eniployee of the Management Company. To the extent applicable, the Staff and
     Services Provider shall ensure that the Management Con'l.pany has ~lifficient access fo the Shared
     Employees so that the Shal'ed Employees spend adequate time to provide the services required.
     hereunder. The Staffijnd Services Provider may als.o employ the services of persons other than
     the- Specified Persons as it deems fit in its sole discretion




                                                        5



                                                                                               Appx. 04167
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                43 of 610
                                                       Page 191 of 200 PageID 25403
      Case21-03005-sgj
      Case 21-03010-sgjDoc
           21-03010-sgj Doc86-2
                           4-3 Filed
                           10-4 Filed02/17/21
                                      02/18/21 Entered
                                      10/29/21 Entered02/17/21
                                                       02/18/2108:45:45
                                                       10/29/21 13:50:54 Page
                                                                17:22:38 Page76
                                                                              7of
                                                                                of20
                                                                                   20
                                                                                   19




                      (b)    Notwithstanding that the Shared Employees, if any, shall be employed by
      both the Staff and Services Ptovider and the Managerilent Company, the Parties acknowledge and
      agree that any and all salary and bepefits of each Shared Employee shall be paid e:icclusively by
      the Staff and Services Provider and shall not be paid or borne by the Management Company and
      no additional amounts in cc_>nnecti on 1herewith shall be d uc ·from the Management Company to the
      Staff and .Services Provider.

                     (c)     To the extent that a Shared Employee participates in the rendering. of
      services to the Management Company's clients, the Shared Erriployee. shall be subject to the
      oversight and .control of the Management Company and such services shall be. provided by the
      Shared. Employee exclµsively in his or her capacity as a "s\1pervised person;' of, or "person
      associated with", the Management Company (as such terms are defined in Sections 202(a)(25) and
      202(a)(17),rcspectively, ofthe Advisers Act),

                     (d)     Each Party may continue to oversee,. supervise and manage the services of
      each Shared Employee in oi·der to(l) erisure conipliance with the Party's compliance policies and
      procedures, (2) ensure compliance with .regulations .applicable to the Party and (J) protect the
      inforests ofthe Party and its cliel)ts; provided that Staff and Services..Provider shall (A) cooperate
      with the Management Conipany;s supervisory efforts and (B) make periodic reports. to the
      Management Company regarding the adherenc.e of Shared Employees to Applicable Law,
      including but not limited to the 1940 Act, the Advisers. Act arid the United States Commodity
      Exchange Act ofl 936~ as amended, in performing the services hereunder. .                .

                      (e)     Where a Shared Employee provides .· services hereunder through both
      Parties, the Patties shall cooperate to ensure that all such services are performed consistently with
      Applicable Law and relevant compliance controls and procedures designed .to prevent, among
      other things, breaches .in infonnation security or the communication of confidential, proprietary or
      :material non-publicinformation.                            ·

                   . (t)      The Staffand Services Provider shall ensure that eachShared Employee has
      any registrations, q1ialifications and/at licenses necessary to provide the services hereunder.

                     (g)     The Parties will cooperate to ensure that information about the Shared
      Employees is adequately and appropriately disclosed to cJients, investors (and potential investors),
      iiwestinent banks operating as initial purchaser or placement agent with respect to any CHei1t or
      Account, and regtl!ators, as applicable; To facilitate such disclosure, the Staff and Servic;es
      Provider agrees to provide, or cause to be provided, to the Management Comparty suchirt:fortriatiqn
      as is deemed by the Management Comparty to be necessary or appropriate with respect to the Staff
      and Services Provider and the Shareq Employees (including, but not limited to, biographical
      information about·each Shared Employee).

                     (h)    The Parties shall cooperate to ensure that, when so required, each has
      adopted a Code of Ethicstneeting the requireti1ents ofthe Advisers Act{"Code ofEthics") that is
      consistent with applicable law and which is substantially similar t o the other Pa:rty's Code _of
      Ethic.s.




                                                        6


                                                                                                 Appx. 04168
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                44 of 610
                                                       Page 192 of 200 PageID 25404
      Case21-03005-sgj
      Case 21-03010-sgjDoc
           21-03010-sgj Doc86-2
                           4-3 Filed
                           10-4 Filed02/17/21
                                      02/18/21 Entered
                                      10/29/21 Entered02/17/21
                                                       02/18/2108:45:45
                                                       10/29/21 13:50:54 Page
                                                                17:22:38 Page87
                                                                              8of
                                                                                of20
                                                                                   20
                                                                                   19




                     (i)    The Staff and Services Provider shall make reasonably available for use by
      the Management Cornpany, including through Shared Employees providing services pursuant to
      this Agreement, any relevant intellectt1al prope:1ty and systei:hs necessary for the provision of the
      services hereunder.

                     G)      The Staff and Services Provider shall requirethat each Shared Employee:

                            (i)     certify that he br she is subject to, .a nd has been pi'ovided with, a
             copy ofeach Partis Code of.Ethics and will make such reports, and seek prior clearan.ce
             for such actions and activities1 as may be reqt1ired under the Codes bf Ethics;

                             (ii)   be. subject to the supervision and oversight of each Party's officers
             and directors, including without limitation its Chief Compliance Officer ("CCO;'), which
             CCO may be the same Person, with respe.ct to the services provided to that Party or its
             clients;

                           {iii) provide services hereunder and take actions hereunder only as
             approved by the Management Company;

                            (iv)    ptovide any information requested by a Patty, as necessary to
             coITiply with applicable disclosure or regulatory obligations;

                            (v)     to the extent authorized to tran~act on behalf of the 1vlanage1n~nt
             Company or a Client or Account/take reasonable steps to ensure thatari.y such trai1saction
             is consistent with any policies and procedures that may be esti,1.bHshed by the Parties and
             all Applicable Asset Criteria and Concentrations; and ·

                             (vi)   act, at all times, in.a manner consistent with the.fiduciary duties and
             standard ofcare owed by the Management C91npany to its me111.bers and direct. or indirect.
             investoi"s or to a Clieht or Account as well as clients of Staff mid Setvices Providet by
             seeking to ensure that, among other things, information about any investment advisory or
             ti'adirig activity applicable to a pa1ticular client orgtoup nf clients is not used to benefitthe
             Shared Employee, any Pmty or any other cHent or group of clients in contravention of such
             fiduciary duties or standard of care.

                     (k)     Unless specifically authorized to do so, or appointed as a:n officer ot
     al.lthorized person of the Management Company with such authority, .no Shared Empioyee may
     contract on behalfor in the name of the Management Company; actii1g as principal.
                                      .             .                .   .   .     ..




             Section 2.04    Applicable Asset Criteria and Concentrations. The Management Company
     wiU promptly inform the Staff and Services Provider in writing of any Applicable Asset Criteria
     and Concentrations to which it agrees frotn tifoe to time and the Staff and Services Provider shall
     take such Applicable Asset Criteria and Concentrations into.account when providing assistance_
     and advice in accordance with Section 2.02 abo,;e and any othe1' assistaJ1ce or advice provided in
     accordance with this.Agreement.

          Scction2.05 Compliance with Management Company Policies and Procedures. The
     Management Company will from time to time provide the Staff and Services Provider and the


                                                        7


                                                                                                   Appx. 04169
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                45 of 610
                                                       Page 193 of 200 PageID 25405
      Case21-03005-sgj
      Case 21-03010-sgjDoc
           21-03010-sgj Doc86-2
                           4-3 Filed
                           10-4 Filed02/17/21
                                      02/18/21 Entered
                                      10/29/21 Entered02/17/21
                                                       02/18/2108:45:45
                                                       10/29/21 13:50:54 Page
                                                                17:22:38 Page98
                                                                              9of
                                                                                of20
                                                                                   20
                                                                                   19




      Shared Employees, if any, with any policy and procedure documentation which it establishes
      internally and to which it- is bound to adhere. in conducting its business pursuant to regulation,
      contract or othen;vise. Subject to ai1y other lirrtitations in this Agreeri1ent, the Staff mid Services
      Provider will use reasonable efforts to ensure any services it and the Shared Employees provide
      pursuant to this Agreement complies with or takes account of such internal policies and
      procedures.

              Section2.06 Authority. The Staffana·servicesProvider's.scope of assistance and advice
      hereunder is limited to the services specifically provided for in this Agreement. The ~taff and
      Services Provider shall not assume or be deemed to assume any tights or obligations of the
      tvianagement Comp1;1ny un_det any Qther docu_ment or agreement to which the Management
      Company is a party. Notwithstanding any other express or implied provision to the contrary in
      this Agreement, the activities of the Staffand Services Provider pursuant to this Agreement shall
      be subject to the overall policies ofthe Management Company, as notified to the Staff and Sei-vices
      Provider from time to time. The Staff and Services Provider shall not have any duties or
      obligations to the Management Company unless those duties and obligations are specifically
      provided for in this Agteement(or in any am:endnient,1nodification or novatimt hereto or hereof
      to whichthe Staff and Services Provider is a party).

             Seption 2.07    Third Parties.

                      (a)    The Staff and Services Provide1· may eirtploy thii'd parties, including its
      affiliates, to render advice, provide assistance and to perform -any of its duties under this
      Agreement; provided that notwithstanding the employment of third parties for any su,ch pµrpose,
      the Staffand Services Provider shall not be relieved of any of its obligations or liabilities under
      this Agreement.

                     (b)     In providing services hereunder1 the Staffand Services Provider may rely
      in good faith upon and will incur no liability for relying uponadvice of nationally recognized
      counsel. (which may be counsel for the Management Company, a Client or Account or any Affiliate
      of the foregoing), accountants or other advisers as the Staff and Services Provider determines, in
      its sole discretton, is reasonably appropriattl in connection with the services provided by the Staff
      and Services Pi·ovider urider this Agreement.

             Section2.08 Management Compmiy to Cooperate with the- Staff'and Services Provider.
      In furtherance, of the Staff and Services Provider'$ obligations under this Agreement the
      Management Company shall cooperate with, provide to, and fuUy infonn the Staff and Services
      Provider of, any and all documents and information the Staff and Services Provider reasonably
      requires to perfonri its obligations u11der this Agrcei11ent

              Section 2. 09 Power ofAttorney. If the Management Company considers it necessary for
      the provision by the Staff and ServicesPi'ovider of the l:lSsistance and advic.e underthis Agreement
      (after consultation with the Staff and Setvices Provider), it may appoint the Staff and Services
      Provider as its true and lawful agent and attorney, with full power and authority in its nan1e to sign,
      execute, certify, swear to, acknowledge, deliver, file, receive and i·ecord any and all documents
      that the Staff and Services Providerreasonably deems appropriate or necessary in connection with
      the execution a1td settlerriertt of acquisitions of assets as directed by the Management Company



                                                         8


                                                                                                  Appx. 04170
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                46 of 610
                                                       Page 194 of 200 PageID 25406
     Case 21-03010-sgj
     Case21-03010-sgj  Doc10-4
          21-03005-sgjDoc 4-3
                          86-2Filed
                               Filed02/17/21
                               Filed 10/29/21 Entered
                                     02/18/21  Entered02/17/21
                                              Entered  10/29/2108:45:45
                                                       02/18/21 17:22:38 Page
                                                                13:50:54  Page10
                                                                         Page  9 of
                                                                               10 of20
                                                                                    19
                                                                                     20




      a:nd the Staff and Services Provider~s powers and duties he1·eunder (whkh for the a:voida:nce of
      doubt shaU in no w~y involve H1e discretion .:mator authority of the Management Company with
      respect to investments). Any such power shall be revocable in the sole discretion of the
      Management Company.

                                                  ARTICLE III

                                    CONSIDERATION AND EXPENSES

              Section 3.01 Consideration. As compensation for its performance of its obligations as
      Staff and Services Provider lmder this Agreement, the Staffand Services Provider will be entitled
      to receive a flat fee. of $168,000 pet month (the "Sfaff and Setvices Fee"), payable m,ontllly in
      advance on the first business day of each month.

              Section 3. 02 Costs arid Expenses, Each party shall bear its. own expenses; provided that
      the Management Company shall reimburse the Staff and Services Provi,der for any and all costs
      a:nd expenses that 111ay be borne propeilyhy the Manag~ment Company.

              Section 3 .03   Deferral. Notwithstanding anything to the contrary contained herein; if on
      any date the Management Company determines that it would nothavesufficient funds available
      td it to make a payment of Indebtedness, it shall have the right to defer any a:11 and amounts payable
      to the Staff and Services Provider pursuant to this Agreement, including any fees and expenses;
      provided that the Mam1gement Conipany shall pi'omptly pay all such amounts on the first date
      thereafter that sufficient amounts exist to make payment thereof.

                                                  ARTICLE IV

                                 REPRESENTATIONS AND COVENANTS

              Section 4.01    Representations; Each of the Parti9s hereto represents and warrants that

                     (a)     It has full power and authority to execute and deliver, and to perform its
      obligations under, this Agreement;                   ·

                        (b)    this Agreement has been duly authorized, exec;uted and delivered by it and
      constitutes .its valid and binding, obligation, enforceable in accordance With its. tel':ms except as the
      enforceal;lility hereof may be subject to (i) bankruptcy, insoiv~ncy, reorganization rporatorium,
      receivership, conservatorship or other similar laws now or hereafter in effect relating to creditors'
      rights and (ii) general principles of equity (regardless of wheiher such enfotcement is considered
      ina proceeding, in equity or at law); ·        · ·

                      (c)     no consent, approval, authorization or. order of or declaratioi1 or filing with
      any Governmental Authority is required for the execution of this Agreement or the performance
      byit of its duties beteurtder, except si1ch as have been duly rnade·Or obtain.eel; and

                      (d)     neither the execution and delivery ofthis Agreement nor the fulfiliment of
      the terms hereof conflicts with or results in a bn::ach or violation Of a:ny of the terms or provisions
      of; ot constitutes a default under, (i) its constituting and mgan1zational documents; or (ii) the terms


                                                          9



                                                                                                    Appx. 04171
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                47 of 610
                                                       Page 195 of 200 PageID 25407
     Case21-03005-sgj
     Case 21-03010-sgjDoc
          21-03010-sgj Doc86-2
                          4-3 Filed
                          10-4 Filed02/17/21
                                     02/18/21 Entered
                                     10/29/21 Entered02/17/21
                                                      02/18/2108:45:45
                                                      10/29/21 13:50:54 Page
                                                               17:22:38 Page11
                                                                             11of
                                                                             10 of20
                                                                                   20
                                                                                   19




      of any· niaterial indenture, contract, lease, mortgage, deed of trust, note, agreement or other
      evidence of indebtedness or othe.r material agreement, obligation, condition, covenant or
      ii1strmnent to which it is ct party 01' by which it is bound.

                                                  ARTICLE V

                                                  COVENANTS

              Section 5.01   Compliance: Advisory Restrictions,

                     (a)     The Staff and Services Provider shall reasonably cooperate with the
      Managernent Company       m   connection with the Management Coinpanf s compliance with its
      policies and procedures relating to oversightofthe Staffand Services Provider. Specifically, the
      Staff and Services Provider agrees tha,t it will provide the. Management Company withreasprtable.
      access to irtform:ation telatihg to the pei"fo1111ance of Staff and Services Provider's obligations
      under this Agreement..

                      (b)     This Agreeri1ent is not intended to and shall not constitute art assignment,
      pledge or transfer of any portfolio management agreemei1t or rniy part thereof. It is the express
      intention ofthe parties hereto that this Agreement and all services performed hereunder comply in
      all respects with all (a) applicable contractual provisions and restrictions contaiti.ed in each
      portfolio management agreement, investment management agreement or similar agreement and
      each document contemplateci thereby; and (b) Applicable Laws (collectively, the "Advisory
      Restrictio11s"). If any provision ofthis Agteementis detennined to be in violation of any Advisory
      Restriction, then the services to be. provided. under this Agreement shall automatically be limited
      witho11t action by any person or entity, teduced or modified to the extent necessary a.1l:d appropriate
      to be enforceable to the maximum extent pe:rmi tted by such Advisory Restriction.             ·

              Section 5.02    Records; Confidentiality.

                     The Staff and Services. Provider shall maintain or cause to be maintained
      appropriate books of account and records relating to its services performed hereunder, and such
      books of account aqd reCon:ls      s.hallbe accessible for fhspection by representatives of the
      Management Company and its accountants an:d other agents at any time during nonnal business
      hours and upon not less than three (3) Business D~ys' priqr notice; provided that the Staff and
      Services Provider shall not be obligated to provide access to any non-pliblic information ifit in
      good faith detenrtines that the disclosure of such infonnation would violate any applicable law,
      regulation or contr~ctua1 ·ari"angement.

                       The Staff and Services Provider shall follow its customary procedUi'es to keep
      confidential any and alL information obtained in c.onn.ection with the services rendered hereunder
      that is either (a) ofa type that would ordinarily be considered proptietary or confidential, such as
      information conceni.ing the composition of assets, rates of return, credit quality, structure or
      o,:vnership of securities, or (b} designated as confidential obtained in connection with the services
      rendered by the Staff and Services Provider hereunder and shall not disclose any such info1mation
      tq non-affiliated third parties, except (i) with the prior written consent of the Managernent
      Cornpany, (ii)such information as atating agency shall reasonablyrequest in connection with its



                                                          10


                                                                                                  Appx. 04172
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                48 of 610
                                                       Page 196 of 200 PageID 25408
     Case21-03005-sgj
     Case 21-03010-sgjDoc
          21-03010-sgj Doc86-2
                          4-3 Filed
                          10-4 Filed02/17/21
                                     02/18/21 Entered
                                     10/29/21 Entered02/17/21
                                                      02/18/2108:45:45
                                                      10/29/21 13:50:54 Page
                                                               17:22:38 Page12
                                                                             12of
                                                                             11 of20
                                                                                   20
                                                                                   19




      fating of notes issued .by a CLO or supplying cretjit esthnates on any obligation inclt1dedjn the:
      Portfolio, (iii) in connection with establishing trading at investment accounts or otherwise in.
      coi1nection with effecti.ng transactious on behalf of the Mruwgement Company or any Client or
      Account for Which the Manage1nent Company serves as portfolio manager ot investment m:artager
      or in a similar capacity, (iv) as required by (A) Applicable Law or (B) the mies or regulations of
      any self:,regu1ating oi"gartization; body or official havingjurisdiction over the Staff and Sei·vfoes
      Provider or any ofits Affiliates, (v) to its professional advisors (including, without lirnitation1
      legal, tax and accolrilting advisors), (vi) such infmmation as shall have b~en pi1blicly disclosed
      other tha11 in known violation of this Agreement ot shall have beert obtained by the Staff and
      Services Provider on a rion-confidential basis, (yii) such information as is necessary orappropriate
      to disclose so that the Staff and Services Provider may. perform its duties hereunder, (viii). as
      expressly permitted in. the final offering memorandum or ru1y definitive.transaction documents
      relating to a:ny Client or.Accoui1t, (ix}infonnation relating to perfonn,imce .of the Po1tfolio a$ may
      be used by the Staff and .Services Provider in the ordinary course of its business or (xx) such
      infonnation as is routinely d.isclosed to the trustee, custodian or collateral administrator of any
      Client or Account in connectioh with Such trustee's, custodian's ot collateral administrator's
      performance ofits obligations under the transaction documents related to such Client or Account.
      Notwithstanding the foregoing, it is agreed that the Staff and Services Prnvider may discl9se
      without the consent of any Person Jl) that it is serving as staff and services ptovider to the
      Managen1erit Cornpany, (2) the nature, <1ggregate principal amount and overall perfonnance of the
      Portfolio, {3) the arnmtnt of earnings on the Portfolio, (4) such other infom1aticm about the
      Management Company; the Portfolio and the Clients or Accounts as is customarily disclosed by
      staff andservices providets to management vehicles similar to the ManagernentCompany~ and (5)
      the United States federal income tax treatment and United States federal income tax structure of
      the transactions qontempJated. by this Agreement and the related documents and all materials of
      any kind (including opinions and other tax ru1alyses} that are provided to them i'elati:ng to such
      United States federal income tax treatment and United States income ·tax structure. This
      ciuthorization to disd.ose the U.S; tax treatment and t~ stntctu.re does noi permit cliscl.osure of
      infonnationidentifyirig the Staff and Services Providei', the Clients at Accounts or any other party
      to the fra11sactions contemplated by this .Agreement (except to the extent such infonnation is
      relevant to U.S. tax structure or tax treatment of such transactions).

                                                 ARTICLE VI

                               EXCULPATION AND INDEMNIFICATION

              Section 6.01 Standard of Care, Except as otherwise expressly provided herein, each
      Covered Person shall discharge its dhties under this ,Agreement with the care, skilI, prudence and
      diligence under the circumstances then pi'evailing that a prudent person acting in a like capacity
      and familiar with such matters would use in the conduct of an enterprise of a like character and
      with likeaiins. To the extentnotincotisistentwith the foregoing, each Covered Pei·sonshaU follow·
      its customary stm1dai:ds, policies .and procedures in performing its duties. hereunder. No Covered
      Person shall deal with the income or assets of the Manage1nent Cornpany in such Covered Person's
      own interest or for its own account. Each Covered Person in its respective sole and absolute
      discretion may separately engage or invest in any other b(1siness ventures, including those that ma)'
      be in competition with the Management Compaity, and the Management Company will not have
      any tights irtor to such ventures or the income or profits derived therefrom


                                                       11


                                                                                                 Appx. 04173
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                49 of 610
                                                       Page 197 of 200 PageID 25409
     Case21-03005-sgj
     Case 21-03010-sgjDoc
          21-03010-sgj Doc86-2
                          4-3 Filed
                          10-4 Filed02/17/21
                                     02/18/21 Entered
                                     10/29/21 Entered02/17/21
                                                      02/18/2108:45:45
                                                      10/29/21 13:50:54 Page
                                                               17:22:38 Page13
                                                                             13of
                                                                             12 of20
                                                                                   20
                                                                                   19




               Section 6.02 Exculpation. ·Tothe fullestextent permitted by law;no Covered Person will
      be liable to the Management Company, any Member, or any shareholder, partner or member
      thereof~ for (i) any acts at oniissions by such Coveted Pei'son arising out of 01; in connection with
      the conduct ofthe business ofthe Management Company or its General Partner, or any investment
      made or held by the Management Company or its General Pru1ner, unless it is determined
      ultimately by a court of conipetentjut1sdiction, in a fi11al nbnappealable judgment, to be the result
      of gross negligence or to constitute fraud or willful misconduct (as interpreted under the laws qf
      the State of Delaware) (each, a "Disabli11g Conduct") on the patt of:such Covered Person, (ii) arty
      act or omission of any Investor, (iii)any mistake, gross:negligence,. misconduct or bad faith of any
      erhpldyee, broker, administrator or other agent or representative of such Covered Person,provided
      that such employee, broker; administrator or agent was selected, engaged or retained by or on
      behalf ofsuch C::overed Person with reasonable care, or (iv) any consequential (including loss of
      profit), ihdfrect, special or punitive damages. To the extentthat, at law or in equity, any Covered
      Person has duties (including fiduciary duties) and liabilities relating thereto to the Management
      Corti.party or arty Member, no Covered Person ctcting under this Agreement shall. be liable to th.e
      Mana:gementCompanyor to any such Member for its good~faithrelianceon the provisions of this
      Agreement. Tlle exculpations ~et forth in this Section 6.02 shaH exculpate any Covered Person
      regardless of such Cove1'ed Person's sole, comparative, joint, concurrent, or subsequent
      negligence.                                                                           ·          ·

              To the fullest extent permitted by law; no Covered Persqn shall have any personal liability
      to the Management Coh1pany or any Member solely by reason ofany change in U.S. federal, State
      or local or foreign income tax laws, or in interpretations thereof, asthey apply to the Mam1gement
      Company or the Members, wJ1ether the change occi.lrs thrb:ug}1 legislative, judicial or
      administrative action.

              Any Covered Person in its sole and absolute discretio11 may consult legal counsel,
      accountants or othe1' advisers selected by it; and any act or on':iission taken; or made 1n good faith
      by such Person on behalf ofthe Management Company or in furtherance of the, business of the
      Management Company in good-faith reliance on and in accordance with the advice of such
      counsel, accountants or other advisers shalLbe full justification for. the act or omission, and to the
      fullest extent permitted by applicable la,w,.no Covyred Person shall be liable to the Management
      Company or any Member in so acting or omitting to. act if such coirnsel; accountants or other
      advisers were selected, engaged or re,tained with n~asonable: care.

               Section 6.03 Indemnification by the Manage1i:i.ent Company.                  The Management
      Conipany shall and hereby does, to the fullest exte1itperrnitted by applicable law, indemnify and
      hold hannless any Covered Person from andagainst any and all claims, causes of action (including,
      but not 1irnite.d to, 'strict liability, negligence, statutory violation, regulatory violation, breach of
      contract; and .all other torts and claims arising tmdcr common law), demands, liabilities, costs,
      expenses, damages, losses, suits, proceedings, judgments, assessme111s, i}ctions and other
      liabilities, whether judicial1 administrative, investigative or otherwise, of whatever nature, known
      or unknown, liquidated or u,nliquida~ed ("Claims"), that may accrue to or be incurred by apy
      Covered Person, or iri. which any Covered Person may become involved, as a party or otherwise,
      or with which any Covered Person may be threatened, relating to or arising out oftheinvest111ent
      or other activities of the Management Coinpany or its General Partner, or activities undertaken in
      connection with the Management Company or its General Partner, or otherwise relating to or


                                                         12


                                                                                                    Appx. 04174
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                50 of 610
                                                       Page 198 of 200 PageID 25410
     Case21-03005-sgj
     Case 21-03010-sgjDoc
          21-03010-sgj Doc86-2
                          4-3 Filed
                          10-4 Filed02/17/21
                                     02/18/21 Entered
                                     10/29/21 Entered02/17/21
                                                      02/18/2108:45:45
                                                      10/29/21 13:50:54 Page
                                                               17:22:38 Page14
                                                                             14of
                                                                             13 of20
                                                                                   20
                                                                                   19




     arising out of this Agreement, including amounts paid in satisfaction ofjudgments, in compromise
     or as fines or penalties, and attorneys' fees and expenses incuned in connection with the
     preparation for or defense or disposition of any investigation, action, suit, ru.'bitration ot other
     proceeding (a "Proceeditig"), whether civil or criminal (all ofsuch Claims, amounts and expenses
     referred to therein are teferred to collecfrvely as ''Damages''), except tci the extentthatit shaU have
     been determined .ultimately by a court of competent jurisdiction, in a final nonappealable
     judgment, that such Damages arose primarily from Disabling Conduct of such Covered Person.
     The termination of any Proceeding..by settlement, judgment., order; conviction or upon a plea of
     nolo con:tendere or its equivalent shall not; of itself; c.reate a presumption that any Damages relating·
     to such settlement, judgment, order~ conviction or plea of nolo contendere or its equivalent or
     otherwise relating to suc.h Proceeding arose primarily from Disabling Conduct of any Covered
     Persons. Any Coveted Person shall be indemhified under the terms ofthis Section 6.03 regardless
     of such Covered Person's sole, comparative) joint, concurrent, or subsequent negligence.

             Expenses (including attorneys' feesJincurred by a Covered Person in defense or settlement
      ofahy Claim tha:t rnay be .subject to a tight of inde1nniflcation hefeundcr shall be advanced by the
      Management Company prior to the final disposition thereof upon receipt of a written undertaking
      by ot cm behalf of the Covered Person to .repay the .amoi.nit advanced to the extent that it shall  be
      determine.d ultimately by a court of competent jurisdiction that the Covered Person is riot entitied
      to be indemnified heret1nder. The right of any Covered.Persons to the indemnification provided
      herein shall be cumulative of, and in addition to, any and all rights to which the Covered Person
      may otherwise be entitled by contract or as a matter of law or equity and shall be extended to ihe
      Covered Person's sU<;cessors, assigns anq legal representatives. · Any judgments against the
      Management Company and/or any Covered Persons in respect of which such Covered Pers01i is
      entitled to indemnification shall firstbe satisfied from the assets of the Management Company,
      including DrawdoW1iS; before such Covered Person is respcuisible therefor.

             Notwithstanding any provision of this Agreement to the contrary, the provisions of this
     Section 6.03 shall not be co11strued so as to prqvide for the indemnification of any Covered Person
     for any liability (including liability under Federal securities laws which, under certain
     circumstances, impose liability even on persons that act ip good faith); to the extent (but only to
     the extent) that st.tch indemnification would be ih violation ofa:pplicable law, bt1tshal1 be construed
     so as to effectuate the provisions of this Section 6.03 to th~ fullest extent permitted by law.

             Sectioi1 6.04   Other Sources of Recovery etc. The inde1:nnification rights set forth in
     Section 6.03 are in addition to, and shall 11ot exc1ude,1irrtit or otherwise adverselyaffect, ahy other
     indemnification or similar rights to which any Covered Person may be entitled. lf and to the extent
     that other sources of recovery (including.proceed~ of any applicable policies. of insurance or
     indemnification from any Person in which any .of the Clients or Accotmts has an investment) are
     available to any Covered Person, such Cov~n~d .Person shall use reasonable efforts to obtain
     recovety froni such other sources before the Company sha.11 be required to make ·arty payment in
     respect of its indemnification obligations hereunder; provided that, if such other recovery is not
     available without delay, the Covered Person shall be entitled to such payrhertt by the Managenient
     Company and the Management Company shall be entitled to reimbursementqut of such other
     recovery when and if obtained.




                                                        13



                                                                                                   Appx. 04175
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                51 of 610
                                                       Page 199 of 200 PageID 25411
     Case21-03005-sgj
     Case 21-03010-sgjDoc
          21-03010-sgj Doc86-2
                          4-3 Filed
                          10-4 Filed02/17/21
                                     02/18/21 Entered
                                     10/29/21 Entered02/17/21
                                                      02/18/2108:45:45
                                                      10/29/21 13:50:54 Page
                                                               17:22:38 Page15
                                                                             15of
                                                                             14 of20
                                                                                   20
                                                                                   19




            Section 6.05 Rights of Heirs. Successors and Assigns. 11Je indemnification rights
     provided by Section 6.03 shall in:ure to the benefit of the, heirs, executors, administrators,
     successors and assigns of each Covered Person.

              Section 6.06 Reliance. A Covered Person shall incur no liability to the Management
     Company or any Member in acting upon any sjgnature or writing reasonably believed by him, her
     or it to be genuine, and may rely in good faith 011 a certificate signed by an officer ofany Person
     in order to ascertainany fact withrespect to s_uch Person or within suqh'Person's kriowledge. Each
     Covered Person may act directly or through his, her or its agents or atto111eys.

                                                  ARTICLE VU

                                                TERJ.vUNATION

              Section 7.01 Te1mination. Either Party may terminate this Agreeme11t at any time upon
     at least thirty (30) days' vvritten notice to th~ other. ··          ·             ·

                                                 ARTICLE VIII

                                              MISCELLANEOUS

              Section 8.01 Amend1i1ents. This Agreement may not be arnended or modified except by
      an instrument in writing signed by .each Party.

              Section 8.02    Assignment and Delegation.

                       (a)      Neither Party may assign, pledge, grant or othei:wise encumber ot transfer
      all or any -part of its rights .or responsibilities under this Agreement; in whole ot in part, except (i)
      as provided in clau.scs (b) and (c}ofthis Section 8.02, v-.rithol1tthe prior written consent of the other
      Party and (H) in acc6edance with Applicable Law.

                    (b)    Except as otherwise provided in this Section 8.02, the Staff ancl Services
      Provider may not assign its :rights or responsibilities under this Agreement unless (i) the
      Manageri1ent Company conserttsin writing thereto and (ii) such assignmentis made in accordance
      with Applicable Law. .                               ..

                      (c)       Th~ Staff and Services Provider may; without satisfying any of the
      conditions of Section 8.02(a) otherthan clause·(ii) thereof, (1) assign anyofitsrights or obligations
      under this Agreement to an Affiliate; providedthat. such Affiliate (i) has demonstrated ability,
      whether as m'l entity or by its principals and employees, to professionally and cbmpetently perforn1
      duties similar to those imposed upon the Staff and Services Provider purstrnnt to this Agreement
      and (ii) has the legal l'ight inid capacity to act as Staffartd Services Provider under this Agree1rient,
      or(2) entet into (or have its parent enter into) any consolidation or amalgamation with, ormerger
      with or into, or transfer of all or substantially all of its assets to, another entity; provided that, at
      the time of Such consolidation, merger, amalgamation or transfer the resulting, surviving or
      transfore.e entity assumes all the obligc.1tions of the Staff and Services Provider m1der this
      Agreement generally (whether by operation of law or by contract) and the other entity is a
      continuation of the Staff and Services Provider in another corporate· or .similar form and has


                                                         14



                                                                                                    Appx. 04176
   Case 21-03003-sgj Doc 135-7 Filed 12/18/21 Entered 12/18/21 01:38:22 Desc
Case 3:21-cv-00881-X Document
                         Appendix
                              176-24
                                  PartFiled
                                      7 Page01/09/24
                                                52 of 610
                                                       Page 200 of 200 PageID 25412
     Case21-03005-sgj
     Case 21-03010-sgjDoc
          21-03010-sgj Doc86-2
                          4-3 Filed
                          10-4 Filed02/17/21
                                     02/18/21 Entered
                                     10/29/21 Entered02/17/21
                                                      02/18/2108:45:45
                                                      10/29/21 13:50:54 Page
                                                               17:22:38 Page16
                                                                             16of
                                                                             15 of20
                                                                                   20
                                                                                   19




     substantially the same staff; providedfi1rther that the Staff and Services Provider shall deliver ten
     (10) Business Days' prior notice to the Management Company of any assignment or combination
     made pursuant to this sentence. Upon the execution and clelivety of any &uch 1:1ssignment by the
     assignee, the Staff and Services Piovider will be released from further obligations pursuant to this
     Agreement except to the extent expressly provided herein.

             Section. 8.03   Non-Recourse: Non-Petition.

                         (a)     The Staff and Services Provider agrees that the payment of all amounts to
      which itis erititledpurs11i:u1ttothis Agreement shall be payable by the Manage111entCompa11y only
      to the ex'.terit of assets held in the Portfolio.

                     (b)     Notwithstanding anything to the contrary contained herein, the liability of
                                                                                              in
     the Manage1i1ent Company to the Sta:ffand Services Provider hereµnder is limited recourse to
     the.Poiifolio, and if the proceeds of the Portfolio following the liquidation thei'eofareinsuf:ficfont
     to meet the obligations of the Management Company hereund<:!r in full~ the Management Company
     shall have no further liability in respect of any such outstanding obligations, and snch obligations
     and all claims of the Staff and Services Provider or any other Person against the. Management
     Cornp~ny hereunder shall tl)ereupon extinguish and not thereafter revive.· ·The Staff and Services
     Ptovider accepts that the obligations ofthe·Management Compatiy hereunder ate the corporate
     obligations ofthe Management Company and are not the obligations ofany employee, member,
     officer, director or administrator of the Management Con1pany and no action may be taken against
     any such Person ih relation to the obHsatiorts of the Mana~ement Company hereunder,

                     (c)     Notwithstanding anything to the contrary contained herein, any Staff and
      Services Provider agrees not to institute against, or join any other Person in instituting against, the
      Management Company any bankruptcy, reorganization, arrangement, insolve11cy, rnoratoriµm or
      liquidation proceedings, or other proceedings under United States federal or state bankruptcy laws,
      or similar laws until at least one year and one day {or; if longer; the then applicable preference
      period plus one day) after the paymentin full all amounts payable in respect of any Indebtedness
      incurred to finance aily p01tion of the Portfolio; provided that nothing in this provision shall
      preclude, or be deeirted to stop, theStaffand Services P~ovider·from taking any action prior to the
      expiration of the aforementioned one year and one day period (or, if longel', the applicable
      preference period then in effect plus one day) in (i) any case or proceeding voluntarily filed or
      commenced by the Management Company, or (ii) any involuntary·insolvency proceeding ii.led or
      commenced against the Mat1agement Company by ·a Person other than the Staff and Services
      Provider.

                      (d)    The Mana:ge1rnmt Company hereby ackI1owl~dges and agl'ees that the Staff
      and Services Provider's obligations heteilridershall be solely the corporate obligations of the Staff
      and Services Provider; and are not the obligations of any employee, member, officer, director or
      administrator of the Staff and Services Providet and no action n'l.ay be taken against ariy such
      Person in relation to the obligations of the Staffand Services Provider heretmder.

                     (e)     The provisions of this Section 8,03 shall survive tennination of this
      Agreement foi" any. reason whatsoever,




                                                        1.5



                                                                                                   Appx. 04177
